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                                                  Attorneys for Plaintiff
                                             15   DivX, LLC
                                             16
                                                                       UNITED STATES DISTRICT COURT
                                             17                       CENTRAL DISTRICT OF CALIFORNIA
                                             18
                                             19     DIVX, LLC, a Delaware limited        Case No. 2:21-cv-01615-PSG-DFM
                                             20     liability company,

                                             21                 Plaintiff,               FIRST AMENDED COMPLAINT
                                             22                                          FOR PATENT INFRINGEMENT
                                                         v.
                                             23                                          DEMAND FOR JURY TRIAL
                                             24     HULU, LLC, a Delaware limited
                                                    liability company,
                                             25
                                             26                 Defendant.
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                                              1         Plaintiff DivX, LLC (“Plaintiff” or “DivX”), by its attorneys, for its First
                                              2   Amended Complaint (“FAC”) against Defendant Hulu, LLC (“Defendant” or
                                              3   “Hulu”) for patent infringement alleges as follows:
                                              4                                    INTRODUCTION
                                              5         1. This FAC addresses Hulu’s large-scale use of DivX’s patented
                                              6   technologies that relate to video streaming over the internet. DivX’s inventions
                                              7   enable streaming of episode- and feature-length video content securely and to a
                                              8   wide variety of playback devices, resulting in an excellent user experience. DivX
                                              9   developed these technologies to improve the way internet users experience video
                                             10   streaming and to bring video streaming securely to many devices. DivX’s engineers
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                                             11   developed these technologies a decade ago, overcoming the technical challenges
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                                             12   imposed by computing capabilities and internet bandwidth that were a fraction of
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                                             13   what they are today. DivX’s investments in these innovations are protected by
                                             14   multiple patents issued by the United States Patent and Trademark Office. DivX
                                             15   recognizes that video streaming over the internet has dramatically improved the
                                             16   consumer entertainment experience, allowing consumers to watch a large library of
                                             17   content anywhere and at any time. Hulu, however, may not use, without
                                             18   permission, the innovations that DivX spent years developing to overcome the
                                             19   technical hurdles that stood in the way. DivX brings this lawsuit to address Hulu’s
                                             20   infringement and defend DivX’s investments in video streaming technologies.
                                             21                                     THE PARTIES
                                             22         2.     DivX is a Delaware limited liability company. Its principal place of
                                             23   business is 4350 La Jolla Village Drive, Suite 950, San Diego, California, 92122.
                                             24   DivX owns patents covering foundational internet video streaming technologies,
                                             25   including those asserted here.
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                                                                                                                          COMPLAINT
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                                              1           3.      Hulu, LLC, is a Delaware limited liability company 1 with its corporate
                                              2   address at 2500 Broadway, Santa Monica, California, 90404.2
                                              3           4.      Hulu promotes itself as a leader in the market for streaming video
                                              4   content, which includes films, television series, and other video content. Upon
                                              5   information and belief, Hulu designs, operates, tests, manufactures, uses, offers for
                                              6   sale, sells, and/or imports into the United States video streaming software and
                                              7   services that generate billions of dollars of revenue for Hulu each year.
                                              8                                NATURE OF THE ACTION
                                              9           5.      This FAC alleges patent infringement. DivX alleges that Hulu has
                                             10   infringed and continues to infringe, directly and/or indirectly, five DivX patents:
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                                             11   10,257,443 (the “’443 patent”), U.S. Patent Nos. 9,794,318 (the “’318 patent”),
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                                             12   10,412,141 (the “’141 patent”), 10,542,061 (the “’061 patent”), and 10,326,987 (the
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                                             13   “’987 patent”), copies of which are attached as Exhibits 1-5 (collectively, the
                                             14   “DivX Patents”).
                                             15           6.      The DivX Patents cover foundational internet video streaming
                                             16   technologies that are necessary for Hulu’s streaming platform to deliver high-
                                             17   quality video immediately upon the touch of a button, anywhere and on any device.
                                             18   The DivX Patents disclose technologies that enable many benefits, including:
                                             19                • the inventions claimed in the ’443 patent speed up decryption of
                                             20                   securely encrypted video data, which reduces the computing resources
                                             21                   needed for the playback device and makes video playback start more
                                             22                   quickly, while protecting the content from piracy;
                                             23                • the inventions claimed in the ’318 patent allow streaming video to start
                                             24                   playing more quickly and allow viewers to use trick play functions
                                             25                   right away upon startup, improving the user experience;
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                                                      https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx.
                                             28
                                                  2
                                                      https://www.bloomberg.com/profiles/companies/3276470Z:US-hulu-llc.

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                                              1               • the inventions claimed in the ’141 patent allow streaming video with
                                              2                  multiple tracks to start playing more quickly and allow viewers to use
                                              3                  trick play functions right away, improving the user experience;
                                              4               • the inventions claimed in the ’061 patent enable playback devices to
                                              5                  select video streams based on the device’s specific capabilities while
                                              6                  also making protected video streams easier to decrypt, providing
                                              7                  optimal video quality for different devices while maintaining playback
                                              8                  startup speed and protecting the content from piracy; and
                                              9               • the inventions claimed in the ’987 patent provide video streaming
                                             10                  users with higher-quality video and fewer video stalls for a more
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                                             11                  seamless user experience.
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                                             12         7.       Hulu directly infringes the DivX Patents by making, using, offering to
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                                             13   sell, selling, and/or importing into the United States internet video streaming
                                             14   technology, software, and services that practice the inventions claimed in the DivX
                                             15   Patents.
                                             16         8.       Hulu indirectly infringes at least three of the DivX Patents by inducing
                                             17   its consumer end-users to directly infringe those DivX Patents. Hulu induces
                                             18   infringement by providing software (the Hulu application) that, when used by
                                             19   viewers to stream video to televisions, personal computers, phones, tablets, and
                                             20   other devices, as directed and intended by Hulu, causes those users to make, use,
                                             21   and practice the inventions claimed in the DivX Patents.
                                             22         9.       DivX seeks damages and other relief for Hulu’s infringement of the
                                             23   DivX Patents.
                                             24                              JURISDICTION AND VENUE
                                             25         10.      This is an action for patent infringement under the Patent Laws of the
                                             26   United States, 35 U.S.C. § 1 et seq., over which this Court has subject matter
                                             27   jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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                                                                                                                             COMPLAINT
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                                              1           11.   This Court has both general and specific jurisdiction over Hulu
                                              2   because Hulu is headquartered 3 and has committed acts within the Central District
                                              3   of California giving rise to this action and has established minimum contacts with
                                              4   this forum such that the exercise of jurisdiction over Hulu would not offend
                                              5   traditional notions of fair play and substantial justice. Defendant Hulu, directly and
                                              6   through subsidiaries and intermediaries (including distributors, retailers, franchisees
                                              7   and others), has committed and continues to commit acts of patent infringement in
                                              8   this district, by, among other things, making, using, testing, selling, licensing,
                                              9   importing, and/or offering for sale/license products and services that infringe the
                                             10   DivX Patents.
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                                             11           12.   Venue is proper in this district and division under 28 U.S.C.
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                                             12   §§ 1391(b)-(d) and 1400(b) because Hulu has committed acts of infringement in the
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                                             13   Central District of California and has a regular and established physical place of
                                             14   business and employees in the Central District of California.
                                             15                               FACTUAL BACKGROUND
                                             16   I. DivX
                                             17           13.   For over 20 years, DivX has invested in developing innovative
                                             18   technology for delivering digital video over the internet. In 2000, delivering digital
                                             19   video over the internet to consumers presented many technical challenges without
                                             20   existing solutions. Jérôme Rota and Jordan Greenhall founded DivX to address
                                             21   these challenges and improve the consumer digital video experience.
                                             22           14.   DivX recognized that consumers wanted accessible, high-quality
                                             23   digital video content. To satisfy this demand, DivX created a new implementation
                                             24   of the MPEG-4 video standard. DivX completed this new implementation in 2001
                                             25   and released it as the DivX Codec 4.0. A “codec” is a computer program for
                                             26   encoding—that is, compressing—and decoding digital video files. Over the next
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                                                  3
                                                      https://www.bloomberg.com/profiles/companies/3276470Z:US-hulu-llc.

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                                              1   decade, DivX developed and released numerous new and improved versions of the
                                              2   DivX Codec. DivX bundled the DivX Codec with other features for video
                                              3   encoding, decoding, and playback and packaged it as the “DivX Software.”
                                              4         15.     In addition to providing the DivX Codec, the DivX Software
                                              5   functioned like a master translator for digital video files, allowing for variations in
                                              6   codecs, containers, and playback across different file types on different devices. It
                                              7   allowed consumers to compress, decode, and play back digital video using a single
                                              8   program that could allow users to access and use the variety of technologies
                                              9   available on the market, all in one place.
                                             10         16.     During the same period that DivX continuously evolved and improved
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                                             11   its DivX Codec and DivX Software, consumer access to and use of digital video
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                                             12   over the internet became more widespread as computing power and network
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                                             13   bandwidth increased. These developments led to widespread adoption of the DivX
                                             14   Software, a large base of DivX users, and creation of billions of DivX video files
                                             15   (with the “.divx” file extension).
                                             16               A. DivX Digital Rights Management (DRM)
                                             17         17.     Digital Rights Management, or DRM, is the foundation of many DivX
                                             18   innovations. A robust DRM system allows owners of video content (like studio
                                             19   movies) to control access to the video content and provide increased protection
                                             20   against piracy. DRM is therefore fundamental to distribution of video over the
                                             21   internet, because DRM enables secure downloading and playback of videos.
                                             22         18.     In 2000, when DivX began creating an internet video platform, content
                                             23   owners such as Hollywood studios would not release their premium video content
                                             24   on an internet platform because they feared that piracy and losing control of their
                                             25   content would severely diminish the value of their rights.
                                             26         19.     From 2000 to 2005, DivX met with content owners such as Disney,
                                             27   Warner Bros., Sony, Universal, and Paramount Pictures about technical solutions to
                                             28   overcome their concerns and to implement the strict security requirements that the
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                                              1   owners demanded. During the same time period, DivX also met with major
                                              2   consumer electronics (CE) manufacturers about overcoming challenges to
                                              3   implementing DRM features in CE devices. DivX recognized at the time that
                                              4   existing technologies would not meet the content protection concerns of studios,
                                              5   and it had to innovate to serve that market need.
                                              6         20.      DivX’s engineers worked to build a DRM system that would solve
                                              7   these long-standing technical problems, and as a result of DivX’s research and
                                              8   development efforts, DivX DRM became one of the first DRM systems accepted by
                                              9   major Hollywood studios.
                                             10               B. DivX Open Video System (OVS)
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                                             11         21.      DivX was one of the first companies in the world to create a
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                                             12   commercially viable internet video streaming platform, called the “Open Video
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                                             13   System” (“OVS”). DivX OVS was an internet-based video-on-demand system that
                                             14   built upon the quality and performance of the DivX Software. Eric Grab, a named
                                             15   inventor on the ’443 patent, was the lead of the engineering team that discovered
                                             16   the innovations necessary to build the platform. DivX OVS officially launched on
                                             17   September 6, 2001, at a time where broadband internet access was not yet
                                             18   ubiquitous, and in a business environment where Hollywood studios were not yet
                                             19   ready to embrace digital distribution. After the launch of DivX OVS, DivX
                                             20   engineers continued to invest in technical improvements and innovations for the
                                             21   platform, and their innovations expanded the platform to enable playback on a wide
                                             22   variety of playback devices.
                                             23         22.      DivX’s investments in OVS produced many key innovations for
                                             24   delivering video over the internet:
                                             25               • A flexible, key-based DRM system that tied purchased video content
                                             26                  to a viewer rather than a device, preventing unauthorized access when
                                             27                  the device was sold or obtained by others while improving the viewer
                                             28                  experience.
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                                              1               • A core codec that offered industry-best compression and performance
                                              2                  enabling full-screen, DVD-like quality that was vastly superior to the
                                              3                  pixelated, postage-stamp size viewing experience associated with
                                              4                  internet video at the time.
                                              5               • A “progressive download” feature that allowed the viewer to begin
                                              6                  watching a purchased or rented video after only a few minutes while
                                              7                  the file continued to download in the background.
                                              8         23.      DivX OVS was a successful video streaming platform. Throughout the
                                              9   mid-2000s, hundreds of millions of devices spanning virtually every major
                                             10   consumer electronics manufacturer were released supporting DivX OVS playback.
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                                             11   Blockbuster, Netflix, Amazon, and others approached DivX about using DivX’s
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                                             12   technology to power their streaming platforms.
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                                             13               C. DivX Stage6
                                             14         24.      In 2006, DivX launched “Stage6” one of the first HTTP-based
                                             15   websites for sharing and streaming high-resolution video. Streaming video from an
                                             16   HTTP-based website allows a web server to continuously send data to a viewer
                                             17   over a single HTTP connection that remains open. DivX Stage6 implemented
                                             18   DivX’s video compression, codec, and playback technology in an HTTP-based
                                             19   environment and allowed users to upload, share, and view larger video files than
                                             20   other competing platforms from that time, like YouTube.
                                             21         25.      A key technical innovation from DivX’s efforts leading to Stage6—the
                                             22   improved multimedia file structure claimed in the ’443 patent—became the
                                             23   foundation of HTTP-based adaptive streaming systems. Specifically, the’443 patent
                                             24   enabled secure HTTP progressive download, which formed the basis of HTTP-
                                             25   based adaptive streaming systems.
                                             26         26.      DivX Stage6 was one of the earliest websites that supported sharing
                                             27   and streaming of high-resolution video. Even in 2007, when computing resources
                                             28   and network bandwidth were far more limited than today, DivX Stage6 supported
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                                              1   streaming of 720p and 1080p high-definition video. The quality of the high-
                                              2   resolution video playback on Stage6 surprised reviewers, with one commenting
                                              3   “DivX has clearly got something right with web playback of higher-resolution
                                              4   video!”4 DivX Stage6 enjoyed rapid user traffic growth, and by January 2008, it
                                              5   had over 10,000,000 monthly views.
                                              6                 D. DivX SDKs and CTKs
                                              7           27.     The success of the DivX Software and the DivX Codec created
                                              8   consumer demand to be able to play DivX video files on many CE devices,
                                              9   including DVD and other media players. To meet CE manufacturers’ needs to
                                             10   satisfy this demand, DivX created CE software development kits (“SDKs”) that
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                                             11   would allow DVD players and other media players to play DivX files (from CD,
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                                             12   DVD, USB, or network) while also incorporating a secure DRM protocol to protect
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                                             13   against piracy and offering a variety of other features that created a high-quality
                                             14   video playback experience. DivX also developed Certification Test Kits (“CTKs”)
                                             15   for CE manufacturers to certify their licensed devices and communicate to
                                             16   customers that their devices were compatible with DivX files. DivX SDKs and
                                             17   CTKs incorporated DivX’s video compression, codec, playback, and DRM
                                             18   technology to provide an enjoyable user experience on a wide range of devices.
                                             19           28.     DivX has licensed its SDKs and CTKs to many CE companies. DivX’s
                                             20   innovative technologies have been integrated into more than one and a half billion
                                             21   CE devices via the DivX SDKs and CTKs. To this day, numerous CE companies
                                             22   licenses DivX’s SDKs and CTKs, including leading digital television, smartphone,
                                             23   in-car video device, DVD / Blu-ray disc, integrated circuit (IC), and other CE
                                             24   device manufacturers.
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                                                      DivX Stage6 (beta)—the high-def rival to YouTube, Hexus.net, May 1, 2007.

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                                           1               E. DivX Plus Streaming
                                           2         29.      In 2011, DivX released the DivX Plus Streaming SDK, an end-to-end
                                           3   internet video streaming software that rivaled Blu-ray DVDs in quality and feature-
                                           4   set (such as user commands for seeking in the video, fast-forward, and rewind). The
                                           5   DivX innovations incorporated in DivX Plus Streaming include several that provide
                                           6   the foundation for the widespread technological success of video streaming today.
                                           7         30.      DivX Plus Streaming was one of the earliest secure streaming software
                                           8   packages that supported Dynamic Adaptive Streaming over HTTP, abbreviated
                                           9   “DASH.” DASH standardizes certain aspects of adaptive bitrate streaming of video
                                          10   over the internet and has been widely adopted as a protocol used by many of
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                                          11   today’s video streaming services. Fast start and smooth switching among video
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                                          12   streams of different resolutions, depending on bandwidth, both improve the viewer
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                                          13   experience during DASH. The innovations incorporated in DivX Plus Streaming
                                          14   improve both of these aspects of the streaming user experience.
                                          15         31.      DivX’s engineers’ efforts to create DivX Plus Streaming produced
                                          16   many innovations fundamental to today’s video streaming services, including:
                                          17               • Adaptive bitrate streaming that delivered video streams configured for
                                          18                  each specific screen size on which the user wanted to watch the video.
                                          19                  Configuring video streams based on the characteristics of individual
                                          20                  playback devices ensures the optimal balance of video quality and
                                          21                  playback performance.
                                          22               • Trick play that allowed the user to pause, rewind, fast-forward, seek to
                                          23                  a new point in the video, and quickly resume playback. Although now
                                          24                  common in today’s streaming platforms, these features required
                                          25                  significant innovations to deliver them in 2011, when the streaming
                                          26                  playback experience was far more limited.
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                                           1   II. Hulu
                                           2            32.   Hulu launched its video streaming service in 2008 and claims to be a
                                           3   “leading premium streaming service offering live and on-demand TV and movies,
                                           4   with and without commercials, both in and outside the home.” 5
                                           5            33.   Hulu has implemented additional technical features and capabilities in
                                           6   its service over time, and its service today differs significantly from the service it
                                           7   offered in 2008. For example, Hulu did not adopt a scalable HTTP-based adaptive
                                           8   streaming solution until 2013, when it adopted DASH. 6
                                           9            34.   Today, Hulu depends on an enjoyable viewer experience to maintain
                                          10   and increase demand for its service. Hulu Senior Vice President and Head of
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                                          11   Experience Ben Smith has explained that “[t]he future of the television experience
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                                          12   is all about predicting what the consumers want.”7 To fuel this vision, Hulu has a
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                                          13   dedicated Viewer Experience Center, which is the second largest Hulu office
                                          14   worldwide, just behind its headquarters.8 It hosts “the technical aspect of ensuring
                                          15   which streams are coming through at the quality level that [Hulu’s] customers
                                          16   want.”9
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                                                   https://press.hulu.com/corporate/.
                                          20   6
                                                https://www.streamingmediaglobal.com/Articles/Editorial/Featured-
                                          21   Articles/Hulus-Move-to--DASH-
                                          22   105110.aspx?utm_source=feedburner&utm_medium=feed&utm_campaign=Feed%
                                               3A+StreamingMediaMagazine-
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                                                https://www.bizjournals.com/sanantonio/news/2017/11/28/hulus-new-san-
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                                           1                    A. Technologies Implemented by Hulu
                                           2              35.     Hulu’s viewer experience today depends on a combination of video
                                           3   compression, DRM, and adaptive streaming technologies to achieve device
                                           4   interoperability, secure playback, and fast and smooth streaming.
                                           5              36.     Hulu strives to deliver its service to many different user devices. 10 For
                                           6   example, Hulu touts that members can “watch thousands of shows and movies
                                           7   anytime, anywhere” 11—indicating support for mobile devices. Further, Hulu
                                           8   advertises that “[a]s a Hulu subscriber, you’ll be able to stream your favorite
                                           9   content from the comfort of your very own couch to the confines of public
                                          10   transportation using any one of our supported devices.”12 Hulu streaming software
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                                          11   allows users to watch content using a variety of internet-connected devices that
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                                          12   support the Hulu service, including smart TVs, game consoles, streaming media
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                                          13   players, smartphones, and tablets. 13 Hulu supports numerous playback devices and
                                          14   operating systems in its video streaming ecosystem. 14
                                          15              37.     Hulu relies on DRM technology to control the playback of copyrighted
                                          16   material. In particular, Hulu states that “content protection is critical for both
                                          17   MPEG-DASH and HLS formats.” 15 DRM enables Hulu to reduce piracy, protect
                                          18   investments in content, and license content from third parties.
                                          19
                                          20   10
                                                 https://medium.com/hulu-tech-blog/building-the-hulu-experience-in-the-living-
                                               room-10eabf5391d6.
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                                                https://www.hulu.com/welcome?orig_referrer=https%3A%2F%2Fwww.google.
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                                                    https://help.hulu.com/en-us/supported-devices.
                                          24   13
                                                    Id.
                                          25   14
                                                 Id.; https://medium.com/hulu-tech-blog/introducing-the-hulu-technical-
                                               landscape-93f4c136c568.
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                                                 https://medium.com/hulu-tech-blog/the-challenges-of-live-linear-video-ingest-
                                          27   part-one-live-versus-on-demand-system-requirements-89238f3af4f6.
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                                           1          38.     Hulu employs video compression and DRM techniques to optimize
                                           2   delivery of content at maximum quality and speed. 16 Hulu also implements those
                                           3   techniques adaptively using HTTP, so that its service can automatically adjust to a
                                           4   variety of alternative quality levels depending on the user’s internet speed, ensuring
                                           5   the best quality possible for streaming.17
                                           6                B. Hulu’s Reliance on DivX Technology
                                           7          39.     A sudden drop in network bandwidth can cause videos to freeze,
                                           8   buffer, or play with poor quality. Viewers expect video playback and quality to
                                           9   resume immediately after the network bandwidth increases. Hulu has adopted
                                          10   DivX’s patented technology (e.g., the ’987 patent) that optimizes video quality and
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                                          11   reduces the number of video stalls during network bandwidth changes by selecting
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                                          12   optimally encoded video streams based on the network data rate and the data stored
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                                          13   in a buffer on the playback device.
                                          14          40.     Viewers prefer immediate playback after jumping to a new location in
                                          15   a video by fast-forwarding, rewinding, or seeking (“trick play”). Hulu has adopted
                                          16   DivX’s patented technology (e.g., the ’318 and ’141 patents) that reduces trick play
                                          17   delay by implementing a client application at the player to commence playing video
                                          18   content and to request non-sequential portions of the video file without receiving
                                          19   the complete video file, while providing support for alternative audio tracks and
                                          20   subtitle tracks.
                                          21          41.     Content security protects videos from being pirated or viewed without
                                          22   authorization. Viewers expect computationally demanding content security
                                          23
                                          24   16
                                                 https://medium.com/hulu-tech-blog/the-challenges-of-live-linear-video-ingest-
                                          25   part-one-live-versus-on-demand-system-requirements-89238f3af4f6.
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                                                 https://help.hulu.com/en-us/video-quality;
                                               https://www.digitaltrends.com/movies/how-does-hulu-work/;
                                          27   https://medium.com/hulu-tech-blog/the-challenges-of-live-linear-video-ingest-part-
                                          28   one-live-versus-on-demand-system-requirements-89238f3af4f6.

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                                           1   processes—e.g., authentication, encryption, and decryption—to remain in the
                                           2   background without damaging the quality of experience. Hulu has adopted DivX’s
                                           3   patented technology (e.g., the ’443 patent) that provides new structures and
                                           4   organizations of video and decryption information in multimedia files and thus
                                           5   reduces the processing resources needed to download, buffer, decrypt, and play
                                           6   back video.
                                           7         42.     Viewers also expect to stream video, with a high quality of experience,
                                           8   on any and all computing devices, such as laptops, smartphones, tablets,
                                           9   televisions—anything with a screen. Hulu has adopted DivX’s patented technology
                                          10   (e.g., the ’061 patent) that introduces new top level index file structures for
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                                          11   efficiently interconnecting device-specific video streams and cryptographic
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                                          12   encryption data to reduce the computing burdens on the streaming ecosystem while
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                                          13   optimizing quality of experience on each different playback device.
                                          14         43.     Startup delays test viewers’ patience and make them less likely to want
                                          15   to use the video streaming platform. But launching a video with poor quality to
                                          16   make it start faster also frustrates viewers. To balance these competing
                                          17   considerations, Hulu has adopted DivX’s patented technology (e.g., the ’061 patent)
                                          18   that reduces startup delay by implementing a top level index file that references
                                          19   common cryptographic information used to encrypt and decrypt the video. The
                                          20   result is that a consumer can quickly launch a high-quality video.
                                          21         44. DivX initially met with Hulu in 2008 to discuss DivX’s technology.
                                          22   DivX also met with Hulu in May 2019 to engage in good faith negotiations for
                                          23   Hulu to take a license to DivX’s patents. Hulu has not obtained a license to DivX’s
                                          24   patents or its technology, and Hulu continues to profit by providing its infringing
                                          25   video streaming service to tens of millions of Hulu subscribers without permission
                                          26   and without any compensation to DivX.
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                                           1                                 THE DIVX PATENTS
                                           2         45.    DivX solely owns all rights, titles, and interests in and to the DivX
                                           3   Patents, each described below.
                                           4   I.    Technical Background of Streaming Video
                                           5         46.    The DivX Patents are directed to improvements to computer systems
                                           6   for video streaming. Video “streaming” refers to the computing process of
                                           7   continuously providing digital video to an end user through a computing device.
                                           8         47.    Video streaming is accomplished by providing digital video files from
                                           9   server computers that host (store) the video files, over the interconnected computer
                                          10   networks that make up the internet, to client computers (consumer devices, such as
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                                          11   desktop computers, laptop computers, smartphones, and smart televisions) that can
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                                          12   interpret the video files and convert them to pixels displayed on the screen during
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                                          13   playback.
                                          14         48.    The ability to perform video streaming, and the level of performance
                                          15   that can be provided to an end user (such as high-resolution, smooth playback,
                                          16   without stalls or errors), depends on the computing resources of the computing
                                          17   devices—server computers, network computers, and client computers—used in the
                                          18   video streaming system. Those computing resources include the processing power
                                          19   of the computers, the input/output (I/O) and data transmission capabilities of the
                                          20   computers, and the memory (storage) available on the computers.
                                          21         49.    Before digital video, video was stored on analog media such as tape.
                                          22   Transition from analog media to digital video brought new challenges. For
                                          23   example, the amount of data required to represent a video in digital form at its full
                                          24   recorded resolution is massive. The computing resources of servers, networks, and
                                          25   client computers, however, are limited. Streaming digital video, therefore, requires
                                          26   computing techniques to reduce the amount of data that must be processed by
                                          27   server computers, transmitted over networks, and interpreted and converted to
                                          28   displayed video by client devices. These techniques are generally referred to as
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                                           1   “encoding” (converting the data to a particular digital format) and “decoding”
                                           2   (translating the digital format to a format that can be rendered and displayed on a
                                           3   display device).
                                           4         50.    Video encoding and decoding rely on a computing technique called
                                           5   “compression” to reduce the size of the digital video files that must be processed
                                           6   and transmitted while simultaneously preserving sufficient playback performance
                                           7   and quality on the client device. Video compression employs data compression
                                           8   techniques specific to digital video content to reduce file sizes while maintaining
                                           9   playback quality. Because digital video is frequently represented as a series of still
                                          10   image “frames” played back quickly (for example, at a rate of 30 frames per
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                                          11   second), video compression techniques take advantage of similarities among pixels
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                                          12   in a single frame (spatial redundancy) and similarities among pixels across different
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                                          13   frames (temporal redundancy) to reduce the amount of data that must be stored in
                                          14   the digital video file, transmitted over computer networks, and decoded by the
                                          15   client computer and converted to pixel data for display during playback.
                                          16         51.    Video compression presents unique computing challenges different
                                          17   from other data compression techniques (for example, audio, text, or pictures).
                                          18   Consumers expect the same high-quality experience from video streamed on
                                          19   smartphones, televisions, and personal computers as they do from cable
                                          20   programming and physical media (such as DVD or Blu-ray discs). Video
                                          21   compression, digital video files, encoding, and decoding techniques, therefore, must
                                          22   overcome the technical challenge of delivering superior video quality on all types
                                          23   of devices in the most bandwidth-efficient way possible with the least latency (the
                                          24   time it takes to transmit the digital video files over the network).
                                          25         52.    Video compression techniques produce specific types of computer
                                          26   files for representing video data. These files include data structured in a certain,
                                          27   defined way to represent both the video data and other information required to
                                          28   effectively decompress, decode, and play back the video on the display of a
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                                           1   playback device (client computer). Examples of compressed video files used for
                                           2   video streaming include DivX files, AVI files, MP4 files, and Matroska files.
                                           3         53.    Preventing piracy of digital video is another significant technical
                                           4   challenge for streaming video. Digital rights management (DRM) is an access
                                           5   control method that has been developed to protect digital media. DRM is designed
                                           6   to prevent the end user that has obtained digital media from modifying, copying,
                                           7   converting, or using the digital media in any way other than that permitted by the
                                           8   digital content provider. DRM often includes encryption of digital video data in
                                           9   specific ways using specific encryption structures and encryption and decryption
                                          10   mechanisms. Video streaming involves sending portions of files over a network for
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                                          11   decryption and decoding on devices on which other software may be executing.
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                                          12   Video streaming technology providers face unique technical challenges in
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                                          13   providing adequate security of the video content and control over access rights
                                          14   while reducing the burdens on the encoding and decoding computers relating to
                                          15   encryption and decryption.
                                          16         54.    Adaptive bitrate streaming (ABS) is a specific technique used when
                                          17   streaming multimedia over computer networks to playback devices. ABS differs
                                          18   from other types of streaming because it involves detecting the streaming
                                          19   conditions in real time and adjusting the quality of the streamed media accordingly
                                          20   so the user does not experience stalls in video playback caused by changes in
                                          21   bandwidth or processing capabilities. For ABS, the playback server system encodes
                                          22   a particular video title in separate, multiple streams, at different bitrates, to be
                                          23   streamed consistent with the capabilities of the network and playback device,
                                          24   including bandwidth. If available bandwidth changes, for example, ABS allows the
                                          25   device to switch to a lower-resolution stream of the same video data, which requires
                                          26   less data transmission and processing. This allows the video content to keep playing
                                          27   the video without any stall. The process of stream switching in ABS requires the
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                                           1   ability to seek to a particular location in a video file and commence playback
                                           2   without access to all of the preceding portions of the file.18
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                                                       55.    Trick play, or trick mode as it is sometimes called, is a feature that
                                          18
                                               gives viewers visual feedback while they are rewinding or fast-forwarding a stream
                                          19
                                               (i.e., ‘scrubbing’ through it). For time-based trick mode, users are presented with a
                                          20
                                               progress bar that displays their location in the content and allows them to seek to
                                          21
                                               the desired timestamp using the standard trick play controls. When scene
                                          22
                                               information is not available, a user only has a visual timeline and numeric time
                                          23
                                               information to locate the desired position in the content. Once the new location is
                                          24
                                               selected, the system buffers a minimal amount of stream data and begins playback.
                                          25
                                               A scene-based trick mode is based on the availability of scene information in the
                                          26
                                               form of BIF-files or a common file format for carousels of still frame images that
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                                                    https://dashif.org/docs/DASH264-v1.5.pdf.

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                                           1   are often used in systems that implement HLS or DASH. If such data are accessible
                                           2   for a given title, the scene-based trick mode can be used during playback.
                                           3         56.    In sum, streaming digital video data presents unique technical
                                           4   challenges relating to video compression and content protection that affect the
                                           5   computing systems that encode and encrypt digital video, the digital video file
                                           6   types created by those computing systems, and the computing systems that process
                                           7   those file types to decrypt and decode the digital video to provide streaming users
                                           8   with a high-quality experience. DivX’s patented inventions provide technical
                                           9   solutions, through computing improvements, to these technical challenges.
                                          10   II. The ’443 Patent
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                                          11         57.    The ’443 patent, entitled “Multimedia Distribution System for
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                                          12   Multimedia Files with Interleaved Media Chunks of Varying Types,” duly and
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                                          13   legally issued on April 9, 2019, with Jason Braness, Jerome Rota, Eric William
                                          14   Grab, Jerald Donaldson, Heather Hitchcock, Damien Chavarria, Michael John
                                          15   Floyd, Brian T. Fudge, and Adam H. Li as the named inventors. The ’443 patent
                                          16   claims priority to U.S. Patent No. 7,519,274, filed on December 8, 2003. The ’443
                                          17   patent also claims priority to Patent Cooperation Treaty Patent Application No.
                                          18   PCT/US04/41667, filed on December 8, 2004.
                                          19         Summary of the ’443 Inventions
                                          20         58.    The inventions claimed in the ’443 patent speed up decryption of
                                          21   securely encrypted video data, which make video playback start more quickly. The
                                          22   ’443 inventions achieve this goal by introducing a file structure that includes a set
                                          23   of DRM chunks, an index, and partial frame encryption, to enable secure video
                                          24   streaming and faster playback for secure media.
                                          25         59.    Specifically, the ’443 claims are directed to a new, improved
                                          26   multimedia file structure incorporating (1) partial frame encryption, (2) video
                                          27   content encoded as a plurality of video “chunks,” (3) an index to navigate to video
                                          28   chunks within the file, and (4) a set of DRM chunks containing information to
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                                           1   identify and decrypt encrypted content, each having a corresponding video chunk.
                                           2   The ’443 patent’s new, improved file structure integrates three concepts: (1) partial
                                           3   frame encryption, (2) chunk-based adaptive bitrate streaming, and (3) a set of DRM
                                           4   chunks containing decryption information for a corresponding video chunk:
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                                               ’443 patent, FIG. 2.8, 27:32-52.
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                                                     60.    The ’443 inventions improve upon existing multimedia file formats,
                                          19
                                               including, for example, RIFF and AVI file formats. The ’443 inventions provide
                                          20
                                               compatible extensions to those file formats with new structures of DRM and video
                                          21
                                               data, including a set of DRM chunks and video chunks to facilitate efficient, chunk-
                                          22
                                               based adaptive bitrate streaming and efficient decryption of video content. See id. at
                                          23
                                               12:56-13:28.
                                          24
                                                     61.    The ’443 inventions’ new, improved multimedia file structure improve
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                                               the playback device’s ability to navigate and play back the file’s digital video
                                          26
                                               content. The new, improved multimedia file structure improves the user experience
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                                               by reducing delays in loading and playing a video, by making decryption more
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                                           1   efficient. The new, improved multimedia file structure and systems for encoding
                                           2   and decoding that file structure secure video content while reducing the computing
                                           3   resources needed to decrypt the video content. The ’443 inventions enable Hulu to
                                           4   stream video to a diverse array of consumer devices while protecting the video
                                           5   content with secure encryption and decryption, allowing Hulu to both offer its
                                           6   service to a diverse device ecosystem and provide high-quality video content.
                                           7         Technical Problems Addressed by the ’443 Inventions
                                           8         62.    The ’443 inventions address problems with the computing burdens and
                                           9   delays caused by securely protecting video content. The ’443 patent’s new,
                                          10   improved multimedia file structure addresses technical challenges with the
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                                          11   computing resources required to play back compressed, encrypted digital video. A
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                                          12   multimedia file’s structure facilitates its delivery to and decryption, decoding, and
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                                          13   playback on playback devices, including, for example, televisions, phones, tablets,
                                          14   and other consumer electronics devices. See, e.g., id. at 12:56-14:2, FIG. 2.0.
                                          15   Before the ’443 inventions, existing multimedia file formats could contain
                                          16   encrypted, compressed digital video content. A playback device must decrypt
                                          17   encrypted video content before that content can be played back on the device. The
                                          18   video content also must be decoded from its compressed format for playback.
                                          19   Decoding compressed digital video content on a playback device is computationally
                                          20   expensive; the greater the compression, the greater the processing power required to
                                          21   decode. Decrypting compressed digital video content requires additional processing
                                          22   resources, demanding even more processing power.
                                          23         63.    Existing multimedia file formats stored the file’s decryption
                                          24   information in a single “chunk” within the file or in a separate file. The playback
                                          25   device would need to expend processing power to either (1) parse a large chunk
                                          26   containing decryption information for the entire file before decrypting any portion
                                          27   of that file, or (2) request, receive, and parse a separate file to obtain decryption
                                          28   information, all before performing any decryption or decoding. This additional
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                                           1   processing power either slows down the video processing and playback or requires
                                           2   additional, more expensive computing power in the playback device.
                                           3         64.      Both decryption and decoding are necessary to playing back encrypted
                                           4   digital video content on a playback device. Encryption provides security;
                                           5   compression enables transfer over the internet by minimizing the bandwidth
                                           6   required to transmit the video data in an acceptable time period. Enabling higher
                                           7   resolution of internet-delivered video content means a larger amount of data
                                           8   representing that video content. And a larger amount of video data means greater
                                           9   amount of encryption information needed to secure that video content. These
                                          10   increases in data place increased processing demands on playback devices to
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                                          11   decrypt, decode, and play back the video. Processing demands require more
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                                          12   complex, expensive decoders (e.g., consumer devices).
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                                          13         65.      Accordingly, a need existed for an improved multimedia file structure
                                          14   to streamline the playback device’s access to decryption information and decrease
                                          15   the processing power required to decrypt video content, all while maintaining
                                          16   security.
                                          17         Technical Solutions and Benefits Provided by the ’443 Inventions
                                          18         66.      The ’443 patent claims specific, technical solutions to the technical
                                          19   challenges presented by existing multimedia file formats, specifically, by reciting a
                                          20   new, improved multimedia file structure incorporating partial frame encryption,
                                          21   video content encoded as video “chunks,” an index to the video chunks within the
                                          22   file, and a set of DRM chunks each having a corresponding video chunk. The ’443
                                          23   claims are directed to improvements to the functionality of computer systems that
                                          24   receive, decrypt, and decode digital video content. The ’443 claims are directed to a
                                          25   new, improved multimedia file structure, systems for decoding that file structure
                                          26   (claim 1 and dependents), and systems for encoding that file structure (claim 7 and
                                          27   dependents).
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                                           1         67.    The new, improved multimedia file structure includes a set of DRM
                                           2   chunks, each containing decryption information for a corresponding video chunk
                                           3   within the file. Id. at 51:21-27 (“In embodiments where DRM is used to protect the
                                           4   video content of a multimedia file, the DRM information can be generated
                                           5   concurrently with the encoding of the video chunks. As each chunk is generated,
                                           6   the chunk can be encrypted and a DRM chunk generated containing information
                                           7   concerning the encryption of the video chunk.”). Packaging a file’s decryption
                                           8   information in a set of DRM chunks within the file allows the playback device to
                                           9   access decryption information for a particular portion of the video file as needed;
                                          10   the playback device does not need to process all of the file’s decryption information
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                                          11   or request, receive, and process a separate DRM file. In some claimed
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                                          12   embodiments, the DRM chunks are interleaved with the video chunks. Id. at 51:29-
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                                          13   37 (explaining that in some claimed embodiments, each DRM chunk precedes its
                                          14   corresponding video chunk). Interleaving the DRM chunks with the video chunks
                                          15   places relevant decryption information adjacent to the encrypted content,
                                          16   facilitating even more efficient decryption, decoding, and playback. Id. at 52:52-67,
                                          17   53:22-27, FIG. 4.
                                          18         68.    The new, improved multimedia file structure also incorporates the
                                          19   benefits of partial frame encryption: less (i.e., more efficient) encryption and
                                          20   decryption plus secure video content. Further, the new, improved multimedia file
                                          21   structure includes DRM information that identifies the encrypted content. “In an
                                          22   encryption system in accordance with an embodiment of the present invention, the
                                          23   video chunks are only partially encrypted. Where partial encryption is used, the
                                          24   ‘DRM’ chunks contain a reference to the portion of a ‘video’ chunk that is
                                          25   encrypted and a reference to the key that can be used to decrypt the encrypted
                                          26   portion.” Id. at 27:53-58; see also id. at 27:63-28:6 and FIG. 2.9:
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                                          17         69.    The new, improved multimedia file structure also incorporates an
                                          18   index to facilitate chunk-based access during playback. Id. at 28:7-17.
                                          19         70.    The ’443 patent’s new, improved multimedia file structure, and the
                                          20   systems for encoding and decoding that file structure, provide technical benefits
                                          21   that improve the functionality and capabilities of computer systems performing
                                          22   these operations. The file structure allows the playback device to efficiently
                                          23   identify, decrypt, and decode relevant video data for playback. By incorporating
                                          24   partial frame encryption, the new file structure reduces the computing resources
                                          25   required both for encoding and encrypting the data and for decrypting and decoding
                                          26   the data. Encrypting only a portion of an encrypted frame can further reduce the
                                          27   necessary computing resources. By encoding a set of DRM chunks each containing
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                                           1   decryption information relevant to a corresponding video chunk, the new file
                                           2   structure improves the performance of the computer system executing decryption
                                           3   and decoding operations, making decryption less computationally intensive. The
                                           4   playback device need only receive and parse the discrete DRM chunk relevant to
                                           5   the video chunk to be played back. And the DRM chunk includes information to
                                           6   identify the relevant encrypted content. By encoding the new file structure with an
                                           7   index to the video chunks within the file, the file enables chunk-based adaptive
                                           8   bitrate streaming and allowing the playback device to navigate the video file to
                                           9   locate and process only those chunks needed for playback. The new file structure
                                          10   was new and not well-known, routine, or conventional at the time of the ’443
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                                          11   invention.
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                                          12         71.        In sum, the inventions claimed in the ’443 patent enable streaming of
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                                          13   secure video content over the internet. The claims recite new computing techniques
                                          14   that improve the performance of computing systems (servers and playback devices,
                                          15   connected by networks) streaming video content over the internet and playing back
                                          16   that content. These improvements enhance the user experience for internet video
                                          17   delivery. The inventions achieve these benefits by providing a new kind of digital
                                          18   video file structure and new computing techniques for encoding and decoding that
                                          19   structure.
                                          20                •     For example, the inventions’ new digital video file structure has
                                          21                      video data encoded as individual portions, or “chunks” of video.
                                          22                      The new digital video file structure also includes DRM information
                                          23                      for each video chunk for easy access and streaming. The DRM
                                          24                      information in the new file structure incorporates data used for
                                          25                      decryption of partially encrypted frames of video. The new digital
                                          26                      video file structure also includes an index for accessing and
                                          27                      streaming individual video chunks and their associated DRM
                                          28                      information protecting the video chunks.
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                                           1               •     The inventions’ new digital video file structure enables video
                                           2                     streaming services to customize the security for their video content
                                           3                     on a chunk-by-chunk basis. The new digital video file structure
                                           4                     allows video streaming services to perform partial frame encryption
                                           5                     on a chunk-by-chunk basis, which can enhance content security.
                                           6                     The new digital video file structure also reduces the computing
                                           7                     burdens imposed by the need to transfer DRM information to the
                                           8                     playback device and process that information to decrypt encrypted
                                           9                     video content. Reducing those computing burdens makes video
                                          10                     playback faster and available on a wider range of computing
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                                          11                     devices.
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                                          12               •     The inventions achieve the benefits presented above with new
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                                          13                     computing techniques for processing the new file structure to
                                          14                     decode the file structure on a playback device and to encode the new
                                          15                     file structure on an encoding computing system. For example, these
                                          16                     new computing techniques enable playback devices to efficiently
                                          17                     locate the information necessary to determine the specific portions
                                          18                     of the frames of video that are encrypted, so that decryption can be
                                          19                     performed based upon information contained within the file instead
                                          20                     of based upon processing and analyzing the content of the frame to
                                          21                     determine the portions that require decryption.
                                          22   See, e.g., ’443 patent at 1:26-35, 11:24-28, 11:60-63, 27:19-28:6, 51:21-38, 52:52-
                                          23   67, 53:22-27, FIG. 2.8, FIG. 2.9, FIG. 4.0.
                                          24         Prosecution History of the ’443 Inventions
                                          25         72.       The claims of the ’443 patent issued at least because they recite a
                                          26   multimedia file incorporating partial frame encryption, a set of DRM chunks, and
                                          27   DRM information pointing to the encrypted data. The prior art cited during
                                          28   prosecution did not teach “a system for decoding multimedia files that receives at
                                                                                          - 26 -
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                                           1   least a portion of a multimedia file that includes ‘at least one video track encoded as
                                           2   a plurality of video chunks, a set of digital rights management (DRM) chunks, and
                                           3   an index chunk’ [wherein] ‘each DRM chunk of the set of DRM chunks comprises
                                           4   DRM information to decrypt at least one partially encrypted frame of video’ and
                                           5   ‘the DRM information comprises an offset value that points to the start of an
                                           6   encrypted block within an encoded frame and a number value that indicates the
                                           7   number of encrypted bytes in the encrypted block.’” ’443 File History, 19 Applicant
                                           8   Reply to Office Action of May 16, 2018 (Oct. 16, 2018), at 10-11. Specifically, the
                                           9   Candelore reference cited in prosecution did not “disclose partial encryption of
                                          10   encoded frames of video by encrypting at least one block of data within the
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                                          11   partially encrypted frame so that only a portion of the encoded frame is encrypted.”
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                                          12   Id. at 11. Similarly, the Candelore reference did not “disclose partial encryption of
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                                          13   encoded frames of video by encrypted at least one block of data within the partially
                                          14   encrypted frame so that only a portion of the frame is encrypted or DRM
                                          15   information that includes ‘an offset value that points to the start of an encrypted
                                          16   block within an encoded frame.’” Id. at 13. Further, the Candelore reference did
                                          17   not “disclose ‘interleaving the video chunks and DRM chunks so that a DRM
                                          18   chunk for decrypting at least one partially encrypted frame within a particular video
                                          19   chunk is located before the particular video chunk.’” Id. The Notice of Allowance
                                          20   issued on November 16, 2018, without examiner comment. ’443 File History,
                                          21   Notice of Allowance (Nov. 16, 2018).
                                          22            73.    During prosecution, the patent examiner did not reject any claims of
                                          23   the ’443 patent for lack of subject matter eligibility under 35 U.S.C. § 101.
                                          24            Claims Reciting the Technical Solutions of the ’443 Inventions
                                          25            74.    Claim 1 of the ’443 patent recites a system for decoding a new,
                                          26   improved multimedia file structure:
                                          27
                                          28
                                               19
                                                    Cited excerpts of the ’443 file history attached as Exhibit 6.

                                                                                          - 27 -
                                                                                                                        COMPLAINT
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                                           1           1. A system for decoding multimedia files comprising:
                                           2           at least one processor;
                                           3           a non-volatile storage containing a decoder application;
                                           4           wherein the decoder application causes the at least one
                                           5           processor to perform the steps of:
                                           6           receiving at least a portion of a multimedia file, wherein:
                                           7           the received at least a portion of the multimedia file
                                           8           comprises at least one video track encoded as a plurality
                                           9           of video chunks, a set of digital rights management
                                          10           (DRM) chunks, and an index chunk;
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                                          11           at least one video chunk of the plurality of video chunks
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                                          12           contains at least one partially encrypted frame of video so
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                                          13           that only a portion of the encoded frame is encrypted;
                                          14           each DRM chunk of the set of DRM chunks comprises
                                          15           DRM information to decrypt at least one partially
                                          16           encrypted frame of video in at least one video chunk of
                                          17           the plurality of video chunks;
                                          18           the DRM information comprises an offset value that
                                          19           points to the start of an encrypted block within an
                                          20           encoded frame and a number value that indicates the
                                          21           number of encrypted bytes in the encrypted block;
                                          22           the index chunk includes information concerning the
                                          23           location of data chunks within the multimedia file
                                          24           including the locations of video chunks from the at least
                                          25           one video track; and
                                          26           for each chunk of the plurality of video chunks:
                                          27           determining whether the video chunk contains at least one
                                          28           partially encrypted frame of video;
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                                           1                when a video chunk contains a partially encrypted frame
                                           2                of video, identifying a corresponding one of the set of
                                           3                DRM chunks that contains the DRM information for the
                                           4                partially encrypted frame of video, demultiplexing the
                                           5                partially encrypted frame from the video chunk, and
                                           6                decrypting the partially encrypted frame of video using
                                           7                the offset and number values from the DRM information
                                           8                for the partially encrypted frame of video; and
                                           9                decoding at least one encoded frame of video for display.
                                          10   ’443 patent, 55:51-56:25.
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                                          11         75.    Claim 1 of the ’443 patent therefore recites a system for decoding a
            A TTORNEYS A T L AW




                                          12   new, improved multimedia file structure incorporating partial frame encryption,
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                                          13   video content encoded as a plurality of video “chunks,” an index to navigate to
                                          14   video chunks within the file, and a set of DRM chunks containing information to
                                          15   identify and decrypt encrypted content, each having a corresponding video chunk.
                                          16   Id.; see also id. at 1:26-35, 11:24-28, 11:60-63, 12:56-14:2, 27:19-28:17, 51:21-38,
                                          17   52:52-67, 53:22-27, FIG. 2.8, FIG. 2.9, FIG. 4. Claim 1 and its dependents,
                                          18   therefore, recite limitations that enable the technical and performance benefits of
                                          19   the invention described above in ¶¶ 66-71. Claim 1 recites a novel, technical
                                          20   solution for more efficient decryption, decoding, playback, and chunk-based
                                          21   adaptive bitrate streaming.
                                          22         76.    Claims 2-6 and 15-16 of the ’443 patent depend from claim 1, and
                                          23   each claim further describes the new, improved multimedia file structure. The
                                          24   additional elements in these claims, in conjunction with the elements of the claims
                                          25   from which each depends, therefore recite unconventional, new-and-improved
                                          26   multimedia file structures and systems for decoding them not well-known at the
                                          27   time of the ’443 inventions.
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                                           1         77.   Claim 7 of the ’443 patent recites a system for encoding a new,
                                           2   improved multimedia file structure:
                                           3               7. A system for encoding multimedia files comprising:
                                           4               a network interface;
                                           5               at least one processing unit;
                                           6               a non-transitory memory storing an encoding application,
                                           7               wherein the encoding application causes the at least one
                                           8               processing unit to encode multimedia files by performing
                                           9               the steps of:
                                          10               obtaining source media using the network interface,
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                                          11               wherein the source media comprises video;
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                                          12               encoding at least one video track as a plurality of video
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                                          13               chunks, the video chunks being portions of the at least
                                          14               one video track, the video track comprising a series of
                                          15               encoded video frames;
                                          16               partially encrypting at least some of the encoded frames
                                          17               of video so that only portions of the encoded frames of
                                          18               video are encrypted;
                                          19               encoding the DRM information as a set of DRM chunks,
                                          20               wherein:
                                          21               each DRM chunk of the set of DRM chunks comprises
                                          22               DRM information to decrypt at least one partially
                                          23               encrypted frame of video in at least one video chunk of
                                          24               the plurality of video chunks; and
                                          25               the DRM information comprises an offset value that
                                          26               points to the start of an encrypted block within an
                                          27               encoded frame and a number value that indicates the
                                          28               number of encrypted bytes in the encrypted block;
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                                           1                interleaving the video chunks and DRM chunks so that a
                                           2                DRM chunk for decrypting at least one partially
                                           3                encrypted frame within a particular video chunk is located
                                           4                before the particular video chunk; and
                                           5                encoding at least one index chunk that includes
                                           6                information concerning the locations of video chunks;
                                           7                writing the interleaved chunks to at least one multimedia
                                           8                file; and
                                           9                transmitting at least a portion of the at least one
                                          10                multimedia file using the network interface.
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                                          11   Id. at 56:41-57:10.
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                                          12         78.    Claim 7 of the ’443 patent therefore recites a system for encoding a
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                                          13   new, improved multimedia file structure incorporating partial frame encryption,
                                          14   video content encoded as a plurality of video “chunks,” an index to navigate to
                                          15   video chunks within the file, and a set of interleaved DRM chunks containing
                                          16   information to identify and decrypt encrypted content, each having and preceding a
                                          17   corresponding video chunk. Id.; see also id. at 1:26-35, 11:24-28, 11:60-63, 12:56-
                                          18   14:2, 27:19-28:17, 51:21-38, 52:52-67, 53:22-27, FIG. 2.8, FIG. 2.9, FIG. 4. Claim
                                          19   7 and its dependents, therefore, recite limitations that enable the technical and
                                          20   performance benefits of the invention described above in ¶¶ 66-71. The limitation
                                          21   specifying that each DRM chunk precedes its corresponding video chunk creates
                                          22   increased efficiency during decryption and decoding of the file and during chunk-
                                          23   based adaptive bitrate streaming, because the playback system can use the index to
                                          24   request video chunks with their corresponding DRM chunks. Claim 7 recites a
                                          25   novel, technical solution for more efficient decryption, decoding, playback, and
                                          26   chunk-based adaptive bitrate streaming.
                                          27         79.    Claims 8-14 of the ’443 patent depend from claim 7, and each claim
                                          28   further describes the new, improved multimedia file structure. The additional
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                                           1   elements in these claims, in conjunction with the elements of the claims from which
                                           2   each depends, therefore recite unconventional, new-and-improved multimedia file
                                           3   structure s and systems for encoding them not well-known at the time of the ’443
                                           4   inventions.
                                           5   III.   The ’318 Patent
                                           6          80.    The ’318 patent, entitled “Video Distribution System Including
                                           7   Progressive Playback,” duly and legally issued on October 17, 2017, from a patent
                                           8   application filed on February 26, 2015, with Roland Osborne as the named
                                           9   inventor. The ’318 patent claims priority to U.S. Provisional Application No.
                                          10   60/883,659, filed on January 5, 2007.
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                                          11          Summary of the ’318 Inventions
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                                          12          81.    The inventions claimed in the ’318 patent allow streaming video to
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                                          13   start playing more quickly and allow viewers to use trick play functions right away.
                                          14   The ’318 inventions achieve this goal by using the playback device, instead of the
                                          15   server, to request and receive a video file in smaller portions so the user has access
                                          16   to the received portions quickly, and by tracking which portions the playback
                                          17   device has requested and received to improve efficiency in downloading and
                                          18   playback.
                                          19          82.    Specifically, the ’318 claims are directed to new, improved methods
                                          20   and systems for playing back remote digital video content as the playback device
                                          21   downloads the content, using HTTP requests to the server for portions or “chunks”
                                          22   of the video file. The inventions recited in the ’318 claims improve playback of
                                          23   digital video content before the player receives the complete video file. The
                                          24   invention improves “playing multimedia files over a network and more specifically
                                          25   [] the progressive playback of multimedia files as they are downloaded over a
                                          26   network.” ’318 patent, 1:18-21. “Progressive playback” refers to playing remote
                                          27   video content as the player downloads the content, e.g., beginning to play video
                                          28   content before the player has received or downloaded the complete video file. Id. at
                                                                                       - 32 -
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                                           1   1:22-23. “With this feature a user can select a remote movie and commence
                                           2   watching it before it is fully downloaded. Even with a fast Internet connection,
                                           3   waiting for a movie to fully download can range from minutes to hours depending
                                           4   on the size of the media file. With progressive playback a user only has to wait a
                                           5   couple of seconds before playback can begin.” Id. at 1:23-29.
                                           6         83.    The ’318 inventions improve upon existing playback to enable
                                           7   streaming for longer video content (such as episode- or feature-length content) and
                                           8   to enable trick play functionality during playback without stalls or startup delay.
                                           9         Technical Problems Addressed by the ’318 Inventions
                                          10         84.    The ’318 inventions address problems of slow start and lack of trick
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                                          11   play functionality caused by inferior prior art systems. The ’318 patent’s new,
            A TTORNEYS A T L AW




                                          12   improved playback methods and systems address multiple technical problems.
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                                          13   Before the ’318 inventions, existing digital video playback systems facilitated
                                          14   progressive playback of only short digital video clips because the systems
                                          15   downloaded remote video files linearly, from beginning to end. Id. at 1:30-45.
                                          16   Playback would begin only after the player had “buffered enough data to provide a
                                          17   likelihood that the media [would] play without interruption.” Id. at 1:35-37.
                                          18   Because playback would begin only after the player had downloaded sufficient
                                          19   data, longer content would suffer from startup delay: “The buffering requirement
                                          20   can either be a fixed amount suitable for a large percentage of content, or a dynamic
                                          21   amount, where the player infers how much data is required to play the entire
                                          22   content without suffering buffer under-run.” Id. at 1:37-41. Thus, existing systems
                                          23   did not support seeking, trick play (for example, pausing, rewinding, fast
                                          24   forwarding, skipping), or playing back longer content (e.g., feature-length movies).
                                          25   Id. at 1:30-45; see also id. at 1:58-2:8 (“When a long clip is started, it is impossible
                                          26   to seek or fast-forward to a point in the file that has not already been
                                          27   downloaded.”).
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                                           1         85.    Some existing streaming systems were “server-driven,” as opposed to
                                           2   receiver-driven (e.g., based on instructions from the player). In server-driven
                                           3   systems, “the server parse[d] the data file and determine[d] which data to send” for
                                           4   playback. Id. at 1:46-57. Server-driven systems required custom computing
                                           5   systems, which increased expense: “[s]tandard HTTP web servers . . . do not
                                           6   typically provide this functionality, and custom web servers providing this
                                           7   functionality often scale poorly when called upon to deliver content simultaneously
                                           8   to a large number of players.” Id. These systems required expensive, impractical,
                                           9   inefficient custom server designs unable to simultaneously supply digital video
                                          10   content to a large number of playback devices. Id.
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                                          11         86.    Further, transmission of high quality video over the internet typically
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                                          12   requires variable bitrate video, which means that different amounts of data can be
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                                          13   used to encode a particular duration of the video. This variation in bitrate within a
                                          14   single video file makes it computationally difficult for the server or the playback
                                          15   device to determine the locations of the specific chunks of video corresponding to a
                                          16   particular playback time within the video file.
                                          17         87.    Accordingly, as demand for streaming digital video content increased,
                                          18   a need existed for new, improved, receiver-driven playback methods and systems
                                          19   able to perform efficient partial-download playback with trick play functionality
                                          20   (for example, requesting video content in non-linear or non-sequential chunks).
                                          21         Technical Solutions and Benefits Provided by the ’318 Inventions
                                          22         88.    The ’318 patent claims specific, technical solutions to the technical
                                          23   challenges presented by existing playback systems, specifically, by reciting
                                          24   receiver-driven methods and systems in which the player receives an index to the
                                          25   remote video file to facilitate chunk-based streaming using HTTP requests for
                                          26   specific portions of the video file. See, e.g., id. at 2:13-29. The system requests and
                                          27   queues chunks of the video file for download and playback based on instructions at
                                          28   the player. The ’318 claims are directed to improvements to the functionality of
                                                                                        - 34 -
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                                           1   computers that request, receive, download, and play back digital video content
                                           2   stored in container files on a remote server. The ’318 claims are directed to
                                           3   improved methods (claim 1 and dependents) and systems (claim 10 and
                                           4   dependents).
                                           5         89.      Some claims recite a technical solution related to the player’s ability to
                                           6   deliver requests to the server for specific portions of a video file. “In several
                                           7   [claimed] embodiments, the ability to provide full featured progressive playback is
                                           8   due in part to the tight coupling of the playback engine for the media sequence (i.e.,
                                           9   the system that decodes and plays back the encoded media) with a transport
                                          10   protocol that provides random access to the remote file. Interfacing of the playback
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                                          11   engine with the transport protocol via a file parser can reduce latency and enable
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                                          12   the client and media server to operate in parallel improving download efficiency
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                                          13   and interactivity.” Id. at 2:30-38. Further, the video “files are formatted to include
                                          14   an index to the data within the file and a transport protocol that allows for
                                          15   downloading specific byte ranges within a file.” Id. at 2:38-42; see also id. at 6:10-
                                          16   34 (“When the media file includes an index, a device configured with a client
                                          17   application in accordance with an embodiment of the invention can use the index to
                                          18   determine the location of various portions of the media. Therefore, the index can be
                                          19   used to provide a user with ‘trick play’ functions. . . . [T]he client application
                                          20   requests portions of the media file using a transport protocol that allows for
                                          21   downloading of specific byte ranges within the media file.”).
                                          22         90.      The ’318 inventions provide improved playback methods and systems
                                          23   that enable a client application at the player to commence playing video content and
                                          24   to request non-sequential portions of the video file without receiving the complete
                                          25   video file. Id. at 5:18-39. The inventions create a client computing application
                                          26   capable of implementing progressive playback with trick play functionality. Id.
                                          27   Systems for downloading and playing back video over a network, before the ’318
                                          28   inventions, did not provide these benefits and advantages, and therefore these
                                                                                         - 35 -
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                                           1   improved methods and systems were new and not well-known, routine, or
                                           2   conventional at the time of the ’318 inventions.
                                           3         91.    The ’318 patent claims technical—not merely conceptual—solutions
                                           4   to recognized, but unsolved playback system shortcomings. The ’318 inventions
                                           5   specify a client application including, for example, a download manager, a
                                           6   playback engine, and a file parser to facilitate progressive playback with trick play
                                           7   functionality. Id. at 7:1-37. One embodiment of the client application at the player
                                           8   includes a download manager “that is responsible for coordinating the downloading
                                           9   of specific byte ranges [or “chunks”] of a file from a remote server”; a playback
                                          10   engine “that coordinates the playback of a media file in response to user
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                                          11   interactions”; and a file parser that “interfaces between the playback engine and the
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                                          12   download manager” and “maps high level data requests from the playback engine
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                                          13   to specific byte ranges that can then be requested using the download manager.” Id.
                                          14   In short, the ’318 invention provides a playback system able to navigate a remote
                                          15   digital video file, request portions or “chunks” of that video file, and download and
                                          16   play back those portions, while randomly accessing other portions of the file and
                                          17   queuing those chunks for playback, based on instructions from the system’s user.
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                                          17   ’318 patent, Fig. 4.
                                                     92.    The ’318 inventions improve on existing playback methods and
                                          18
                                               systems. “Instead of sequentially downloading a media file and waiting until the
                                          19
                                               required information has been downloaded to perform a ‘trick play’ function, client
                                          20
                                               applications in accordance with embodiments of the invention can determine
                                          21
                                               portions of a media file that are required to support a specific ‘trick play’ function
                                          22
                                               and request those portions of the file from the remote server. When a ‘trick play’
                                          23
                                               function involves skipping to portions of the media that have not been downloaded,
                                          24
                                               such as fast forwarding and skipping between chapters, latency can be significantly
                                          25
                                               reduced compared to sequential download.” Id.
                                          26
                                                     93.    In sum, the inventions recited in the ’318 patent improve the
                                          27
                                               performance and user interactivity of video streaming over the internet. The claims
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                                                                                        - 37 -
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                                           1   recite new computing techniques that improve the performance of computing
                                           2   systems (servers and playback devices, connected by networks) streaming video
                                           3   content over the internet and playing back that content. These improvements
                                           4   enhance the user experience for internet video streaming. The inventions also
                                           5   reduce the computing burdens on video streaming servers and economic costs
                                           6   associated with those burdens. For example, the inventions enable random seeking
                                           7   within an episode- or feature-length video upon beginning streaming. The
                                           8   inventions enable random seeking in higher-resolution videos streamed using
                                           9   variable bitrates. The inventions achieve these benefits with a new computer file
                                          10   structure containing multimedia data and new computing techniques for processing
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                                          11   the new file structure on a playback device.
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                                          12             •    For example, the inventions’ new file structure includes media data
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                                          13                  organized in portions, or “chunks.” The new file structure also
                                          14                  includes an index to the media data chunks at certain locations
                                          15                  within the file.
                                          16             •    The inventions achieve the benefits presented above with new
                                          17                  computing techniques for processing the new file structure,
                                          18                  including new techniques for sequencing the requesting and
                                          19                  unpackaging of streamed multimedia data. For example, these new
                                          20                  techniques include processing the index data to convert video
                                          21                  “chunk” references to specific HTTP requests for use in
                                          22                  communication with an HTTP-based web server hosting media data.
                                          23                  These new techniques also include monitoring data requested and
                                          24                  received from the server to make streaming more efficient and
                                          25                  reduce computing resources needed at the playback device.
                                          26             •    The inventions’ new file structure and new computing techniques to
                                          27                  convert chunk references to HTTP requests enables video streaming
                                          28                  services to reduce computing burdens on their media streaming
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                                           1                     servers and reduce associated costs. The cost reductions enabled by
                                           2                     the inventions also allow video streaming services to scale their
                                           3                     services to many different users and playback devices while
                                           4                     mitigating computing burdens. The inventions’ new computer file
                                           5                     structure and new computing techniques also facilitate playback of
                                           6                     episode- and feature-length video without stalls and enable random
                                           7                     seeking upon beginning streaming.
                                           8   See, e.g., ’318 patent at 1:18-2:8, 2:12-57, 3:30-37, 4:1-9, 4:27-29, 4:53-64, 5:10-
                                           9   13, 5:18-39, 6:17-31, 6:59-7:37, 8:6-37, 9:29-47, 10:15-53, 10:57-65, 11:1-23, FIG,
                                          10   2, FIG. 3, FIG. 4, FIG. 5, FIG. 9.
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                                          11            Prosecution History of the ’318 Inventions
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                                          12            94.    The claims of the ’318 patent issued at least because they recite a
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                                          13   receiver-driven, chunk-based playback method or system compatible with HTTP
                                          14   and facilitating trick play functionality. The prior art cited in prosecution did not
                                          15   teach “the processes of the method being performed ‘using a playback engine’ . . . .
                                          16   Indeed, the claimed invention specifically seeks to improve upon prior art systems
                                          17   similar to those described in [the prior art] by enabling simplification of server
                                          18   processing and instead relying upon playback devices to determine the appropriate
                                          19   responses to instructions.” ’318 File History, 20 Applicant Response to Office Action
                                          20   Dated November 3, 2016 (Feb. 3, 2017), at 7; see also Notice of Allowance (May
                                          21   19, 2017), at 3 (allowing claims and noting that Applicant’s arguments were
                                          22   “persuasive to overcome the current rejection” because “none of the currently
                                          23   applied prior art references, nor any other candidate prior art reference[,] expressly
                                          24   and sufficiently discloses the amended features of a ‘playback engine implemented
                                          25   of [sic] a playback device’ performing the steps of ‘downloading an index from a
                                          26   remote media file . . . ’, ‘requesting chunks for downloading based upon a received
                                          27
                                          28
                                               20
                                                    Cited excerpts of the ’318 file history attached as Exhibit 7.

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                                           1   instruction and maintaining a queue of the requested chunks . . . ’, ‘receiving a
                                           2   requested chunk and removing the chunk from the queue of requested chunks . . . ’,
                                           3   ‘maintaining a playback queue of the receiving chunks for playback pending
                                           4   commencement of playback by the playback device . . . ’, and ‘ providing chunks
                                           5   maintained in the playback . . . queue to a decoder to enable playing of the media
                                           6   by the playback device.’”).
                                           7         95.    During prosecution, the patent examiner did not reject any claims of
                                           8   the ’318 patent for lack of subject matter eligibility under 35 U.S.C. § 101.
                                           9         Claims Reciting the Technical Solutions of the ’318 Inventions
                                          10         96.    Claim 1 of the ’318 patent recites a new, improved method for chunk-
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                                          11   based download and playback of remote digital video content supporting trick play
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                                          12   functionality that delivers the technical benefits described in the ’318 patent
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                                          13   specification:
                                          14                1. A method for obtaining media from a media file for
                                          15                playback on a playback device from a remote server, the
                                          16                media formatted to represent media as chunks,
                                          17                comprising:
                                          18                download an index from a remote media file, using a
                                          19                playback engine implemented on the playback device,
                                          20                wherein the index is used to convert a chunk reference
                                          21                into a specific HTTP request for use in downloading;
                                          22                request chunks for downloading based upon a received
                                          23                instruction and maintain a queue of the requested chunks,
                                          24                using the playback engine implemented on the playback
                                          25                device, wherein the requested chunks are downloaded by
                                          26                identifying media chunks corresponding to a sequence of
                                          27                key frames identified for the received instruction;
                                          28
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                                           1                receive a requested chunk and remove the received chunk
                                           2                from the queue of requested chunks, using the playback
                                           3                engine implemented on the playback device;
                                           4                maintain a playback queue of received chunks for
                                           5                playback pending commencement of playback by the
                                           6                playback device, using the playback engine implemented
                                           7                on the playback device; and
                                           8                provide chunks maintained in the playback queue to a
                                           9                decoder to enable playing of the media by the playback
                                          10                device, using the playback engine implemented on the
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                                          11                playback device.
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                                          12   ’318 patent, 11:43-67.
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                                          13   Claim 1 of the ’318 patent therefore recites a new, improved, receiver-driven
                                          14   method for chunk-based download and playback with trick play functionality. Id.;
                                          15   see also id. at 1:18-2:8, 2:12-57, 3:30-37, 4:1-9, 4:27-29, 4:53-64, 5:10-13, 5:18-39,
                                          16   6:17-34, 6:59-7:37, 8:6-37, 9:29-47, 10:15-53, 10:57-65, 11:1-23, FIG, 2, FIG. 3,
                                          17   FIG. 4, FIG. 5, FIG. 9. Claim 1 and its dependents, therefore, recite limitations that
                                          18   enable the technical and performance benefits of the invention described above in
                                          19   ¶¶ 88-93. Claim 1 recites a novel, technical solution for enabling download and
                                          20   playback of remote digital video content with trick play functionality using an
                                          21   index and HTTP requests to navigate the remote video file and request and queue
                                          22   content.
                                          23         97.    Claims 2-9 of the ’318 patent depend from claim 1, and each claim
                                          24   further describes how the new, improved playback method facilitates efficient,
                                          25   chunk-based, partial-download playback with trick play functionality. The ordered
                                          26   combinations of elements in claims 2-9, in conjunction with the elements of the
                                          27   claims from which each claim depends, therefore recite unconventional, new-and-
                                          28
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                                           1   improved digital video playback methods not well-known at the time of the ’318
                                           2   inventions.
                                           3         98.     Claim 10 of the ’318 patent recites a playback device for implementing
                                           4   a new, improved method for chunk-based download and playback of remote digital
                                           5   video content supporting trick play functionality that delivers the technical benefits
                                           6   described in the ’318 patent specification:
                                           7                 10. A playback device for streaming media content, the
                                           8                 playback device comprising:
                                           9                 at least one hardware processor that is configured to:
                                          10                 download an index from a remote media file, wherein the
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                                          11                 index is used to convert a chunk reference into a specific
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                                          12                 HTTP request for use in downloading;
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                                          13                 request chunks for downloading based upon a received
                                          14                 instruction and maintain a queue of the requested chunks,
                                          15                 wherein the requested chunks are downloaded by
                                          16                 identifying media chunks corresponding to a sequence of
                                          17                 key frames identified for the received instruction;
                                          18                 receive a requested chunk and remove the received chunk
                                          19                 from the queue of requested chunks;
                                          20                 maintain a playback queue of received chunks for
                                          21                 playback pending commencement of playback by the
                                          22                 playback device; and
                                          23                 provide chunks maintained in the playback queue to a
                                          24                 decoder to enable playing of the media by the playback
                                          25                 device.
                                          26   Id. at 12:25-45.
                                          27         99.     Claim 10 of the ’318 patent therefore recites a playback device for
                                          28   implementing a new, improved, receiver-driven method for chunk-based download
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                                           1   and playback with trick play functionality. Id.; see also id. at 1:18-2:8, 2:12-57,
                                           2   3:30-37, 4:1-9, 4:27-29, 4:53-64, 5:10-13, 5:18-39, 6:17-34, 6:59-7:37, 8:6-37,
                                           3   9:29-47, 10:15-53, 10:57-65, 11:1-23, FIG, 2, FIG. 3, FIG. 4, FIG. 5, FIG. 9. Claim
                                           4   10 and its dependents, therefore, recite limitations that enable the technical and
                                           5   performance benefits of the invention described above in ¶¶ 88-93. Claim 10 recites
                                           6   a novel, technical solution for enabling receiver-driven download and playback of
                                           7   remote digital video content with trick play functionality using an index and HTTP
                                           8   requests to navigate the remote video file and request and queue content.
                                           9           100. Claims 11-18 of the ’318 patent depend from claim 10, and each claim
                                          10   further describes how the new, improved playback method facilitates efficient,
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                                          11   chunk-based, partial-download playback with trick play functionality. The ordered
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                                          12   combinations of elements in claims 11-18, in conjunction with the elements of the
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                                          13   claims from which each depends, therefore recite unconventional, new-and-
                                          14   improved digital video playback systems not well-known at the time of the ’318
                                          15   inventions.
                                          16   IV.     The ’141 Patent
                                          17           101. The ’141 patent, entitled “Systems and Methods for Seeking Within
                                          18   Multimedia Content During Streaming Playback,” duly and legally issued on
                                          19   September 10, 2019, with Roland Osborne as the named inventor. The ’141 patent
                                          20   claims priority to U.S. Provisional Application No. 60/883,659, filed on January 5,
                                          21   2007.
                                          22           Summary of the ’141 Invention
                                          23           102. The inventions claimed in the ’141 patent allow streaming video of
                                          24   multiple title tracks, audio tracks, and subtitle tracks to start playing more quickly
                                          25   and allow viewers to use trick play functions right away. The ’141 inventions
                                          26   achieve this goal by using metadata describing a multimedia file to determine and
                                          27   request smaller portions of the multimedia file so the user has access to the
                                          28
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                                           1   requested portions quickly, and commencing playback or trick play once the
                                           2   multimedia data in the buffer reaches a threshold sufficient to avoid playback stalls.
                                           3         103. The ’141 claims are directed to new, improved methods and systems
                                           4   for playing back digital video content over the internet as the playback device
                                           5   downloads the content. The ’141 inventions enable user-driven or receiver-driven
                                           6   playback of digital video content selected from multiple tracks of media data. A
                                           7   user-driven or receiver-driven approach to playback occurs when the device, based
                                           8   on user instruction, determines the data that is requested and downloaded and
                                           9   parses the files to determine when to request and download additional data. See
                                          10   ’141 patent, 1:40-55, 2:1-19.
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                                          11         104. The inventions improve “playing multimedia files over a network and
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                                          12   more specifically [] the progressive playback of multimedia files as they are
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                                          13   downloaded over a network.” ’141 patent, 1:28-31. The ’141 inventions improve
                                          14   trick play functions for progressive playback of partially downloaded media files,
                                          15   that can contain one or more video tracks, one or more audio tracks and/or one or
                                          16   more subtitle tracks. ’141 patent, 2:23-39. “Progressive playback” refers to playing
                                          17   remote video content as the player downloads the content, e.g., beginning to play
                                          18   video content before the player has received or downloaded the complete video file.
                                          19   Id. at 1:32-35. “With this feature a user can select a remote movie and commence
                                          20   watching it before it is fully downloaded. Even with a fast Internet connection,
                                          21   waiting for a movie to fully download can range from minutes to hours depending
                                          22   on the size of the media file. With progressive playback a user only has to wait a
                                          23   couple of seconds before playback can begin.” Id. at 1:23-29. “Trick play”
                                          24   functions include performing playback functions “such as rewinding, fast
                                          25   forwarding and skipping between scenes that require non-sequential access of
                                          26   media content.” Id. at 2:10-13. The invention enables trick play functions to occur
                                          27   without requiring the sequential downloading and processing of either an entire
                                          28
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                                           1   media file or parts of media files required to execute a trick play instruction, while
                                           2   minimizing system latency. Id. at 5:39-45.
                                           3         105. The ’141 inventions improve upon existing playback systems to enable
                                           4   streaming for longer video content (such as episode- or feature-length content) and
                                           5   more complex media libraries, and to enable playback systems to provide seeking
                                           6   functionality during progressive playback of multi-track media files without stalls
                                           7   or startup delay.
                                           8         Technical Problems Addressed by the ’141 Inventions
                                           9         106. The ’141 inventions address these problems caused by inferior prior
                                          10   art systems: startup delay, streaming options limited to single track files, audio
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                                          11   files, and/or files without subtitles, and lack of or limited trick play functionality.
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                                          12   The ’141 patent’s new playback methods and systems address multiple technical
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                                          13   problems. Existing digital video playback systems facilitated progressive playback
                                          14   for only short video clips because the systems downloaded video files linearly,
                                          15   from beginning to end. Id. at 1:44-45. Playback would begin only after the player
                                          16   had “buffered enough data to provide a likelihood that the media [would] play
                                          17   without interruption.” Id. at 1:45-47. Because playback would begin only after the
                                          18   player had downloaded sufficient data, longer content would suffer from startup
                                          19   delay: “The buffering requirement can either be a fixed amount suitable for a large
                                          20   percentage of content, or a dynamic amount, where the player infers how much data
                                          21   is required to play the entire content without suffering buffer under-run.” Id. at
                                          22   1:47-51. Thus, existing systems did not support random seeking, trick play (for
                                          23   example, pausing, rewinding, fast forwarding, skipping), or playing back longer
                                          24   content (i.e., feature-length movies), and was not suitable for use with internet
                                          25   servers that “store files that can contain multiple titles, titles that include multiple
                                          26   audio tracks, and/or titles that include one or more subtitle tracks.” Id. at 1:50-55,
                                          27   2:34-39; see also id. at 2:3-10 (“When a long clip is started, it is impossible to seek
                                          28   or fast-forward to a point in the file that has not already been downloaded.”). Multi-
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                                           1   track media, in particular, was not suitable for the existing smooth trick play
                                           2   functionality as the playback device must download the data for the other tracks,
                                           3   even if only certain tracks have been chosen for playback. See 10:46-11:12. Such
                                           4   systems were likely to suffer from buffer under-run when receiving trick play
                                           5   instructions, resulting in playback stalls and startup delays caused by access delays
                                           6   in data transmission and computing burdens placed on the network and device.
                                           7         107. Some existing streaming systems were “server-driven,” as opposed to
                                           8   receiver-driven (e.g., based on instructions from the player). In server-driven
                                           9   systems, “the server parse[d] the data file and determine[d] which data to send” for
                                          10   playback. Id. at 1:66-67. Server-driven systems required custom computing
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                                          11   systems, which increased expense: “[s]tandard HTTP web servers . . . do not
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                                          12   typically provide this functionality, and custom web servers providing this
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                                          13   functionality often scale poorly when called upon to deliver content simultaneously
                                          14   to a large number of players.” Id. These systems required expensive, impractical,
                                          15   inefficient custom server designs unable to simultaneously supply digital video
                                          16   content to a large number of playback devices. Id.
                                          17         108. Accordingly, as demand for streaming digital video content increased,
                                          18   a need existed for a new, improved playback implementation able to facilitate (1)
                                          19   efficient non-linear partial-download playback with trick play functionality, (2)
                                          20   receiver-driven partial-download playback compatible with HTTP, and (3) delivery
                                          21   of video streaming to a large number of devices.
                                          22         Technical Solutions and Benefits Provided by the ’141 Inventions
                                          23         109. The ’141 patent claims specific, technical solutions to the technical
                                          24   challenges presented by existing playback systems, specifically, by enabling the
                                          25   playback device to support playback of multiple audio and subtitle tracks without
                                          26   downloading them all. See, e.g., id. at 2:23-39. The system selects video, audio,
                                          27   and/or subtitle tracks among other tracks in the file and requests specific portions of
                                          28   the selected tracks for download, buffering, and playback based on instructions at
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                                           1   the playback device. The ’141 claims are directed to improvements to the
                                           2   functionality of computers that request, receive, download, buffer, and play back
                                           3   digital video, audio, and subtitle content stored in container files on a remote server.
                                           4   The ’141 claims are directed to improved devices (claim 1 and dependents, and
                                           5   claim 12 and dependents) and methods (claim 20 and dependents).
                                           6         110. Some claims recite a technical solution related to the player’s ability to
                                           7   deliver requests to the server for specific portions of a video file. For example, “[i]n
                                           8   several embodiments, the ability to provide full featured progressive playback is
                                           9   due in part to the tight coupling of the playback engine for the media sequence (i.e.,
                                          10   the system that decodes and plays back the encoded media) with a transport
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                                          11   protocol that provides random access to the remote file. Interfacing of the playback
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                                          12   engine with the transport protocol via a file parser can reduce latency and enable
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                                          13   the client and media server to operate in parallel improving download efficiency
                                          14   and interactivity.” Id. at 2:40-48. Further, the multi-track media “files are formatted
                                          15   to include an index to the data within the file and a transport protocol that allows
                                          16   for downloading specific byte ranges within a file.” Id. at 2:48-52; see also id. at
                                          17   6:20-44 (“When the media file includes an index, a device configured with a client
                                          18   application in accordance with an embodiment of the invention can use the index to
                                          19   determine the location of various portions of the media. Therefore, the index can be
                                          20   used to provide a user with ‘trick play’ functions. . . . [T]he client application
                                          21   requests portions of the media file using a transport protocol that allows for
                                          22   downloading of specific byte ranges within the media file.”).
                                          23         111. The ’141 inventions provide an improved playback implementation
                                          24   that enables a client application at the player to commence playing video content
                                          25   and to request non-sequential portions of the video file without receiving the
                                          26   complete video file. Id. at 5:28-49. The inventions create a client computing
                                          27   application capable of implementing progressive playback and supporting trick play
                                          28   functionality for files containing multiple titles and for titles with multiple media
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                                           1   tracks. Id. at 5:28-49, 2:23-39. This implementation was new and not well-known,
                                           2   routine, or conventional at the time of the ’141 inventions.
                                           3         112. The ’141 patent claims technical—not merely conceptual—solutions
                                           4   to recognized, but unsolved progressive playback shortcomings. The ’141
                                           5   inventions specify a client application with multiple “abstraction layers” to
                                           6   facilitate progressive playback with trick play functionality. Id. at 7:13-34. One
                                           7   exemplary embodiment of the player claimed by the ’141 patent includes a
                                           8   download manager “that is responsible for coordinating the downloading of specific
                                           9   byte ranges of a file from a remote server”; a playback engine “that coordinates the
                                          10   playback of a media file in response to user interactions”; and a file parser that
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                                          11   “interfaces between the playback engine and the download manager” and “maps
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                                          12   high level data requests from the playback engine to specific byte ranges that can
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                                          13   then be requested using the download manager.” Id.
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                                               ’141 patent, Fig. 4.
                                          18
                                                     113. The ’141 inventions improve on existing playback systems by enabling
                                          19
                                               trick play functionality for content that has yet to be downloaded. “Instead of
                                          20
                                               sequentially downloading a media file and waiting until the required information
                                          21
                                               has been downloaded to perform a ‘trick play’ function, client applications in
                                          22
                                               accordance with embodiments of the invention can determine portions of a media
                                          23
                                               file that are required to support a specific ‘trick play’ function and request those
                                          24
                                               portions of the file from the remote server. When a ‘trick play’ function involves
                                          25
                                               skipping to portions of the media that have not been downloaded, such as fast
                                          26
                                               forwarding and skipping between chapters, latency can be significantly reduced
                                          27
                                               compared to sequential download.” Id.
                                          28
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                                           1         114. The claims of the ’141 patent enable trick play function for
                                           2   downloaded content by requiring the playback device to request and buffer
                                           3   sufficient data from the new playback location. The ’141 patent claims recite an
                                           4   index, from which the playback engine can “refer to the index to determine the
                                           5   media information required to play the media file in the manner requested by the
                                           6   user,” including by using a file parser and download manager to extract the
                                           7   necessary information from the index. Id. at 10:46-61. The playback engine can
                                           8   then select portions of the media file “based upon instructions, including ‘trick
                                           9   play’ instructions, received from the user and provide[] instructions to the file
                                          10   parser to download [] the selected” portions. Id. at 10:46-67. “When the playback
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                                          11   engine receives the chunks from the file parser, the chunks are queued and provided
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                                          12   to an appropriate decoder to enable the playing [] of the media. Playback of the
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                                          13   movie can begin once enough of the movie has been downloaded. The buffered
                                          14   length can be determined by the length of the playback list shared with the”
                                          15   download component. Id. at 11:3-12.
                                          16         115. In short, the ’141 inventions provide a playback system able to
                                          17   navigate a remote multi-track digital video file, select specific video, audio, and/or
                                          18   subtitle tracks for download, and request specific portions of the selected tracks to
                                          19   download and play back, enabling random access to other portions of the file for
                                          20   download, buffering, decryption, and playback, based on instructions from the
                                          21   system’s user.
                                          22         116. In sum, the inventions claimed in the ’141 patent improve performance
                                          23   and user interactivity of video streaming over the internet. The claims recite new
                                          24   computing techniques that improve the performance of computing systems (servers
                                          25   and playback devices, connected by networks) streaming video content over the
                                          26   internet and playing back that content. These improvements enhance the user
                                          27   experience for internet video streaming. The inventions also reduce the computing
                                          28   burdens on video streaming servers and economic costs associated with those
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                                           1   burdens. The inventions achieve these benefits with new computing techniques for
                                           2   processing computer files containing multimedia data on a playback device.
                                           3             •    For example, the inventions’ new computing techniques enable
                                           4                  random seeking within an episode- or feature-length video upon
                                           5                  beginning streaming. The new computing techniques enable random
                                           6                  seeking in higher-resolution videos streamed using variable bitrates.
                                           7                  The file structure processed using the new computing techniques
                                           8                  include video data, audio data, and subtitle data. The file structure
                                           9                  also includes an index to the video and audio data that references
                                          10                  byte ranges corresponding to locations within the video data and
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                                          11                  audio data in the file. Playback computing devices can employ the
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                                          12                  inventions’ new computing techniques to use the index data to
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                                          13                  implement seeking and stream selection functionality within an
                                          14                  HTTP streaming environment in a way that allows the playback
                                          15                  device to play back the multimedia content without having to
                                          16                  download all streams in their entirety.
                                          17             •    The inventions’ new index referencing byte ranges enables video
                                          18                  streaming services to reduce computing burdens on their media
                                          19                  streaming servers and reduce associated costs. The cost reductions
                                          20                  enabled by the inventions also allow video streaming services to
                                          21                  scale their services to many different users and playback devices
                                          22                  while mitigating computing burdens.
                                          23             •    The inventions’ new computing techniques also facilitate playback
                                          24                  of episode- and feature-length video without stalls. For example, the
                                          25                  new computing techniques include measuring video data stored in a
                                          26                  buffer on the computing device to determine when to begin playing
                                          27                  back video upon startup or after a seek instruction from the user.
                                          28                  The new computing techniques also include interpreting the new
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                                           1                     index to convert user seek commands to requests to the streaming
                                           2                     server for specific video portions. The inventions’ new computing
                                           3                     techniques enable video streaming services to offer an improved
                                           4                     user experience that mimics the interactivity and quality of a DVD.
                                           5   See, e.g., ’141 patent at 1:32-2:19, 2:23-67, 4:11-19, 4:63-5:7, 5:20-23, 5:28-49,
                                           6   7:4-34, 9:41-59, 9:67-10:4, 10:27-40, 10:46-65, 11:3-12, 11:21-34, FIG. 2, FIG. 3,
                                           7   FIG. 4, FIG. 5, FIG. 9.
                                           8            Prosecution History of the ’141 Inventions
                                           9            117. The claims of the ’141 patent issued at least because they recite a
                                          10   receiver- or player-driven playback implementation compatible with HTTP to
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                                          11   facilitate trick play functionality. The prior art cited in prosecution did not teach
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                                          12   “the recited features/elements” of the invention “as a whole.” ’141 File History21,
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                                          13   Notice of Allowance (April 19, 2019) (emphasis original). Specifically, “none of
                                          14   the applied prior art references . . . or additional candidate prior art references,
                                          15   expressly / sufficiently” disclosed a client or playback device that performed the
                                          16   steps of “obtaining index information indicating the locations of audio and video
                                          17   data within the selected audio and video tracks[,] determining bye ranges to request
                                          18   from the selected audio and video tracks using the index information[,] requesting
                                          19   byte ranges from the selected video track and the selected audio track from the
                                          20   remote server system[,] buffering received byes of information comprising audio
                                          21   and video data[,] checking that sufficient data is buffered to commence playback
                                          22   and playing back the buffered audio and video data[,] responding to a received seek
                                          23   instruction by[,] pausing playback[,] determining byte ranges to request from the
                                          24   selected audio and video tracks based upon a new playback location using the index
                                          25   information[,] and requesting byte ranges required to play the media sequence from
                                          26
                                          27   21
                                                    Cited excerpts of the ’141 file history attached as Exhibit 8.
                                          28
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                                           1   the new playback location from the remote server.” ’141 File History 22, Notice of
                                           2   Allowance (April 19, 2019), at 2-3.
                                           3            118. During prosecution, the patent examiner did not reject any claims of
                                           4   the ’141 patent for lack of subject matter eligibility under 35 U.S.C. § 101.
                                           5            Claims Reciting the Technical Solutions of the ’141 Inventions
                                           6            119. Claim 1 of the ’141 patent recites a playback device for implementing
                                           7   the improved non-sequential playback and trick play implementation for multi-track
                                           8   media files that delivers the technical benefits described in the ’141 patent
                                           9   specification:
                                          10                   1. A playback device, comprising:
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                                          11                   a processor; and
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                                          12                   a non-volatile storage containing an application for
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                                          13                   causing the processor to perform the steps of:
                                          14                   establishing at least one connection for communicating
                                          15                   with a remote server system;
                                          16                   obtaining information from a remote server system
                                          17                   describing at least one video track, multiple audio tracks,
                                          18                   and multiple subtitle tracks;
                                          19                   selecting a video track from the at least one video track;
                                          20                   requesting a header describing the selected video track;
                                          21                   selecting an audio track from the multiple audio tracks;
                                          22                   obtaining index information indicating the locations of
                                          23                   audio and video data within the selected audio and video
                                          24                   tracks;
                                          25                   determining byte ranges to request from the selected
                                          26                   audio and video tracks using the index information;
                                          27
                                          28
                                               22
                                                    Cited excerpts of the ’141 file history attached as Exhibit 8.

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                                           1                requesting byte ranges from the selected video track and
                                           2                the selected audio track from the remote server system;
                                           3                buffering received bytes of information comprising audio
                                           4                and video data;
                                           5                checking that sufficient data is buffered to commence
                                           6                playback and playing back the buffered audio and video
                                           7                data;
                                           8                responding to a received seek instruction by:
                                           9                pausing playback;
                                          10                determining byte ranges to request from the selected
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                                          11                audio and video tracks based upon a new playback
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                                          12                location using the index information;
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                                          13                requesting byte ranges required to play the selected audio
                                          14                and video tracks from the new playback location from the
                                          15                remote server;
                                          16                buffering received bytes of information comprising audio
                                          17                and video data pending resumption of playback; and
                                          18                checking that sufficient data is buffered to commence playback and
                                          19                playing back the buffered audio and video data.
                                          20   ’141 patent, at 11:53-12:24.
                                          21         120. Claim 1 of the ’141 patent therefore recites a playback device
                                          22   implementing a receiver-based playback device supporting playback of multiple
                                          23   audio and subtitle tracks without downloading them all. Id.; see also id. at 1:28-
                                          24   2:19, 2:23-67, 4:11-19, 4:63-5:7, 5:20-23, 5:28-49, 7:4-34, 9:41-59, 9:67-10:4,
                                          25   10:27-40, 10:46-11:12, 11:21-34, FIG. 2, FIG. 3, FIG. 4, FIG. 5, FIG. 9. Claim 1
                                          26   and its dependents, therefore, recite limitations that enable the technical and
                                          27   performance benefits of the invention described above in ¶¶ 109-116. Claim 1
                                          28   recites a novel solution for enabling non-sequential playback with trick play
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                                           1   functionality for multi-track media files using an index to identify the locations of
                                           2   audio and video data within selected media tracks and to determine the byte ranges
                                           3   to request from said tracks from a remote server system, buffering the received
                                           4   bytes of information, and checking that sufficient data is buffered to commence
                                           5   playback of the specifically requested data.
                                           6         121. Claims 2-11 of the ’141 patent depend from claim 1, and each claim
                                           7   further describes how the new, improved playback implementation facilitates
                                           8   efficient, non-sequential partial-download playback with trick play functionality for
                                           9   multi-track media files. The ordered combination of elements in each of claims 2-
                                          10   11, in conjunction with the elements of the claims from which they depend,
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                                          11   therefore recite unconventional new and improved digital playback systems that
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                                          12   were not well-known at the time of the ’141 inventions.
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                                          13         122. Claim 12 of the ’141 patent recites a playback device for implementing
                                          14   the improved playback and trick play implementation for multi-track media files
                                          15   that delivers the technical benefits described in the ’141 patent specification:
                                          16
                                                            12. A playback device, comprising:
                                          17
                                                            a processor; and
                                          18
                                                            a non-volatile storage containing an application for
                                          19
                                                            causing the processor to perform the steps of:
                                          20
                                                            establishing at least one connection for communicating
                                          21
                                                            with a remote server system;
                                          22
                                                            obtaining information from a remote server system
                                          23
                                                            describing at least one video track, and at least one audio
                                          24
                                                            track;
                                          25
                                                            selecting a video track from the at least one video track;
                                          26
                                                            requesting a header describing the selected video track,
                                          27
                                                            where the requested header comprises a DRM header;
                                          28
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                                           1           decrypting the DRM header;
                                           2           selecting an audio track from the at least one audio track;
                                           3           obtaining index information indicating the locations of
                                           4           audio and video data within the selected audio and video
                                           5           tracks;
                                           6           determining byte ranges to request from the selected
                                           7           audio and video tracks using the index information;
                                           8           creating a buffer;
                                           9           requesting byte ranges from the video track and the audio
                                          10           track from the remote server system;
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                                          11           buffering received bytes of information comprising audio
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                                          12           and video data;
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                                          13           checking that sufficient data is buffered to commence
                                          14           playback;
                                          15           decrypting encrypted frames of video using information
                                          16           from the decrypted DRM header;
                                          17           playing back the buffered audio and the decrypted video
                                          18           data;
                                          19           responding to a received seek instruction by:
                                          20           pausing playback;
                                          21           discarding buffered audio and video data;
                                          22           determining byte ranges to request from the selected
                                          23           audio and video tracks based upon a new playback
                                          24           location using the index information;
                                          25           requesting byte ranges required to play the selected audio
                                          26           and video tracks from the new playback location from the
                                          27           remote server;
                                          28           buffering received bytes of information comprising audio
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                                           1                and video data pending resumption of playback;
                                           2                checking that sufficient data is buffered to commence
                                           3                playback;
                                           4                decrypting encrypted frames of video using information
                                           5                from the decrypted DRM header; and
                                           6                playing back the buffered audio and decrypted video data.
                                           7   Id. at 13:5-55.
                                           8         123. Claim 12 of the ’141 patent therefore recites a playback device
                                           9   implementing a receiver-based playback device supporting playback of multiple
                                          10   audio and subtitle tracks without downloading them all. Id.; see also id. at 1:28-
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                                          11   2:19, 2:23-67, 4:11-19, 4:63-5:7, 5:20-23, 5:28-49, 7:4-34, 9:41-59, 9:67-10:4,
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                                          12   10:27-40, 10:46-11:12, 11:21-34, FIG. 2, FIG. 3, FIG. 4, FIG. 5, FIG. 9. Claim 12
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                                          13   and its dependents, therefore, recite limitations that enable the technical and
                                          14   performance benefits of the invention described above in ¶¶ 109-116. Claim 12
                                          15   recites a novel solution for enabling non-sequential progressing playback with trick
                                          16   play functionality for multi-track media files using an index to identify the locations
                                          17   of audio and video data within selected media tracks and to determine the byte
                                          18   ranges to request from said tracks from a remote server system, buffering the
                                          19   received bytes of information, and checking that sufficient data is buffered to
                                          20   commence playback of the specifically requested data, and decrypting the requested
                                          21   data using a decrypted DRM header for playback. Id. at 13:5-55.
                                          22         124. Claims 13-19 of the ’141 patent depend from claim 12, and each claim
                                          23   further describes how the new, improved playback implementation facilitates
                                          24   efficient, non-sequential partial-download decryption and playback, with trick play
                                          25   functionality, for multi-track media files. The ordered combination of elements in
                                          26   each of claims 13-19, in conjunction with the elements of the claims from which
                                          27   they depend, therefore recite unconventional new and improved digital playback
                                          28   systems that were not well-known at the time of the ’141 inventions.
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                                           1         125. Claim 20 of the ’141 patent recites a method for practicing the
                                           2   improved non-sequential playback implementation with trick play functionality for
                                           3   multi-track media files that delivers the technical benefits described in the ’141
                                           4   patent specification:
                                           5
                                                            20. A method of playing back content on a playback
                                           6
                                                            device, comprising:
                                           7
                                                            establishing at least one connection for communicating
                                           8
                                                            with a remote server system using a playback device;
                                           9
                                                            obtaining information from a remote server system using
                                          10
                                                            the playback device, where the obtained information
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                                          11
                                                            describes at least one video track, multiple audio tracks,
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                                          12
                                                            and multiple subtitle tracks;
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                                          13
                                                            selecting a video track from the at least one video track;
                                          14
                                                            requesting a header describing the at least one video track
                                          15
                                                            using the playback device;
                                          16
                                                            selecting an audio track from the multiple audio tracks
                                          17
                                                            using the playback device;
                                          18
                                                            obtaining index information indicating the locations of
                                          19
                                                            audio and video data within the selected audio and video
                                          20
                                                            tracks;
                                          21
                                                            determining byte ranges to request from the selected
                                          22
                                                            audio and video tracks using the index information;
                                          23
                                                            requesting byte ranges from the selected video track and
                                          24
                                                            the selected audio track from the remote server system
                                          25
                                                            using the playback device;
                                          26
                                                            buffering received bytes of information comprising audio
                                          27
                                                            and video data on the playback device;
                                          28
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                                           1                checking that sufficient data is buffered to commence
                                           2                playback and playing back the buffered audio and video
                                           3                data using the playback device;
                                           4                responding to receipt of a seek instruction at the playback
                                           5                device by:
                                           6                pausing playback on the playback device;
                                           7                determining byte ranges to request from the selected
                                           8                audio and video tracks based upon a new playback
                                           9                location using the index information;
                                          10                requesting byte ranges required to play the selected audio
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                                          11                and video tracks from the new playback location from the
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                                          12                remote server using the playback device;
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                                          13                buffering received bytes of information comprising audio
                                          14                and video data pending resumption of playback using the
                                          15                playback device; and
                                          16                checking that sufficient data is buffered to commence
                                          17                playback and playing back the buffered audio and video
                                          18                data using the playback device.
                                          19   Id. at 14:31-15:6.
                                          20         126. Claim 20 of the ’141 patent therefore recites a method for
                                          21   implementing a receiver-based playback device with trick play functionality. Id. ;
                                          22   see also id. at 1:28-2:19, 2:23-67, 4:11-19, 4:63-5:7, 5:20-23, 5:28-49, 7:4-34, 9:41-
                                          23   59, 9:67-10:4, 10:27-40, 10:46-11:12, 11:21-34, FIG. 2, FIG. 3, FIG. 4, FIG. 5,
                                          24   FIG. 9. Claim 20 and its dependents, therefore, recite limitations that enable the
                                          25   technical and performance benefits of the invention described above in ¶¶ 109-116.
                                          26   Claim 20 recites a novel solution for enabling non-sequential playback with trick
                                          27   play functionality for multi-track media files using an index to identify the locations
                                          28   of audio and video data within selected media tracks and to determine the byte
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                                           1   ranges to request from said tracks from a remote server system, buffering the
                                           2   received bytes of information, and checking that sufficient data is buffered to
                                           3   commence playback of the specifically requested data.
                                           4         127. Claims 21-30 of the ’141 patent depend from claim 20, and each claim
                                           5   further describes how the new, improved playback implementation facilitates
                                           6   efficient, non-sequential partial-download decryption and playback, with trick play
                                           7   functionality, for multi-track media files. The ordered combination of elements in
                                           8   each of claims 21-30, in conjunction with the elements of the claims from which
                                           9   they depend, therefore recite unconventional new and improved digital playback
                                          10   systems that were not well-known at the time of the ’141 inventions.
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                                          11   V. The ’061 Patent
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                                          12         128.    The ’061 patent, entitled “Systems and Methods for Automatically
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                                          13   Generating Top Level Index Files,” was duly and legally issued on January 21,
                                          14   2020, from a patent application filed December 3, 2018 with Jason Braness, Evan
                                          15   Wallin, and Ederson Ferreira as the named inventors. The ’061 patent claims
                                          16   priority to U.S. Provisional Application No. 61/529,403, filed on August 30, 2011.
                                          17         Summary of the ’061 Inventions
                                          18         129. The inventions claimed in the ’061 patent select video streams based
                                          19   on device capability and video assets and streamline decryption of protected video
                                          20   streams, which provide optimal video quality while maintaining playback startup
                                          21   speed. The ’061 inventions achieve this by selecting video streams based on
                                          22   playback device capabilities and encrypting video streams using common
                                          23   cryptographic information so that information does not need to be repeatedly
                                          24   downloaded.
                                          25         130. Specifically, the ’061 claims are directed to a new adaptive bitrate
                                          26   streaming process for protected video content using automatically generated top
                                          27   level index files. According to the ’061 invention, “in several embodiments, the
                                          28   process of generating the top level index file involves determining all of the assets
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                                           1   or container files containing streams associated with a specific piece of content and
                                           2   then filtering the assets based upon one or more predetermined criterion.” ’061
                                           3   patent, 7:2-7.
                                           4          131. The ’061 inventions are directed to automatically generating a top
                                           5   level index file that references common cryptographic information and providing
                                           6   the top level index file and the encrypted common cryptographic information to the
                                           7   playback device, thereby reducing startup delay. ’061 patent, 8:51-60, 18:56-60,
                                           8   18:66-19:2. The inventions further include “gather[ing] information concerning the
                                           9   assets associated with a specific piece of content or title” and “apply[ing] one or
                                          10   more filters to the list of available assets to produce a list of assets that satisfies
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                                          11   criteria including (but not limited to) criteria with respect to the capabilities of the
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                                          12   playback device, the preferences of the user, and/or the requirements of the content
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                                          13   owner,” taking advantage of a full range of device capabilities on the market. ’061
                                          14   patent, 13:1-10. “When the assets associated with a piece of content have been
                                          15   retrieved, the playback server can filter the assets to exclude assets that are not
                                          16   capable of being played back by the playback device, not permitted to be played
                                          17   back, or are not desired to be played back.” ’061 patent, 13:18-22. Further, “[t]he
                                          18   playback device can then request portions of container files containing streams of
                                          19   content from one or more servers within a content delivery network 14 and can use
                                          20   the [common] cryptographic information to access protected content.” ’061 patent,
                                          21   8:45-52.
                                          22          132. The inventions claimed in the ’061 patent enable Hulu to securely
                                          23   deliver videos based on optimal device capability and video assets, allowing Hulu
                                          24   to provide a high-quality user experience during streaming of Hulu videos.
                                          25          Technical Problems Addressed by the ’061 Inventions
                                          26          133. The ’061 inventions address problems presented by existing secure
                                          27   video streaming technology, which required more data and slowed down the start of
                                          28   playback. Downloading cryptographic information for protected videos consumes
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                                           1   additional startup bandwidth in adaptive bitrate streaming. At startup, adaptive
                                           2   bitrate streaming requires the playback device to “request[] portions of media from
                                           3   an initial set of streams,” “download[] the requested media,” “measure the available
                                           4   bandwidth,” and “switch to higher or lower bitrate streams.” ’061 patent, 1:51-61.
                                           5   Further, “[s]ome or all of the assets associated with a specific piece of content may
                                           6   be encrypted or technically protected. Digital Rights Management (DRM) systems
                                           7   enable the communication of cryptographic information to playback devices so that
                                           8   the playback device can access protected streams in the clear (i.e. in an unencrypted
                                           9   form).” ’061 patent, 18:34-39. The additional communications needed to request
                                          10   and obtain cryptographic information to protect video content with DRM requires
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                                          11   additional bandwidth at startup.
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                                          12         134. Typical top level index files used during adaptive bitrate streaming
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                                          13   only took into account a limited range of device capabilities (e.g., a limited number
                                          14   of device display resolution capabilities) to avoid burdening the adaptive bitrate
                                          15   streaming system. The video content “is typically stored on a media server as a top
                                          16   level index file pointing to a number of alternate streams that contain the actual
                                          17   video and audio data.” ’061 patent, 2:6-9. The top level index file “describes the
                                          18   location and content of container files containing” the alternative streams and “can
                                          19   be utilized by the playback device to stream and playback content.” ’061 patent,
                                          20   6:61-65. The top level index accounts for device capabilities such as “the playback
                                          21   device’s network bandwidth and video decoding capacity” and allows the streaming
                                          22   system to adjust the quality of the streamed media accordingly. ’061 patent, 1:47-
                                          23   51. As the number of supported devices grows, so does the range of device
                                          24   capabilities, and storing an individual index on the server for every device imposes
                                          25   significant computing burdens and cost on the video streaming server system.
                                          26         135. The ’061 patent, therefore, addresses technical problems: allowing
                                          27   adequate content security while maintaining startup speed and tailoring top level
                                          28   index files to a wider range of device capabilities in an adaptive bitrate streaming
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                                           1   system while reducing the computing burdens on video streaming servers. See, e.g.,
                                           2   ’061 patent, 18:34-39, 12:52-54.
                                           3         Technical Solutions and Benefits Provided by the ’061 Inventions
                                           4         136. The ’061 patent claims specific ways to address these technical
                                           5   challenges by automatically generating top level index files in response to a request
                                           6   for protected video streams from the playback device. The improved top level index
                                           7   files of the ’061 patent maintain startup speed and allow a video streaming system
                                           8   to scale to optimize the user experience for a wide range of device capabilities on
                                           9   the market. Compared to the top level index files in prior systems, the ’061
                                          10   inventions allow the top level index files to take into account more assets or streams
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                                          11   and provide a better user experience, including:
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                                          12            • video streams created for different classes of playback device;
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                                          13            • lower bitrate streams created for devices that will stream content over
                                          14                cellular data networks;
                                          15            • higher bitrate streams created for devices that will stream content over
                                          16                a home network connected to the Internet via a high speed Internet
                                          17                connection;
                                          18            • video streams created with different aspect ratios and different audio
                                          19                streams can be created for different languages;
                                          20            • premium high resolution content that is only accessible to a playback
                                          21                device that has purchased high resolution content; and
                                          22            • streams for different geographic regions.
                                          23   ’061 patent, 12:52-13:10.
                                          24         137. The ’061 claims are directed to a new adaptive bitrate streaming
                                          25   process for protected video content using automatically generated top level index
                                          26   files (claim 1 and dependents) and an improved server computer system configured
                                          27   to perform the new adaptive bitrate streaming process for protected video content
                                          28   using automatically generated top level index files (claim 14 and dependents).
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                                           1         138. The new adaptive bitrate streaming process in the ’061 inventions
                                           2   includes creating a top level index file that references common cryptographic
                                           3   information and providing the top level index file and the encrypted common
                                           4   cryptographic information to the playback device. ’061 patent, 8:51-60, 18:56-60,
                                           5   18:66-19:2. The cryptographic information is encrypted “so that it can be accessed
                                           6   using the playback device’s device cryptographic information.” ’061 patent, 18:66-
                                           7   19:2. “The playback device can then request portions of container files containing
                                           8   streams of content from one or more servers within a content delivery network 14
                                           9   and can use the [common] cryptographic information to access protected content,”
                                          10   thereby reducing startup delay caused by DRM. ’061 patent, 8:45-52.
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                                          11         139. The new adaptive bitrate streaming process in the ’061 inventions also
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                                          12   includes “gather[ing] information concerning the assets associated with a specific
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                                          13   piece of content or title” and “apply[ing] one or more filters to the list of available
                                          14   assets to produce a list of assets that satisfies criteria including (but not limited to)
                                          15   criteria with respect to the capabilities of the playback device, the preferences of the
                                          16   user, and/or the requirements of the content owner.” ’061 patent, 13:1-10. “When
                                          17   the assets associated with a piece of content have been retrieved, the playback
                                          18   server can filter (98) the assets to exclude assets that are not capable of being
                                          19   played back by the playback device, not permitted to be played back, or are not
                                          20   desired to be played back.” ’061 patent, 13:18-22. The new adaptive bitrate
                                          21   streaming process described in the ’061 invention was new and not well-known,
                                          22   routine, or conventional at the time of the ’061 patent.
                                          23         140. The ’061 inventions are directed to improvements to the functionality
                                          24   of computer systems that perform digital video streaming, including:
                                          25             • streaming system architecture, ’061 patent, FIG. 1, 7:38-9:26;
                                          26             • playback devices, id., FIG. 2, 9:27-10:20;
                                          27             • content playback, id., FIG. 3, 10:21-11:23;
                                          28             • automatic generation of top level indexes, id., FIG. 4, 11:24-12:50;
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                                           1            • filtering assets for inclusion in top level index files, id., FIG. 5, 12:51-
                                           2                13:67;
                                           3            • generating a top level index SMIL file, id., FIG. 6, 14:1-18:32;
                                           4            • protected streams, id., FIG. 7, 18:33-19:19;
                                           5            • play event reports, id., FIG. 8, 19:20-20:5; and
                                           6            • communicating during adaptive streaming, id., FIG. 9, 20:6-41.
                                           7         141. The system configured to perform the new adaptive bitrate streaming
                                           8   process in the ’061 inventions also was new and not well-known, routine, or
                                           9   conventional at the time of the ’061 patent.
                                          10         142. The new adaptive bitrate streaming process for protected video content
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                                          11   using automatically generated top level index files as described in the ’061 claims,
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                                          12   and system configured to perform the new process, provide technical benefits that
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                                          13   improve the functionality and capabilities of computer systems performing these
                                          14   operations. See, e.g., id. at 12:51-13:67, FIG. 5 (describing improvement to top
                                          15   level index files that allow a broad range of assets to be considered), 18:33-19:19,
                                          16   FIG. 7 (describing improvement to top level index files that reference common
                                          17   cryptographic information). By incorporating common cryptographic information
                                          18   in the top level index files and providing the index file and the encrypted common
                                          19   cryptographic information to the playback device, the playback device can request
                                          20   portions of container files and use the common cryptographic information to access
                                          21   protected content, thereby reducing startup delay caused by DRM. ’061 patent,
                                          22   8:45-52. By incorporating more assets in the top level index files compared to in
                                          23   prior systems, the streaming system can choose the optimal video stream for a wide
                                          24   variety of playback devices.
                                          25         143. In sum, the inventions claimed in the ’061 patent improve adaptive
                                          26   bitrate streaming. The claims recite new computing techniques that improve the
                                          27   performance of computing systems (servers and playback devices, connected by
                                          28   networks) performing ABS. These improvements enhance the user experience for
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                                           1   ABS. The inventions achieve these benefits by using new computing techniques to
                                           2   generate and deliver a new computer file structure providing an index to ABS video
                                           3   streams. The inventions also achieve these benefits with new computing techniques
                                           4   for generating the new top level index file structure. The new index file structure
                                           5   and new computing techniques allow the playback device to control ABS by
                                           6   selecting video streams depending on the device’s streaming conditions.
                                           7             •    For example, the inventions’ new index file structure includes a
                                           8                  reference to cryptographic information for decrypting encrypted
                                           9                  video streams. Including the reference to cryptographic information
                                          10                  in the new index file structure reduces the communications and
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                                          11                  computations needed for the playback device to obtain the
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                                          12                  cryptographic information and decrypt encrypted video streams.
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                                          13                  This structure improves upon prior systems that required the
                                          14                  playback device to perform additional network communications and
                                          15                  data processing steps to obtain information needed to decrypt
                                          16                  encrypted video. The inventions’ new file structure reduce the time
                                          17                  necessary for decryption and the computing resources needed at the
                                          18                  playback device compared to prior approaches. The video streams
                                          19                  provided in the new index file also share common cryptographic
                                          20                  information. Sharing common cryptographic information further
                                          21                  reduces the computing resources needed at the playback device.
                                          22                  These improvements enable playback devices to begin playing back
                                          23                  video faster compared to prior approaches.
                                          24             •    The inventions’ new index file structure includes video streams and
                                          25                  cryptographic information optimized for the specific playback
                                          26                  device requesting the index. This structure improves device ABS
                                          27                  performance by reducing the number of streams in the index the
                                          28                  device has to process, which reduces the computing resources
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                                           1             needed at the playback device. Reducing the computing resources
                                           2             needed at the playback device expands the range of devices that the
                                           3             streaming service can support, speeds up startup when beginning
                                           4             streaming, and reduces the likelihood of video stalls during ABS.
                                           5             The device-optimized index file also enables a video streaming
                                           6             service to provide higher-resolution content for each device and
                                           7             reduce stalls and errors during playback. The device-optimized
                                           8             index file also allows a video streaming service to exercise control
                                           9             over the video streams available to each device and user and to
                                          10             improve security of those video streams compared to prior
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                                          11             approaches.
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                                          12        •    The inventions also provide new computing techniques for
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                                          13             generating the new index file structure. For example, the inventions
                                          14             generate the new index file structure by interpreting data received
                                          15             from the playback device about the device’s characteristics. The
                                          16             inventions automatically generate the index file during real-time
                                          17             communication with the device. The inventions filter available
                                          18             video streams based on characteristics sent by the specific device.
                                          19             The inventions generate the new index file from the locations of
                                          20             those streams stored on the video streaming service’s servers. The
                                          21             inventions also incorporate a reference to cryptographic information
                                          22             into the new file structure to facilitate efficient decryption and
                                          23             playback.
                                          24        •    The inventions’ new computing techniques, including automatically
                                          25             generating the new index file during communication with a
                                          26             playback device, eliminates the need for a video streaming service
                                          27             to generate and store a specific index file for all potential
                                          28             combinations of video content, stream bitrates, resolution, aspect
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                                           1                     ratio, user preferences, content permissions and restrictions,
                                           2                     encoding formats, buffer sizes, device security levels, and other
                                           3                     device- and user-specific criteria. Automatically generating the new
                                           4                     index file during communication with a playback device thus
                                           5                     enables a video streaming service to reduce computing costs of
                                           6                     generating and storing index files on video streaming servers. These
                                           7                     benefits increase as a video streaming service supports more users
                                           8                     and more devices.
                                           9   See, e.g., ’061 patent at 1:39-61, 2:6-9, 2:33-50, 2:56-61, 3:34-58, 4:24-34, 4:45-50,
                                          10   5:27-36, 6:29-39, 6:49-54, 6:61-7:20, 7:48-67, 8:13-20, 8:45-60, 9:52-58, 10:30-41,
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                                          11   10:45-49, 11:24-38, 11:47-12:50, 12:51-13:10, 13:18-67, 20:6-36, FIG. 3, FIG. 4,
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                                          12   FIG. 5, FIG. 9.
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                                          13         Prosecution History of the ’061 Inventions
                                          14         144. During prosecution, the patent examiner did not reject any claims of
                                          15   the ’061 patent for lack of subject matter eligibility under 35 U.S.C. § 101.
                                          16         Claims Reciting the Technical Solutions of the ’061 Inventions
                                          17         145. The ’061 claims recite methods and systems setting forth how to
                                          18   improve the functionality of computer systems that perform adaptive bitrate
                                          19   streaming of protected video content using automatically generated top level index
                                          20   files. Claim 1 of the ’061 patent recites how to perform adaptive bitrate streaming
                                          21   of protected video content using automatically generated top level index files:
                                          22
                                                            1. A method for streaming a piece of content using a set
                                          23
                                                            of server computer systems, comprising:
                                          24
                                                            obtaining common cryptographic information associated
                                          25
                                                            with a piece of content using an encrypting system;
                                          26
                                                            encoding multiple streams of video content associated
                                          27
                                                            with a piece of content using an encoding system;
                                          28
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                                           1           encrypting the encoded multiple streams of video content
                                           2           into multiple streams of protected video content using the
                                           3           common cryptographic information using the encrypting
                                           4           system;
                                           5           storing the multiple streams of protected video content in
                                           6           memory at a server system;
                                           7           storing the common cryptographic information at a digital
                                           8           rights management system;
                                           9           receiving a request for a top level index file from a
                                          10           playback device at the server system, where the request
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                                          11           identifies the piece of content and includes information
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                                          12           describing the playback device;
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                                          13           automatically filtering the multiple streams of protected
                                          14           video content into a plurality of alternative streams of
                                          15           protected video content based upon the received
                                          16           information describing the playback device using the
                                          17           server system;
                                          18           automatically generating a top level index file in response
                                          19           to the request for a top level index file from the playback
                                          20           device using the server system, where the top level index
                                          21           file (i) identifies the location of each of the plurality of
                                          22           alternative streams of protected video content, where each
                                          23           of the plurality of alternative streams of protected video
                                          24           content encodes the piece of content at a different bitrate,
                                          25           (ii) describes at least a bitrate of each of a plurality of
                                          26           alternative streams of protected video content associated
                                          27           with the identified piece of content, and (iii) includes a
                                          28           reference to the common cryptographic information for
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                                           1                accessing the protected video content;
                                           2                sending the top level index file to the playback device
                                           3                from the server system;
                                           4                receiving at the server system a request for at least a
                                           5                portion of an initial stream of protected video content,
                                           6                selected from the plurality of alternative streams of
                                           7                protected video content, from the playback device;
                                           8                sending the requested at least a portion of the initial
                                           9                stream of protected video content to the playback device
                                          10                from the server system;
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                                          11                receiving at the digital rights management system a
            A TTORNEYS A T L AW




                                          12                request from the playback device for common
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                                          13                cryptographic information to access the initial stream of
                                          14                protected video content;
                                          15                encrypt the common cryptographic information using the
                                          16                digital rights management system; and
                                          17                sending the encrypted common cryptographic information
                                          18                to the playback device from the digital rights management
                                          19                system.
                                          20   ’061 patent, 20:55-21:44.
                                          21         146. The claim limitations of claim 1 achieve the benefits of maintaining
                                          22   startup speed and enabling a video streaming system to scale to optimize the user
                                          23   experience for a wide range of device capabilities on the market. In particular, the
                                          24   limitations of claim 1 include creating a top level index file that references common
                                          25   cryptographic information and providing the top level index file and the encrypted
                                          26   common cryptographic information to the playback device. ’061 patent, 8:45-60,
                                          27   18:56-60, 18:66-19:2. Further, the limitations of claim 1 include filtering the assets
                                          28   to exclude assets that are not desired to be played back. ’061 patent, 13:1-10; 13:18-
                                                                                        - 70 -
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                                           1   22. See also ’061 patent, 1:39-61, 2:6-9, 2:33-50, 2:56-61, 3:34-58, 4:24-34, 4:45-
                                           2   50, 5:27-36, 6:29-39, 6:49-54, 6:61-7:20; FIG. 1, 7:38-9:26; FIG. 2, 9:27-10:20;
                                           3   FIG. 3, 10:21-11:23; FIG. 4, 11:24-12:50; FIG. 5, 12:51-13:67; FIG. 6, 14:1-18:32;
                                           4   FIG. 7, 18:33-19:19; FIG. 8, 19:20-20:5; FIG. 9, 20:6-41. Claim 1 and its
                                           5   dependents, therefore, recite limitations that enable the technical and performance
                                           6   benefits of the invention described above in ¶¶ 136-143. Claim 1 recites a novel
                                           7   solution of adaptive bitrate streaming of protected video content using
                                           8   automatically generated top level index files in a manner that was new and not
                                           9   well-known, routine, or conventional at the time of the ’061 patent.
                                          10          147. Claims 2-13 of the ’061 patent depend from claim 1, and each of
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                                          11   claims 2-13 further describe how to perform the invention’s improved method for
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                                          12   adaptive bitrate streaming of protected video content using automatically generated
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                                          13   top level index files that maintains startup speed and takes advantage of the full
                                          14   range of device capabilities on the market. The ordered combination of elements in
                                          15   each of claims 2-13, in conjunction with the elements of the claims from which they
                                          16   depend, therefore recite unconventional new and improved computer processes and
                                          17   top level index file structures that were not well-known at the time of the ’061
                                          18   inventions.
                                          19          148. Claim 14 of the ’061 patent recites a set of server computer systems
                                          20   configured to perform the invention’s improved method for adaptive bitrate
                                          21   streaming of protected video content using automatically generated top level index
                                          22   files, reciting:
                                          23
                                                             14. A set of server computer systems, comprising:
                                          24
                                                             an encrypting system configured to obtain common
                                          25
                                                             cryptographic information associated with a piece of
                                          26
                                                             content;
                                          27
                                                             an encoding system configured to encode multiple
                                          28
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                                           1           streams of video content associated with a piece of
                                           2           content;
                                           3           wherein the encrypting system is further configured to
                                           4           encrypt the encoded multiple streams of video content
                                           5           into multiple streams of protected video content using the
                                           6           common cryptographic information;
                                           7           a server system configured to store the multiple streams
                                           8           of protected video content in memory; and
                                           9           a digital rights management system configured to store
                                          10           the common cryptographic information;
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                                          11           wherein the server system is further configured to:
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                                          12           receive a request for a top level index file from a playback
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                                          13           device, where the request identifies the piece of content
                                          14           and includes information describing the playback device;
                                          15           automatically filter the multiple streams of protected
                                          16           video content into a plurality of alternative streams of
                                          17           protected video content based upon the received
                                          18           information describing the playback device;
                                          19           automatically generate a top level index file in response to
                                          20           the request for a top level index file from the playback
                                          21           device, where the top level index file (i) identifies the
                                          22           location of each of the plurality of alternative streams of
                                          23           protected video content, where each of the plurality of
                                          24           alternative streams of protected video content encodes the
                                          25           piece of content at a different bitrate, (ii) describes at least
                                          26           a bitrate of each of a plurality of alternative streams of
                                          27           protected video content associated with the identified
                                          28           piece of content, and (iii) includes a reference to the
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                                           1                common cryptographic information for accessing the
                                           2                protected video content;
                                           3                send the top level index file to the playback device;
                                           4                receive a request for at least a portion of an initial stream
                                           5                of protected video content, selected from the plurality of
                                           6                alternative streams of protected video content, from the
                                           7                playback device; and
                                           8                send the requested at least a portion of the initial stream
                                           9                of protected video content to the playback device; and
                                          10                wherein the digital rights management system is further
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                                          11                configured to:
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                                          12                receive a request from the playback device for common
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                                          13                cryptographic information to access the initial stream of
                                          14                protected video content;
                                          15                encrypt the common cryptographic information; and
                                          16                send the encrypted common cryptographic information to
                                          17                the playback device.
                                          18   Id. at 22:30-23:15.
                                          19         149. The claim limitations of claim 14 achieve the benefits of maintaining
                                          20   startup speed and enabling a video streaming system to scale to optimize the user
                                          21   experience for a wide range of device capabilities on the market. In particular, the
                                          22   limitations of claim 14 include configuring a set of server computer systems to
                                          23   create a top level index file that references common cryptographic information and
                                          24   provides the top level index file and the encrypted common cryptographic
                                          25   information to the playback device. ’061 patent, 8:45-60, 18:56-60, 18:66-19:2.
                                          26   Further, the limitations of claim 14 include configuring a set of server computer
                                          27   systems to filter the assets to exclude assets that are not desired to be played back.
                                          28   ’061 patent, 13:1-10; 13:18-22. See also ’061 patent, 1:39-61, 2:6-9, 2:33-50, 2:56-
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                                           1   61, 3:34-58, 4:24-34, 4:45-50, 5:27-36, 6:29-39, 6:49-54, 6:61-7:20; FIG. 1, 7:38-
                                           2   9:26; FIG. 2, 9:27-10:20; FIG. 3, 10:21-11:23; FIG. 4, 11:24-12:50; FIG. 5, 12:51-
                                           3   13:67; FIG. 6, 14:1-18:32; FIG. 7, 18:33-19:19; FIG. 8, 19:20-20:5; FIG. 9, 20:6-
                                           4   41. Claim 14 and its dependents, therefore, recite limitations that enable the
                                           5   technical and performance benefits of the invention described above in ¶¶ 136-143.
                                           6   Claim 14 recites a novel set of server computer systems for adaptive bitrate
                                           7   streaming of protected video content using automatically generated top level index
                                           8   files in a manner that was new and not well-known, routine, or conventional at the
                                           9   time of the ’061 patent.
                                          10         150. Claims 15-26 of the ’061 patent depend from claim 14, and each of
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                                          11   claims 15-26 further describe how to perform the invention’s improved set of server
            A TTORNEYS A T L AW




                                          12   computer systems for adaptive bitrate streaming of protected video content using
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                                          13   automatically generated top level index files that maintains startup speed and takes
                                          14   advantage of the full range of device capabilities on the market. The ordered
                                          15   combination of elements in each of claims 15-26, in conjunction with the elements
                                          16   of the claims from which they depend, therefore recite unconventional new and
                                          17   improved computer systems and top level index file structures that were not well-
                                          18   known at the time of the ’061 inventions.
                                          19   VI.   The ’987 Patent
                                          20         151. The ’987 patent, entitled “Systems and Methods for Encoding
                                          21   Alternative Streams of Video for Use in Adaptive Bitrate Streaming,” duly and
                                          22   legally issued on June 18, 2019, with Auke Sjoerd van der Schaar as the named
                                          23   inventor. The ’987 patent claims priority to Provisional Application No.
                                          24   61/430,502, filed on January 6, 2011.
                                          25         Summary of the ’987 Inventions
                                          26         152. The inventions claimed in the ’987 patent provides higher-quality
                                          27   video and fewer video stalls for a more seamless user experience during adaptive
                                          28   bitrate streaming. The ’987 invention achieves this benefit by selecting the video
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                                           1   stream based on the network data rate and the data stored in the buffer on the
                                           2   playback device.
                                           3           153. Specifically, the ’987 inventions are directed to playing back
                                           4   alternative video streams encoded with different maximum bitrates, where the
                                           5   maximum bitrate of a video stream represents the rate that “ensures no underflow
                                           6   will occur given a certain buffer size.” ’987 patent, 1:53-55. The video streams are
                                           7   selected based on “the amount of time media is buffered prior to commencing
                                           8   playback so that underflow does not occur during playback.” ’987 patent, 4:36-39.
                                           9   “When the amount of media in the buffer has a playback duration equal to the upper
                                          10   bound seek delay, the playback device can then freely switch to the optimal stream
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                                          11   for the channel conditions from that point onward.” ’987 patent, 5:35-38. For
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                                          12   example, the ’987 inventions disclose a playback device that “measures (104) the
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                                          13   channel data rate and determines (106) whether there has been a change in channel
                                          14   rate. If there has been a change, the playback device chooses (102) the stream that
                                          15   is optimally encoded for the new channel rate.” ’987 patent, 10:52-56; FIG. 4. An
                                          16   exemplary process is outlined in FIG. 4 of the patent below, illustrating buffering
                                          17   media based on a seek delay and adapting the stream selection based on a channel
                                          18   rate:
                                          19
                                          20
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                                          17
                                          18
                                          19
                                          20   ’987 patent, FIG. 4.
                                          21
                                                     154. These improvements provide a playback device “sufficient time to
                                          22
                                               respond to a reduction in channel data rate so that the playback device can
                                          23
                                               automatically switch to the optimal stream for the new channel conditions.” ’987
                                          24
                                               patent, 4:36-39. The inventions claimed in the ’987 patent enable Hulu to deliver
                                          25
                                               optimal video streams based on channel conditions and data stored in the buffer,
                                          26
                                               allowing Hulu to provide a high-quality user experience during streaming of Hulu
                                          27
                                               videos.
                                          28
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                                           1         Technical Problems Addressed by the ’987 Inventions
                                           2         155. The ’987 inventions address the problem of videos either stalling
                                           3   during streaming or playing back at low resolutions. Typically, “the playback
                                           4   device stores a sufficient quantity of media in a buffer at any given time during
                                           5   playback to prevent disruption of playback due to the playback device completing
                                           6   playback of all the buffered media prior to receipt of the next portion of media.”
                                           7   ’987 patent, 1:31-35. Video streams are usually selected based on “the present
                                           8   streaming conditions (e.g. the user’s network bandwidth) in real time,” not the
                                           9   buffer stored on the playback device. ’987 patent, 1:36-39. Thus, disruption of
                                          10   playback occurs when the “playback device receives streaming media at a lower
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                                          11   speed than the speed at which the media is played back,” also known as underflow.
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                                          12   ’987 patent, 1:46-49.
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                                          13         156. Higher video quality requires streaming more video data, and
                                          14   streaming more video data increases the likelihood of stalls. Streaming higher
                                          15   quality video also slows down startup time because it requires transferring more
                                          16   data over the network to the device before playback can begin. The ’987 patent
                                          17   addresses this technical problem, allowing a playback device “to stream the highest
                                          18   bitrate stream available given the streaming conditions experienced by the playback
                                          19   device without stalls in the playback of media due to underflow.” See, e.g., ’987
                                          20   patent, 1:43-46.
                                          21         Technical Solutions and Benefits Provided by the ’987 Inventions
                                          22         157. The ’987 patent claims specific ways to solve these technical problems
                                          23   by measuring network data rates and taking into account the amount of video data
                                          24   stored in a buffer on the playback device. The ’987 claims are directed to a new
                                          25   adaptive bitrate streaming process to select optimally encoded video streams based
                                          26   on the network data rate and the buffer delay (claim 10 and dependents) and the
                                          27   improved playback device configured to perform the new adaptive bitrate streaming
                                          28
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                                           1   process to select optimally encoded video streams based on the network data rate
                                           2   and the buffer delay (claim 1 and dependents).
                                           3         158. The new adaptive bitrate streaming process in the ’987 inventions
                                           4   includes several phases. At startup, the playback device selects a video stream
                                           5   based on the video stream’s specified maximum bitrate and the streaming network’s
                                           6   data rate. ’987 patent, 15:7-11, 16:6-9. Based on the video stream selection, the
                                           7   playback device requests, stores, and plays back a portion of the stream while
                                           8   measuring the network data rate. ’987 patent, 17:10-17. When the network data rate
                                           9   increases, the playback device then requests a portion of a video stream with a
                                          10   higher specified maximum bitrate. ’987 patent, 17:19-26. When the network data
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                                          11   rate drops, “the playback device can determine an appropriate lower bitrate stream
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                                          12   based upon the amount of data that can be downloaded from the lower bitrate
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                                          13   stream during the time it will take for the client application to playback the content
                                          14   stored within the buffer [] and the available data rate.” ’987 patent, 8:1-8, 17:32-50.
                                          15   This way, “[b]uffer underflow will not occur following the stream switch provided
                                          16   a sufficient amount of data is downloaded.” ’987 patent, 8:6-8.
                                          17         159. Compared to the adaptive bitrate streaming process in prior systems,
                                          18   the ’987 inventions allow the systems to stream the highest bitrate stream available
                                          19   without stalls by:
                                          20         • during startup, commencing playback at a lower bitrate, ’987 patent,
                                          21             10:47-52;
                                          22         • before the buffer reaches a certain threshold, choosing the video stream
                                          23             that is optimally encoded for the network data rate, ’987 patent, 9:27-29,
                                          24             10:44-47; and
                                          25         • when the buffer reaches a certain threshold, selecting the optimal stream
                                          26             based on network data rate and buffer delay, ’987 patent, 8:1-8.
                                          27   See generally, ’987 patent, 9:61-11:3. The new adaptive bitrate streaming process
                                          28   described in the ’987 invention was new and not well-known, routine, or
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                                           1   conventional at the time of the ’987 patent.
                                           2         160. The ’987 inventions are also directed to improvements to the
                                           3   functionality of a playback device that performs adaptive bitrate streaming,
                                           4   including:
                                           5         • streaming system architecture, ’987 patent, FIG. 1A, FIG. 4, 5:43-6:3,
                                           6            9:61-11:3;
                                           7         • source encoders, ’987 patent, FIG. 1B, 6:4-7:28; and
                                           8         • playback devices, ’987 patent, FIG. 1A, FIG. 1C, 7:29-8:34.
                                           9   The system configured to perform the new adaptive bitrate streaming process in the
                                          10   ’987 inventions was new and not well-known, routine, or conventional at the time
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                                          11   of the ’987 patent.
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                                          12         161. The new adaptive bitrate streaming process to select optimally
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                                          13   encoded video streams based on the network data rate and the buffer stored on the
                                          14   playback device as described in the ’987 inventions, and system configured to
                                          15   perform the new process, provide technical benefits that improve the functionality
                                          16   and capabilities of a playback device performing these operations. See, e.g., ’987
                                          17   patent at FIG. 1A, FIG. 4, 5:43-6:3, 9:61-11:3 (describing improvement to adaptive
                                          18   bitrate streaming architecture), 7:29-8:34, FIG. 1A, FIG. 1C (describing
                                          19   improvement to playback device that performs adaptive bitrate streaming). By
                                          20   measuring the network data rate and deciding that the buffer is sufficient to prevent
                                          21   buffer underflow, “[b]uffer underflow will not occur following the stream switch
                                          22   provided a sufficient amount of data is downloaded.” ’987 patent, 8:6-8; 15:31-46;
                                          23   17:27-43.
                                          24         162. In sum, the inventions claimed in the ’987 patent improve adaptive
                                          25   bitrate streaming. The claims recite new computing techniques that improve the
                                          26   performance of computing systems (servers and playback devices, connected by
                                          27   networks) performing ABS. These improvements make the ABS user experience
                                          28   better. For example, the inventions consistently deliver higher-resolution video than
                                                                                       - 79 -
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                                           1   prior technical approaches to ABS. The inventions also reduce stalls during ABS
                                           2   compared to prior technical approaches. The inventions also improve startup times
                                           3   compared to prior technical approaches. The inventions enable flexibility for
                                           4   streaming service providers to decide how to prioritize among improving startup
                                           5   times, smooth stream switching, and avoiding stalls, while improving all three. The
                                           6   inventions achieve these benefits with new computing techniques for determining
                                           7   when to switch among video streams having different maximum bitrates. For
                                           8   example, these techniques include comparing measured network data rates and
                                           9   amount of buffered video content to alternative streams’ maximum bitrates to select
                                          10   the highest-resolution video available while avoiding stalls during playback, even if
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                                          11   network data rates drop. See, e.g., ’987 patent at 4:22-29, 4:33-55, 4:56-5:3, 5:28-
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                                          12   42, 6:33-49, 8:1-27, 8:36-45, 9:26-46, 9:47-60, 10:21-39, 11:4-20, 11:63-12:19,
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                                          13   12:47-13:20, 13:29-14:17, FIG. 4, FIG. 5.
                                          14         Prosecution History of the ’987 Inventions
                                          15         163. During prosecution, the patent examiner did not reject any claims of
                                          16   the ’987 patent for lack of subject matter eligibility under 35 U.S.C. § 101.
                                          17         Claims Reciting the Technical Solutions of the ’987 Inventions
                                          18         164. The ’987 claims recite methods and systems setting forth how to
                                          19   improve the functionality and performance of a playback device that performs
                                          20   adaptive bitrate streaming based on the network data rate and the buffer stored on
                                          21   the playback device. Claim 1 of the ’987 patent recites a playback device
                                          22   configured to perform the invention’s improved method for adaptive bitrate
                                          23   streaming based on the network data rate and the buffer stored on the playback
                                          24   device to stream the highest bitrate stream available without stalls, reciting:
                                          25
                                                            1. A playback device for playing content from a plurality
                                          26
                                                            of alternative streams, the playback device comprising:
                                          27
                                                            a set of one or more processors; and
                                          28
                                                                                        - 80 -
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                                           1           a non-volatile storage containing an application for
                                           2           causing the set of one or more processors to perform steps
                                           3           of:
                                           4           obtaining a top level index file identifying a plurality of
                                           5           alternative video streams and specifying a maximum
                                           6           bitrate for each of the plurality of alternative video
                                           7           streams, where the plurality of alternative video streams
                                           8           comprises a first and a second alternative video stream
                                           9           and the specified maximum bitrate of the second
                                          10           alternative video stream is higher than the specified
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                                          11           maximum bitrate of the first alternative video stream;
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                                          12           during an initial startup period:
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                                          13           obtaining at least one network data rate measurement;
                                          14           selecting the first alternative video stream based upon a
                                          15           comparison between the specified maximum bitrates for
                                          16           each of the plurality of streams and the at least one
                                          17           network data rate measurement;
                                          18           requesting at least one chunk of the first alternative video
                                          19           stream;
                                          20           storing the at least one chunk of the first alternative video
                                          21           stream in a buffer of the playback device; and
                                          22           playing back at least one chunk of the first alternative
                                          23           stream stored in the buffer;
                                          24           obtaining at least one additional network data rate
                                          25           measurement;
                                          26           determining that the network data rate is greater than the
                                          27           specified maximum bitrate for the second alternative
                                          28           video stream based upon the at least one additional
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                                           1           network data rate measurement;
                                           2           when the network data rate is determined to be greater
                                           3           than the specified maximum bitrate for the second
                                           4           alternative video stream, requesting at least one chunk of
                                           5           the second alternative video stream;
                                           6           when a minimum buffer level criterion is satisfied based
                                           7           upon a playback duration of chunks of video content
                                           8           stored in the buffer of the playback device:
                                           9           obtaining at least one further network data rate
                                          10           measurement;
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                                          11           selecting a stream from the plurality of alternative video
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                                          12           streams based upon a playback duration of chunks of
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                                          13           video content stored in the buffer of the playback device
                                          14           by selecting a stream from the plurality of alternative
                                          15           video streams such that the playback duration of chunks
                                          16           of video content stored in the buffer of the playback
                                          17           device is sufficient to prevent buffer underflow during
                                          18           downloading and playback of at least one chunk of the
                                          19           selected video stream based upon the at least one further
                                          20           network data rate measurement;
                                          21           requesting at least one chunk of the selected stream from
                                          22           the plurality of alternative video streams;
                                          23           storing the at least one chunk of the selected stream from
                                          24           the plurality of alternative video streams in the buffer of
                                          25           the playback device; and
                                          26           playing back the at least one chunk of the selected stream
                                          27           from the plurality of alternative video streams stored in
                                          28           the buffer.
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                                           1   Id. at 14:56-15:54.
                                           2         165. The claim limitations of claim 1 describe how to achieve the benefits
                                           3   of streaming the highest bitrate stream available without stalls. In particular, the
                                           4   limitations of claim 1 include a playback device configured to, during startup,
                                           5   commence playback at a lower bitrate; before the buffer reaches a certain threshold,
                                           6   choose the video stream that is optimally encoded for the network data rate; and
                                           7   when the buffer reaches a certain threshold, select the optimal stream based on
                                           8   network data rate and buffer delay. ’987 patent, FIG. 1A, FIG. 4, FIG. 5, 4:22-29,
                                           9   4:33-55, 4:56-5:3, 5:28-42, 5:43-6:3, 6:33-49, 8:1-27, 8:36-45, 9:26-46, 9:47-60,
                                          10   9:61-11:3; 11:4-20, 11:63-12:19, 12:47-13:20, 13:29-14:17; FIG. 1B, 6:4-7:28;
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                                          11   FIG. 1A, FIG. 1C, 7:29-8:34; 8:6-8; 15:31-46; 17:27-43. Claim 1 and its
            A TTORNEYS A T L AW




                                          12   dependents, therefore, recite limitations that enable the technical and performance
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                                          13   benefits of the invention described above in ¶¶ 157-162. Claim 1 recites a novel
                                          14   playback device for adaptive bitrate streaming based on the network data rate and
                                          15   the buffer stored on the playback device in a manner that was new and not well-
                                          16   known, routine, or conventional at the time of the ’987 patent.
                                          17         166. Claims 2-9 of the ’987 patent depend from claim 1, and each of claims
                                          18   2-9 further describe the invention’s improved playback device for adaptive bitrate
                                          19   streaming based on the network data rate and the data stored in the buffer on the
                                          20   playback device. The ordered combination of elements in each of claims 2-9, in
                                          21   conjunction with the elements of the claims from which they depend, therefore
                                          22   recite unconventional new and improved playback devices that were not well-
                                          23   known at the time of the ’987 inventions.
                                          24         167. Claim 10 of the ’987 patent recites how to perform the invention’s
                                          25   improved method of adaptive bitrate streaming based on the network data rate and
                                          26   the buffer stored on the playback device:
                                          27
                                                            10. A method of playing back media content from a
                                          28
                                                                                        - 83 -
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                                           1           plurality of alternative streams on a playback device,
                                           2           comprising:
                                           3           obtaining a top level index file identifying a plurality of
                                           4           alternative video streams, and specifying a maximum
                                           5           bitrate for each of the plurality of alternative video
                                           6           streams, where the plurality of alternative video streams
                                           7           comprises a first and a second alternative video stream
                                           8           and the specified maximum bitrate of the second
                                           9           alternative video stream is higher than the specified
                                          10           maximum bitrate of the first alternative video stream;
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                                          11           during an initial startup period:
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                                          12           obtaining at least one network data rate measurement;
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                                          13           selecting the first alternative video stream based upon a
                                          14           comparison between the specified maximum bitrates for
                                          15           each of the plurality of streams and the at least one
                                          16           network data rate measurement;
                                          17           requesting at least one chunk of the first alternative video
                                          18           stream;
                                          19           storing the at least one chunk of the first alternative video
                                          20           stream in a buffer of the playback device;
                                          21           playing back at least one chunk of the first alternative
                                          22           stream stored in the buffer:
                                          23           obtaining at least one additional network data rate
                                          24           measurement;
                                          25           determining that the network data rate is greater than the
                                          26           specified maximum bitrate for the second alternative
                                          27           video stream based upon the at least one additional
                                          28           network data rate measurement; and
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                                           1               when the network data rate is determined to be greater
                                           2               than the specified maximum bitrate for the second
                                           3               alternative video stream, requesting at least one chunk of
                                           4               the second alternative video stream; and
                                           5               when a minimum buffer level criterion is satisfied based
                                           6               upon a playback duration of chunks of video content
                                           7               stored in the buffer of the playback device:
                                           8               obtaining at least one further network data rate
                                           9               measurement;
                                          10               selecting a stream from the plurality of alternative video
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                                          11               streams based upon a playback duration of chunks of
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                                          12               video content stored in the buffer of the playback device
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                                          13               by selecting a stream from the plurality of alternative
                                          14               video streams such that the playback duration of chunks
                                          15               of video content stored in the buffer of the playback
                                          16               device is sufficient to prevent buffer underflow during
                                          17               downloading and playback of at least one chunk of the
                                          18               selected video stream based upon the at least one further
                                          19               network data rate measurement;
                                          20               requesting at least one chunk of the selected stream from
                                          21               the plurality of alternative video streams;
                                          22               storing the at least one chunk of the selected stream from
                                          23               the plurality of alternative video streams in the buffer of
                                          24               the playback device; and
                                          25               playing back the at least one chunk of the selected stream
                                          26               from the plurality of alternative video streams stored in
                                          27               the buffer.
                                          28   ’987 patent, 16:60-17:50.
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                                           1         168. The claim limitations of claim 10 explain how to achieve the benefits
                                           2   of streaming the highest bitrate stream available without stalls. In particular, the
                                           3   limitations of claim 10 include during startup, commencing playback at a lower
                                           4   bitrate; before the buffer reaches a certain threshold, choosing the video stream that
                                           5   is optimally encoded for the network data rate; and when the buffer reaches a
                                           6   certain threshold, selecting the optimal stream based on network data rate and
                                           7   buffer delay. ’987 patent, FIG. 1A, FIG. 4, FIG. 5, 4:22-29, 4:33-55, 4:56-5:3, 5:28-
                                           8   42, 5:43-6:3, 6:33-49, 8:1-27, 8:36-45, 9:26-46, 9:47-60, 9:61-11:3; 11:4-20, 11:63-
                                           9   12:19, 12:47-13:20, 13:29-14:17; FIG. 1B, 6:4-7:28; FIG. 1A, FIG. 1C, 7:29-8:34;
                                          10   8:6-8; 15:31-46; 17:27-43. Claim 10 and its dependents, therefore, recite limitations
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                                          11   that enable the technical and performance benefits of the invention described above
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                                          12   in ¶¶ 157-162. Claim 10 recites a novel solution of adaptive bitrate streaming based
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                                          13   on the network data rate and data stored in the buffer on the playback device in a
                                          14   manner that was new and not well-known, routine, or conventional at the time of
                                          15   the ’987 patent.
                                          16         169. Claims 11-18 of the ’987 patent depend from claim 10, and each of
                                          17   claims 11-18 further describe how to perform the invention’s improved method for
                                          18   adaptive bitrate streaming based on the network data rate and the buffer stored on
                                          19   the playback device to stream the highest bitrate stream available without stalls.
                                          20   The ordered combination of elements in each of claims 11-18, in conjunction with
                                          21   the elements of the claims from which they depend, therefore recite unconventional
                                          22   new and improved computer processes that were not well-known at the time of the
                                          23   ’987 inventions.
                                          24                            HULU’S INTERNAL TESTING
                                          25         170. Upon information and belief, Hulu tests its software application and
                                          26   video streaming service on CE devices to confirm that the application and service
                                          27   work properly before releasing them to users.
                                          28
                                                                                        - 86 -
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                                           1           171. Upon information and belief, device testing is important to Hulu’s
                                           2   success. Device testing allows Hulu to ensure that its application and service
                                           3   operate seamlessly on Hulu-compatible devices—a large ecosystem. Hulu’s testing
                                           4   further ensures that iterative versions, updates, and subsequent releases of the
                                           5   application and service remain compatible and operable with consumer devices.
                                           6           172. Upon information and belief, Hulu employs engineers to test Hulu’s
                                           7   software and video streaming services in the United States. For example, Hulu
                                           8   advertises its Quality Assurance Engineer position to include responsibilities such
                                           9   as “design[ing] test plans and creat[ing] test cases for exciting new features being
                                          10   introduced.”23
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                                          11           173. Upon information and belief, Hulu directly infringes the DivX Patents
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                                          12   during Hulu’s internal testing of its application and video streaming service on
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                                          13   consumer devices.
                                          14           174. Upon information and belief, Hulu’s internal testing enables Hulu to
                                          15   deliver its application and service in the United States and worldwide.
                                          16           175. Protecting content has become more important for studios in today’s
                                          17   high-resolution world.24 Upon information and belief, Hulu tests the DRM
                                          18   technologies that it employs to protect the security of the video content that it
                                          19   licenses from third parties, including studios, and that it produces itself. Upon
                                          20   information and belief, Hulu’s internal testing of the DRM technologies it employs,
                                          21   therefore, enables Hulu to obtain video content from third parties and to invest in its
                                          22   own production of original content, which leads to increased adoption of Hulu’s
                                          23   service by paying members in the United States and worldwide.
                                          24
                                          25
                                               23
                                                 https://lensa.com/quality-assurance-engineer-android-
                                          26
                                               jobs/seattle/jd/43262aac704de51d7a888b3fe0e43468.
                                          27   24
                                                    https://www.streamingmedia.com/Articles/ReadArticle.aspx?ArticleID=127701.
                                          28
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                                           1                          HULU’S USE OF DRM SERVERS
                                           2          176. By provisioning and operating its own DRM servers, Hulu directly
                                           3   infringes the asserted claims reciting a DRM server or a method performed by a
                                           4   DRM server.25 Hulu’s operates DRM servers, for example, based on Microsoft’s
                                           5   PlayReady DRM architecture. 26
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                                           7
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                                           9          177. Streaming service providers such as Hulu “use the PlayReady Server
                                          10   Software Development Kit (SDK) to build Servers with service-specific business
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                                          11   logic.” 27
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                                          23   25
                                                 See, e.g., ’061 patent, claim 1, reciting “storing the common cryptographic
                                          24   information at a digital rights management system.”
                                               26
                                          25      See, e.g.,
                                               http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=96144
                                          26   &PageNum=1.
                                          27
                                               27
                                                  https://docs.microsoft.com/en-us/playready/overview/ecosystem.

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                                           9            178. Upon information and belief, Hulu has developed and deployed its

                                          10   DRM servers according to the PlayReady SDK provided by Microsoft.28
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                                                        179. Thus, as demonstrated by publicly available information regarding
                                          25
                                               Microsoft’s PlayReady DRM architecture, Hulu directly infringes the asserted
                                          26
                                          27   28
                                                    https://docs.microsoft.com/en-us/playready/overview/license-server.
                                          28
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                                           1   claims reciting a DRM server by designing, deploying, and using a DRM server to
                                           2   support Hulu’s streaming services.
                                           3        HULU’S USE OF CONTENT PACKAGING OR MANIFEST SERVERS
                                           4            180. By provisioning and operating its own content packaging and manifest
                                           5   servers, Hulu directly infringes the asserted claims reciting a content packaging or
                                           6   manifest server.29 Hulu’s content packaging or manifest server, for example, is
                                           7   based on Amazon’s Virtual Private Cloud (“VPC”). 30
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                                                        181. Hulu has “complete control over [its] virtual networking environment”
                                          16
                                               and can “easily customize the network configuration” using the Amazon VPC. 31
                                          17
                                          18
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                                          24   29
                                                 See, e.g., ’061 patent, claim 1, reciting “storing the multiple streams of protected
                                               video content in memory at a server system” and “automatically generating a top
                                          25
                                               level index file in response to the request for a top level index file from the
                                          26   playback device using the server system.”
                                          27
                                               30
                                                    https://aws.amazon.com/solutions/case-studies/hulu/.
                                          28
                                               31
                                                    https://aws.amazon.com/vpc/.

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                                                     182. Hulu “built a [Hulu] live pipeline from scratch and used AWS to
                                           9
                                               support Hulu backend.” 32
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                                          20         183. Hulu’s live streaming service architecture shares a “substantial part” of
                                          21   its architecture with its video-on-demand (VOD) service. 33
                                          22
                                          23
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                                               32
                                                 https://www.slideshare.net/AmazonWebServices/case-study-how-hulu-
                                          26   reinvented-television-using-the-aws-cloud-ctd302-reinvent-2017 (slide 13).
                                          27   33
                                                 https://medium.com/hulu-tech-blog/introducing-the-hulu-technical-landscape-
                                          28   93f4c136c568.
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                                          11
                                                     184. Thus, as demonstrated by publicly available information regarding
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                                               Amazon’s AWS and VPC, Hulu directly infringes the asserted claims reciting a
                                          13
                                               content packaging or manifest server by designing, deploying, and using a
                                          14
                                               packaging or manifest server to support Hulu’s streaming services.
                                          15
                                                                    HULU’S INDIRECT INFRINGEMENT
                                          16
                                                     185. Hulu has indirectly infringed and continues to indirectly infringe at
                                          17
                                               least the ’318 patent, the ’141 patent, the ’061 patent, and the ’987 patents
                                          18
                                               (collectively, the “Indirectly Infringed DivX Patents”) by inducing third parties to
                                          19
                                               directly infringe those patents.
                                          20
                                                     186. Hulu has induced, and continues to induce, direct infringement of the
                                          21
                                               Indirectly Infringed DivX Patents by customers, importers, sellers, resellers, and/or
                                          22
                                               end users of infringing playback devices enabled with the Hulu application and
                                          23
                                               service.
                                          24
                                               I. Hulu’s Knowledge of the DivX Patents
                                          25
                                                     187. At the very latest, Hulu had actual knowledge of the DivX Patents and
                                          26
                                               of its infringement as of the February 22, 2021 complaint initiating this case.
                                          27
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                                           1            188. Hulu also had actual knowledge of the DivX Patents and of its
                                           2   infringement as of March 5, 2019, the date of DivX’s complaint in DivX, LLC v.
                                           3   Hulu, LLC, 2:19-cv-01606-PSG-DFM (C.D. Cal.).
                                           4            189. Hulu also had actual knowledge of the DivX Patents and of its
                                           5   infringement as of May 2019, when DivX sat down with Hulu to engage in good
                                           6   faith negotiations for Hulu to take a license to DivX’s patents.
                                           7   II. Hulu’s Knowledge of Third-Party Actions Infringing DivX’s Patents
                                           8            190. Hulu is a known market leader and one of the dominant players in
                                           9   internet digital video streaming.
                                          10            191. Hulu possesses the technical expertise required to understand the scope
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                                          11   of the inventions claimed in the DivX Patents.
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                                          12            192. Hulu knows that it provides and markets an application, through its
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                                          13   website,34 the Apple App Store, 35 and the Google Play Store,36 for use on playback
                                          14   devices that causes the playback devices and their users, importers, sellers,
                                          15   resellers, and customers to directly infringe Indirectly Infringed DivX Patents,
                                          16   when used as intended with Hulu’s internet video streaming service. Indeed, as
                                          17   discussed, Hulu broadcasts that, “[a]s a Hulu subscriber, you’ll be able to stream
                                          18   your favorite content from the comfort of your very own couch to the confines of
                                          19   public transportation using any one of our supported devices.”37
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                                          25   34
                                                    https://www.hulu.com/press/hulu-app-now-available-for-windows-10/.
                                          26   35
                                                    https://itunes.apple.com/us/app/hulu-watch-tv-shows-movies/id376510438.
                                          27
                                               36
                                                    https://play.google.com/store/apps/details?id=com.hulu.plus&hl=en_US.
                                          28
                                               37
                                                    https://help.hulu.com/en-us/supported-devices.

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                                          15           193. Hulu actively encourages the installation and use of its application and

                                          16   service on consumer devices. Hulu has successfully pursued agreements with

                                          17   telecommunication network providers such as Sprint and AT&T to make Hulu’s

                                          18   service available through consumer devices. 38 Hulu provides directions to

                                          19   consumers on how to download and install its application and service on different

                                          20   consumer devices.39

                                          21           194. Hulu knows that its application is enabled in infringing playback

                                          22   devices used by over 25 million subscribers. 40

                                          23   38
                                                 https://www.sprint.com/en/support/solutions/services/hulu.html;
                                          24   https://about.att.com/story/att_to_offer_hulu_subscription_streaming_service_to_cu
                                          25   stomers.html.
                                               39
                                                    https://help.hulu.com/s/all-devices?language=en_US.
                                          26
                                               40
                                                 https://www.pcmag.com/article/348989/netflix-vs-hulu-streaming-service-
                                          27   showdown.
                                          28
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                                           1           195. Hulu knows that third parties—including playback device users,
                                           2   importers, sellers, resellers, and customers—make, use, offer to sell, sell, and/or
                                           3   import into the United States playback devices and other products that incorporate
                                           4   and enable the Hulu application. Indeed, Hulu encourages use of its application on
                                           5   “your favorite devices.” 41
                                           6           196. Hulu knows that a number of devices come with the app “pre-
                                           7   installed.” 42 Hulu announces when it rolls out user interfaces for CE devices. For
                                           8   example, it announced when it “roll[ed] out the updated UI [user interface] and
                                           9   access to Hulu with Live TV to even more devices across platforms including LG,
                                          10   Samsung and Roku.” 43 And it announced when it rolled out its application for
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                                          11   PlayStation3 & PlayStation4.44
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                                          12           197. Upon information and belief, Hulu has designed its application such
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                                          13   that, when third party CE playback devices incorporate and/or enable the Hulu
                                          14   application and such third party devices with the Hulu application are used as
                                          15   intended, the third-party products with the application directly infringe one or more
                                          16   claims of the Indirectly Infringed DivX Patents when made, used, offered for sale,
                                          17   or sold in the United States, or when imported into the United States, as set forth in
                                          18   exemplary detail in the Counts herein.
                                          19           198. At least as of the February 22, 2021 complaint, and based on its
                                          20   knowledge of the scope of the DivX Patents, its application, and products enabling
                                          21   that application, Hulu knows that third party sellers, resellers, importers, customer
                                          22   end-users, and other third parties have directly infringed and continue to directly
                                          23
                                          24   41
                                                    https://www.hulu.com/welcome.
                                          25   42
                                                 https://help.hulu.com/en-us/download-hulu (“The Hulu app may come pre-
                                          26   installed . . . .”).
                                          27
                                               43
                                                    https://www.hulu.com/press/hulu-update/lg-samsung-roku/.
                                          28
                                               44
                                                    https://www.hulu.com/press/hulu-update/playstation-new-hulu/.

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                                           1   infringe at least one claim of each of the Indirectly Infringed DivX Patents, as set
                                           2   forth in exemplary detail in the Counts herein.
                                           3   III.     Hulu’s Specific Intent to Cause Third-Party Actions Infringing DivX’s
                                           4            Patents
                                           5            199. Upon information and belief, Hulu has designed, marketed, and sold
                                           6   its application and service to third parties with knowledge and the specific intent to
                                           7   cause the third parties to make, use, offer to sell, or sell in the United States, and/or
                                           8   import into the United States products incorporating and enabling the Hulu
                                           9   application and service.
                                          10            200. Upon information and belief, Hulu actively encourages its customers
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                                          11   and end users to directly infringe the Indirectly Infringed DivX Patents by
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                                          12   encouraging them to use the Hulu application as intended on various playback
                          L OS A NGELES




                                          13   devices.
                                          14            201. Hulu specifically encourages its customers to download its application
                                          15   onto a number of CE devices and provides detailed instructions for its users to
                                          16   download the app to particular CE devices. 45
                                          17            202. Hulu offers “mobile onboarding” image instructions, shown here. 46
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                                                    https://help.hulu.com/en-us/download-hulu.
                                          28
                                               46
                                                    https://www.hulu.com/press/products-assets/.

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                                                       203. Upon information and belief, at least as of the February 22, 2021
                                          10
                                               complaint, Hulu intends and continues to intend to induce patent infringement by
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                                          11
                                               these third parties, has actual knowledge that the inducing acts would cause
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                                               infringement, or is willfully blind to the possibility that its inducing acts would
                                          13
                                               cause infringement.
                                          14
                                                       204. Upon information and belief, Hulu indirectly infringes one or more
                                          15
                                               claims of the Indirectly Infringed DivX Patents by inducing numerous third-parties
                                          16
                                               to make, have made, use, sell, offer to sell, and/or import into the United States
                                          17
                                               playback devices with the Hulu application installed and/or enabled.
                                          18
                                                        COUNT I: INFRINGEMENT OF U.S. PATENT NO. 10,257,443
                                          19
                                                       205. The allegations of ¶¶ 1-204 of this FAC are incorporated by reference
                                          20
                                               as though fully set forth herein.
                                          21
                                                       206. Hulu directly infringes at least claim 7 of the ’443 patent under 35
                                          22
                                               U.S.C. § 271(a), as set forth in ¶¶ 207-220.
                                          23
                                                       207. Hulu uses “[a] system for encoding multimedia files.” Hulu provides a
                                          24
                                               streaming library of more than 80,000 TV episodes and movies.47 ’443 patent,
                                          25
                                               claim 7. Hulu uses an encoder for its streaming service. “Regardless of the origin of
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                                                    https://www.hulu.com/welcome.

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                                           1   the content, Hulu maintains control of its streaming digital video players and
                                           2   content pipelines, and encodes all video content and advertisements prior to
                                           3   distribution within Hulu’s proprietary video players on Web and within Hulu
                                           4   applications.”48
                                           5            208. Hulu’s system for encoding multimedia files comprises “a network
                                           6   interface.” ’443 patent, claim 7. For example, Hulu’s network interface facilitates
                                           7   receiving video content from content providers and distributing encoded video
                                           8   content.49 On information and belief, Hulu obtains video content via a network
                                           9   interface (i.e., on information and belief, Hulu does not receive video content via
                                          10   physical media).
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                                          11            209. Hulu’s system for encoding multimedia files comprises “at least one
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                                          12   processing unit.” ’443 patent, claim 7. Any computing system that encodes
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                                          13   multimedia files includes at least one processing unit.
                                          14            210. Hulu’s system for encoding multimedia files comprises “a non-
                                          15   transitory memory storing an encoding application, wherein the encoding
                                          16   application causes the at least one processing unit to encode multimedia files.” ’443
                                          17   patent, claim 7. Hulu encodes video files for its streaming service and, on
                                          18   information and belief, stores an encoding application in non-transitory memory, to
                                          19   preserve the application.
                                          20            211. Hulu encodes multimedia files by “obtaining source media using the
                                          21   network interface, wherein the source media comprises video.” ’443 patent, claim
                                          22   7. Hulu’s system for encoding multimedia files obtains source media—video
                                          23   content—using its network interface. 50
                                          24
                                          25   48
                                                    https://advertising.hulu.com/dom/ (copyright 2018 Hulu, LLC).
                                          26
                                               49
                                                 Id.; https://www.slideshare.net/AmazonWebServices/case-study-how-hulu-
                                               reinvented-television-using-the-aws-cloud-ctd302-reinvent-2017, at slide 14.
                                          27   50
                                                    https://advertising.hulu.com/dom/ (copyright 2018 Hulu, LLC);
                                          28
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                                           1           212. Hulu encodes multimedia files by “encoding at least one video track as
                                           2   a plurality of video chunks, the video chunks being portions of the at least one
                                           3   video track, the video track comprising a series of encoded video frames.” ’443
                                           4   patent, claim 7. Hulu encodes and packages video files, for example, mp4, fmp4, or
                                           5   other container files, containing at least one video track. Hulu encodes video tracks
                                           6   as a plurality of video chunks, using container structures consistent with the ISO
                                           7   BMFF Standard and ISO DASH Standard.51 Hulu video tracks contain movie
                                           8   fragments, comprising a movie fragment, or ‘moof,’ box preceding a media data, or
                                           9   ‘mdat,’ box. 52 An ‘mdat’ box contains “actual media data”—video content or
                                          10   frames. 53 A ‘moof’ box contains data related to the video content—frames or
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                                          11   “samples”—stored in its corresponding ‘mdat’ box.54 Thus, the ‘mdat’ boxes, or
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                                          12   video chunks, are portions of the video track, and the video track comprises a series
                          L OS A NGELES




                                          13   of encoded video frames.
                                          14           213. Hulu encodes multimedia files by “partially encrypting at least some
                                          15   of the encoded frames of video so that only portions of the encoded frames of video
                                          16   are encrypted.” ’443 patent, claim 7. Hulu encodes and encrypts video files using
                                          17
                                          18   https://medium.com/hulu-tech-blog/the-anatomy-of-a-live-ott-service-
                                          19   c8f6078b24d3 (depicting Hulu’s Live TV service architecture, which shares a
                                               “substantial part” of its architecture with Hulu’s video-on-demand (VOD) service,
                                          20   see https://medium.com/hulu-tech-blog/introducing-the-hulu-technical-landscape-
                                          21   93f4c136c568).
                                               51
                                                 http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=961
                                          22
                                               44&PageNum=1.
                                          23   52
                                                 ISO/IEC 23009-1 Information technology – Dynamic adaptive streaming over
                                          24   HTTP (DASH) – Part 1: Media presentation description and segment formats, at
                                               85, 87 (2d ed. 2014) (“ISO/IEC 23009-1” or “ISO DASH Standard”).
                                          25
                                               53
                                                 ISO/IEC 14496-12 Information technology — Coding of audio-visual objects —
                                          26   Part 12: ISO base media file format, at 4, 20 (5th ed. 2015) (“ISO/IEC 14496-12”
                                          27   or “ISO BMFF Standard”).
                                          28
                                               54
                                                    ISO/IEC 14496-12 at 56.

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                                            1   Microsoft PIFF Specification and ISO Common Encryption Specification
                                            2   extensions to the ISO BMFF container file format. The Portable encoding of audio-
                                            3   video objects: The Protected Interoperable File Format (PIFF), Ver. 1.1 (2010)
                                            4   (the “Microsoft PIFF Specification”) defines a standard multimedia file format (i.e.,
                                            5   PIFF) and builds on the ISO BMFF Standard. Hulu encodes and encrypts video
                                            6   files containing PIFF sample encryption boxes. The ISO/IEC 23001-7 Information
                                            7   technology – MPEG systems technologies – Part 7: Common encryption in ISO
                                            8   base media file format files (3d ed. 2016) (“ISO Common Encryption
                                            9   Specification” or “ISO/IEC 23001-7”) also builds on the ISO BMFF Standard,
                                           10   including standard encryption schemes that support multiple DRM systems. Hulu
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                                           11   encodes and encrypts video files containing a track encryption box, consistent with
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                                           12   the ISO Common Encryption Specification. The ISO Common Encryption
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                                           13   Specification defines the ‘cenc’ encryption scheme, 55 and Hulu encodes and
                                           14   encrypts video files using that encryption scheme. Those video files are protected
                                           15   using subsample encryption. 56
                                           16           214. Hulu encodes multimedia files by “encoding the DRM information as
                                           17   a set of DRM chunks.” ’443 patent, claim 7. The ISO Common Encryption
                                           18   Specification teaches that an encrypted video file includes a key ID (“KID”),
                                           19   initialization vectors (“IVs”), and information specifying encrypted portions of the
                                           20   video frames to be decrypted (i.e., NumClearBytes and NumEncryptedBytes). The
                                           21   KID attribute value identifies a key to decrypt the video file’s encrypted frames. 57
                                           22   The KID is stored in the track encryption box. The ISO Common Encryption
                                           23   Specification also teaches that each encrypted sample includes an associated IV,
                                           24
                                           25   55
                                                     ISO/IEC 23001-7 at 3.
                                           26   56
                                                     ISO/IEC 23001-7 at 19.
                                           27   57
                                                     ISO/IEC 23001-7 at 10, 24.
                                           28
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                                            1   i.e., a per-sample IV. 58 The Microsoft PIFF Specification also teaches that frame
                                            2   decryption information includes a KID and a per-sample IV. 59 Hulu encodes /
                                            3   packages the DRM information—such as a flag identifying the relevant KID, the
                                            4   per-sample IVs, and information specifying encrypted portions of the video frames
                                            5   to be decrypted (i.e., NumClearBytes and NumEncryptedBytes)—as a set of DRM
                                            6   chunks, such as PIFF sample encryption boxes. PIFF sample encryption boxes—
                                            7   located within each track fragment, or ‘traf,’ box within each ‘moof,’ box—identify
                                            8   which parts of a sample are encrypted and which are unencrypted. 60 The ISO
                                            9   Common Encryption Specification also defines sample encryption boxes and
                                           10   related auxiliary data. A sample encryption box is located within each track
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                                           11   fragment, or ‘traf,’ box within each ‘moof,’ box. Thus, Hulu encodes video files by
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                                           12   encoding DRM information—such as a flag identifying the relevant KID, the
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                                           13   sample-specific IVs, and information specifying encrypted portions of the video
                                           14   frames to be decrypted (i.e., NumClearBytes and NumEncryptedBytes)—as a set of
                                           15   DRM chunks, such as PIFF sample encryption boxes.
                                           16            215. Hulu encodes multimedia files by “encoding the DRM information as
                                           17   a set of DRM chunks, wherein each DRM chunk of the set of DRM chunks
                                           18   comprises DRM information to decrypt at least one partially encrypted frame of
                                           19   video in at least one video chunk of the plurality of video chunks.” ’443 patent,
                                           20   claim 7. In Hulu encoded and encrypted video files, each DRM chunk in the set of
                                           21   DRM chunks—including, for example, each PIFF sample encryption box—
                                           22   contains DRM information to decrypt at least one partially encrypted frame of
                                           23   video in at least one video chunk of the plurality of video chunks. Each PIFF
                                           24   sample encryption box contains sample-specific encryption data. The box indicates
                                           25
                                           26   58
                                                     ISO/IEC 23001-7 at 5, 10, 17.
                                           27
                                                59
                                                     Microsoft PIFF Specification at 17, 19, 22.
                                           28
                                                60
                                                     Microsoft PIFF Specification at 23.

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                                            1   the KID, the IV, and the clear (non-encrypted) and protected (encrypted) byte
                                            2   ranges of partially encrypted video samples. The KID attribute value identifies a
                                            3   key to decrypt the video file’s encrypted frames. The IV specifies the IV needed for
                                            4   decryption of a particular sample. Each ‘mdat’ box—or video chunk—is preceded
                                            5   by a ‘moof’ box containing at least one PIFF sample encryption box that contains
                                            6   KID-related information, IV information, and NumClearBytes /
                                            7   NumEncryptedBytes information for the video data in the corresponding ‘mdat’
                                            8   box. The non-zero value of NumClearBytes of the first sample indicates a partially
                                            9   encrypted first sample in the corresponding ‘mdat’ box. The value of
                                           10   “NumClearBytes” for at least one subsample entry in each sample encryption box is
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                                           11   non-zero, indicating that each DRM chunk comprises DRM information to decrypt
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                                           12   at least one partially encrypted frame of video.
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                                           13         216. Hulu encodes multimedia files by “encoding the DRM information as
                                           14   a set of DRM chunks, wherein the DRM information comprises an offset value that
                                           15   points to the start of an encrypted block within an encoded frame and a number
                                           16   value that indicates the number of encrypted bytes in the encrypted block.” ’443
                                           17   patent, claim 7. The “NumClearBytes,” for example, provides an offset value that
                                           18   points to the start of an encrypted block within an encoded frame, and the
                                           19   “NumEncryptedBytes” provides a number value that indicates the number of
                                           20   encrypted bytes in each encrypted sample.
                                           21         217. Hulu encodes multimedia files by “interleaving the video chunks and
                                           22   DRM chunks so that a DRM chunk for decrypting at least one partially encrypted
                                           23   frame within a particular video chunk is located before the particular video
                                           24   chunk.” ’443 patent, claim 7. The mp4 file format, in which each ‘moof’ box
                                           25   precedes its corresponding ‘mdat’ box throughout the file, illustrates that Hulu
                                           26   interleaves the video chunks and DRM chunks. The DRM chunks (e.g.,
                                           27
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                                            1   PIFFSampleEncryptionBox) reside inside the ‘traf’ box located within the ‘moof’
                                            2   box, preceding each ‘mdat’ box (video chunk).61
                                            3           218. Hulu encodes multimedia files by “encoding at least one index chunk
                                            4   that includes information concerning the locations of video chunks.” ’443 patent,
                                            5   claim 7. Hulu encodes a segment index (‘sidx’) box. The ‘sidx’ is an index chunk
                                            6   that includes information concerning the locations of movie fragments (i.e., ‘moof’
                                            7   box + ‘mdat’ box pairs), including video chunks, within the video file. The ‘sidx’
                                            8   box “provides a compact index of one media stream within the media segment to
                                            9   which it applies” that “documents how a []segment is divided into one or more
                                           10   subsegments.” A “segment” is a “portion of an ISO base media file format file,
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                                           11   consisting of either (a) a movie box, with its associated media data (if any) and
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                                           12   other associated boxes or (b) one or more movie fragment boxes [‘moof’ boxes],
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                                           13   with their associated media data [‘mdat’ boxes], and other associated boxes.” A
                                           14   “subsegment” is “a time interval of the containing []segment . . . correspond[ing] to
                                           15   a single range of bytes of the containing []segment.” In short, the ‘sidx’ box
                                           16   references byte ranges within a video segment—‘moof’ box + ‘mdat’ box pairs—
                                           17   within a video file. 62 The ‘sidx’ box contains reference elements providing size
                                           18   information for subsegments / byte ranges—i.e., each ‘moof’ box + ‘mdat’ box
                                           19   pair—within the file. The ‘sidx’ includes size information that allows the device to
                                           20   identify the location of each ‘moof’ box + ‘mdat’ box pair and the beginning of
                                           21   each ‘mdat’ box, i.e., the first encoded video frame in each ‘mdat’ box. Thus, the
                                           22   ‘sidx’ includes information concerning the locations of video chunks.
                                           23
                                           24
                                           25
                                                61
                                                   See, e.g., Microsoft PIFF Specification at 9; Guidelines for Implementation:
                                                DASH-IF Interoperability Points, DASH Industry Forum, Ver. 3.0, at 104-05 (Apr.
                                           26   7, 2015) (describing “common encryption in combination with ISO BMFF” and the
                                           27   ISO Common Encryption Specification).
                                           28
                                                62
                                                     ISO/IEC 14496-12 at 5, 105-06, 228.

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                                            1           219. Hulu encodes multimedia files by “writing the interleaved chunks to at
                                            2   least one multimedia file,” for example, mp4, fmp4, or other container files. ’443
                                            3   patent, claim 7.
                                            4           220. Hulu encodes multimedia files by “transmitting at least a portion of the
                                            5   at least one multimedia file using the network interface.” ’443 patent, claim 7.
                                            6   When a user requests playback of a Hulu-encoded video file, Hulu receives a
                                            7   request for a particular portion of that video file and transmits that portion using its
                                            8   network interface.
                                            9           221. Hulu has infringed, and continues to infringe, at least claim 7 of the
                                           10   ’443 patent in the United States by making, using, offering for sale, selling, and/or
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                                           11   importing the Hulu application and service in violation of 35 U.S.C. § 271(a).
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                                           12           222. DivX provided Hulu actual notice of the ’443 patent on February 22,
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                                           13   2021, when it filed its complaint initiating this case.
                                           14           223. Hulu’s infringement has caused and continues to cause damage to
                                           15   DivX, and DivX is entitled to recover damages sustained as a result of Hulu’s
                                           16   wrongful acts on and after February 22, 2021, in an amount subject to proof at trial.
                                           17            COUNT II: INFRINGEMENT OF U.S. PATENT NO. 9,794,318
                                           18           224. The allegations of ¶¶ 1-223 of this FAC are incorporated by reference
                                           19   as though fully set forth herein.
                                           20           225. Hulu directly infringes at least claim 1 of the ’318 patent under 35
                                           21   U.S.C. § 271(a), as set forth below in ¶¶ 226-231.
                                           22           226. Hulu performs “[a] method for obtaining media from a media file for
                                           23   playback on a playback device from a remote server, the media formatted to
                                           24   represent media as chunks.” ’318 patent, claim 1. Hulu provides a streaming library
                                           25   of more than 80,000 TV episodes and movies.63 The Hulu application obtains video
                                           26
                                           27   63
                                                     https://www.hulu.com/welcome.
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                                            1   content from Hulu-encoded video files from a remote server, for playback on a
                                            2   playback device.64 Hulu video files represent media as chunks. Hulu encodes and
                                            3   packages video files, for example, mp4, fmp4, or other container files, using
                                            4   container structures defined in and consistent with the ISO BMFF Standard and
                                            5   ISO DASH Standard.65 Hulu video files contain movie fragments, comprising a
                                            6   movie fragment, or ‘moof,’ box preceding a media data, or ‘mdat,’ box. 66 An
                                            7   ‘mdat’ box contains “actual media data”—in video files, video content or
                                            8   “frames.” 67 A ‘moof’ box contains data related to the video content—frames or
                                            9   “samples”—stored in its corresponding ‘mdat’ box.68 Thus, the Hulu application
                                           10   obtains video content from a video file that represents media as chunks: ‘mdat’
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                                           11   boxes store video frames or “samples” and constitute “chunks,” or a “contiguous set
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                                           12   of samples for one track.”69
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                                           13            227. Hulu “download[s] an index from a remote media file, using a
                                           14   playback engine implemented on the playback device, wherein the index is used to
                                           15   convert a chunk reference into a specific HTTP request for use in
                                           16
                                           17   64
                                                  https://advertising.hulu.com/dom/ (copyright 2018 Hulu, LLC);
                                           18   https://help.hulu.com/s/article/watching-hulu-on-site?language=en_US.

                                           19   65
                                                  http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=961
                                                44&PageNum=1.
                                           20
                                           21
                                                66
                                                  ISO/IEC 23009-1 Information technology – Dynamic adaptive streaming over
                                                HTTP (DASH) – Part 1: Media presentation description and segment formats, at
                                           22   85, 87 (2d ed. 2014) (“ISO/IEC 23009-1” or “ISO DASH Standard”).
                                           23   67
                                                  ISO/IEC 14496-12 Information technology — Coding of audio-visual objects —
                                           24   Part 12: ISO base media file format, at 4, 20 (5th ed. 2015) (“ISO/IEC 14496-12”
                                                or “ISO BMFF Standard”).
                                           25
                                           26
                                                68
                                                     ISO/IEC 14496-12 at 56.

                                           27   69
                                                     ISO/IEC 14496-12 at 3-5, 32 (defining “chunk,” “track,” and “sample”).
                                           28
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                                            1   downloading.” ’318 patent, claim 1. The Hulu application is a playback engine
                                            2   implemented on a playback device. The Hulu application plays back video content
                                            3   based on a user’s instructions.70 The Hulu application downloads an index from a
                                            4   remote video file: the segment index, or ‘sidx,’ box. The ‘sidx’ box “provides a
                                            5   compact index of one media stream within the media segment to which it applies”
                                            6   that “documents how a []segment is divided into one or more subsegments.” A
                                            7   “segment” is a “portion of an ISO base media file format file, consisting of either
                                            8   (a) a movie box, with its associated media data (if any) and other associated boxes
                                            9   or (b) one or more movie fragment boxes [‘moof’ boxes], with their associated
                                           10   media data [‘mdat’ boxes], and other associated boxes.” A “subsegment” is “a time
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                                           11   interval of the containing []segment . . . correspond[ing] to a single range of bytes
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                                           12   of the containing []segment.” 71 In short, the ‘sidx’ box references byte ranges for a
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                                           13   video segment—‘moof’ box + ‘mdat’ box pairs—within a video file. The ‘sidx’
                                           14   box contains reference elements that provide size information for subsegments /
                                           15   byte ranges. The ‘sidx’ includes size information that allows the device to identify
                                           16   the location of each ‘moof’ box + ‘mdat’ box pair and the beginning of each ‘mdat’
                                           17   box. Thus, the ‘sidx’ box reference elements are chunk references. The Hulu
                                           18   application implemented on a playback device requests and receives the ‘sidx’ box
                                           19   to play back video from Hulu’s servers and uses the ‘sidx’ box to convert a chunk
                                           20   reference into a specific HTTP request (byte range request) for use in downloading.
                                           21           228. Hulu “request[s] chunks for downloading based upon a received
                                           22   instruction and maintain[s] a queue of the requested chunks, using the playback
                                           23   engine implemented on the playback device, wherein the requested chunks are
                                           24   downloaded by identifying media chunks corresponding to a sequence of key
                                           25   frames identified for the received instruction.” ’318 patent, claim 1. The Hulu
                                           26   70
                                                     https://play.google.com/store/apps/details?id=com.hulu.plus&hl=en_US.
                                           27
                                                71
                                                     ISO/IEC 14496-12 at 5, 105-06, 228.
                                           28
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                                            1   application requests chunks for downloading as needed as playback progresses,
                                            2   based on the user’s instructions. For example, the Hulu application requests non-
                                            3   sequential chunks for downloading if the Hulu application user seeks ahead during
                                            4   playback. The Hulu application requests chunks, using byte ranges, from the remote
                                            5   server, based on that seeking instruction. Then the Hulu application maintains a
                                            6   queue of the requested chunks. For example, when the Hulu application requests
                                            7   chunks, or byte ranges, the okhttp implements asynchronous HTTP requests and
                                            8   uses a “dispatch” process to maintain a request queue.72 The Dispatcher class
                                            9   realizes the okhttp3 “dispatch” process.73 And the Hulu application uses Dispatcher
                                           10   class for OkHttpClient class. The OkHttpClient.Builder function is used to create
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                                           11   PlaybackHttpClient, which contains a Dispatcher method so that the system
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                                           12   maintains a queue of requested chunks (i.e., HTTP requests to the Hulu remote
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                                           13   servers). The system also uses the Dispatcher method if it needs to cancel a queued
                                           14   call. Cancelling a queued call further indicates that the Hulu application maintains a
                                           15   queue of requested chunks, using okhttp3. The Hulu application requests and
                                           16   downloads chunks by identifying media chunks corresponding to a sequence of key
                                           17   frames identified for the received instruction. The Hulu application uses the ‘sidx’
                                           18   box to request ‘mdat’ boxes and their associated ‘moof’ boxes, and each ‘mdat’ box
                                           19   begins with an I frame, otherwise known as a “key frame.” 74
                                           20            229. Hulu “receive[s] a requested chunk and remove[s] the received chunk
                                           21   from the queue of requested chunks, using the playback engine implemented on the
                                           22   playback device.” ’318 patent, claim 1. For example, the Hulu application requests
                                           23
                                           24
                                                72
                                                     https://square.github.io/okhttp/calls/.
                                           25   73
                                                     https://square.github.io/okhttp/4.x/okhttp/okhttp3/-dispatcher/.
                                           26   74
                                                  http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=961
                                           27   44&PageNum=1; Guidelines for Implementation: DASH-IF Interoperability Points,
                                                DASH Industry Forum, Ver. 4.3 (Nov. 15, 2018), at 12.
                                           28
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                                            1   a chunk (in the form of a byte range) as a HTTP GET request and queues the
                                            2   requested chunks using the Dispatcher class with asynchronous calls. The Hulu
                                            3   application will receive the requested chunk within a HTTP response. The
                                            4   Dispatcher class in okhttp3 is designed to remove the queued requested chunks
                                            5   once the corresponding HTTP response is received. The “finished” method used in
                                            6   the Dispatcher class on the okhttp3 Github site indicates that once the current
                                            7   request is removed from the queue of requested chunks, this.idleCallback will
                                            8   update the value of idleCallback to indicate if the Dispatcher is in idle status and is
                                            9   ready to process the next request.75 A similar function exists in the Dispatcher
                                           10   function contained within the Hulu application. The way to remove the requested
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                                           11   chunk from the queue of requested chunks is implemented in the Hulu application
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                                           12   the same manner as the Github source code.
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                                           13         230. Hulu “maintain[s] a playback queue of received chunks for playback
                                           14   pending commencement of playback by the playback device, using the playback
                                           15   engine implemented on the playback device.” ’318 patent, claim 1. For example,
                                           16   when the Hulu application implemented on a playback device requests chunks, or
                                           17   byte ranges, the playback device maintains a queue of the received chunks. The
                                           18   Response class extracts the details of the received video chunks from the HTTP
                                           19   response to the Hulu application’s HTTP request. The MediaBytes method then
                                           20   uses the Response in FragmentDataSourcePullerUtil to store (i.e., download) the
                                           21   video chunks. The MdatBox class uses MediaBytes to transfer the information
                                           22   related to the video chunks to the MdatBox. The downloadMdatData class uses the
                                           23   MdatBox to track the size and duration of the downloaded video chunks (contained
                                           24   in the MdatBox). MdatBox.writePos tracks the video chunks in a first buffer. The
                                           25
                                           26   75
                                                  https://github.com/square/okhttp/blob/master/okhttp/src/main/kotlin/okhttp3/Disp
                                           27   atcher.kt; https://square.github.io/okhttp/4.x/okhttp/okhttp3/-dispatcher/idle-
                                                callback/.
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                                            1   MdatBox.writePos value determines how the video chunks queue in a second
                                            2   buffer, the DecoderInputBufferHolder. The buildFragment method in the Fragment
                                            3   class transfers data stored in MdatBox.getData() to Fragment.mData. The value
                                            4   stored in Fragment.mData is further stored in DecoderInputBufferHolder.data. The
                                            5   source code queues that data in the DecoderInputBufferHolder buffer. The
                                            6   DecoderInputBufferHolder is a queue of the received video chunks for playback.
                                            7           231.   Hulu “provide[s] chunks maintained in the playback queue to a
                                            8   decoder to enable playing of the media by the playback device, using the playback
                                            9   engine implemented on the playback device.” ’318 patent, claim 1. The
                                           10   DecoderInputBuffer queues chunks for playback and feeds them to the decoder.76
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                                           11   The Hulu application uses “queueInputBuffer” to move input data into the
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                                           12   DecoderInputBuffer queue.77 The Hulu application then plays the video on the
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                                           13   device.
                                           14           232. For the same reasons that Hulu infringes claim 1 of the ’318 patent,
                                           15   Hulu infringes exemplary apparatus claim 10 of the ’318 patent, which recites “[a]
                                           16   playback device for streaming media content” configured to perform the method
                                           17   that claim 1 recites. See ’318 patent, claim 10.
                                           18           233. Hulu has infringed, and continues to infringe, at least claims 1 and 10
                                           19   of the ’318 patent in the United States by making, using, offering for sale, selling,
                                           20   and/or importing the Hulu application and service, and/or a playback device
                                           21   implementing the Hulu application and service, in violation of 35 U.S.C. § 271(a).
                                           22           234. At least as of the February 22, 2021 complaint, Hulu knows that it
                                           23   provides and specifically intends to provide an application and service for CE
                                           24   playback devices that, when used as intended, meets the limitations of claims 1 and
                                           25
                                           26
                                                76
                                                     https://developer.android.com/reference/android/media/MediaCodec.

                                           27    https://developer.android.com/reference/android/media/MediaCodec#queueInput
                                                77

                                                Buffer(int,%20int,%20int,%20long,%20int).
                                           28
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                                            1   10, as described in ¶¶ 226-231. Hulu therefore has induced, and continues to
                                            2   induce, infringement of at least claims 1 and 10 of the ’318 patent in violation of 35
                                            3   U.S.C. § 271(b) in the exemplary manner described herein.
                                            4            235. DivX has provided constructive notice of the ’318 patent under 35
                                            5   U.S.C. § 287(a) at least since April 2018 and, thus, is entitled to past damages,
                                            6   because it has marked and required, by contract, that all licensees of DivX products
                                            7   practicing the ’318 patent mark all ’318 patented articles pursuant to DivX’s
                                            8   branding guidelines. The branding guidelines were delivered to licensees at the time
                                            9   of the licensing agreement and updated throughout the term of the licensing
                                           10   agreement. The DivX branding guidelines have consistently stated: “You must
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                                           11   display the DivX patent numbers at least once on your device. If your device does
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                                           12   not include patent numbers, display it on the packaging instead.” The DivX
                          L OS A NGELES




                                           13   branding guidelines, since at least April 2018, require marking of the ’318 patent
                                           14   for the DivX Plus Streaming Profile. DivX has a compliance team to ensure the
                                           15   licensees’ compliance with contractual obligations including marking since April
                                           16   2018.
                                           17            236. Hulu’s infringement has caused and continues to cause damage to
                                           18   DivX, and DivX is entitled to recover damages sustained as a result of Hulu’s
                                           19   wrongful acts in and after April 2018 in an amount subject to proof at trial.
                                           20            COUNT III: INFRINGEMENT OF U.S. PATENT NO. 10,412,141
                                           21            237. The allegations of ¶¶ 1-236 of this FAC are incorporated by reference
                                           22   as though fully set forth herein.
                                           23            238. Hulu directly infringes at least claim 1 of the ’141 patent under 35
                                           24   U.S.C. § 271(a), as set forth below in ¶¶ 239-250.
                                           25            239. Hulu, operating on a compatible consumer electronics device, provides
                                           26   a playback device,78 comprising “a processor and a non-volatile storage containing
                                           27
                                           28
                                                78
                                                     https://help.hulu.com/s/article/supported-devices?language=en_US.

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                                            1   an application for causing the processor to perform” the steps as claimed in the ’141
                                            2   patent. ’141 patent, claim 1.
                                            3            240. Hulu causes the processor to perform the step of “establishing at least
                                            4   one connection for communicating with a remote server system.” ’141 patent, claim
                                            5   1. Hulu provides a streaming library of more than 80,000 TV episodes and movies,
                                            6   which Hulu encodes prior to distribution through Hulu’s video players and
                                            7   applications.79 The Hulu application establishes at least one connection for
                                            8   communication with a remote server system to access Hulu’s streaming library,
                                            9   including, for example, manifest-dp.hulustream.com, http-a-
                                           10   darwin.hulustream.com, http-e-darwin.hulustream.com, http-v-
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                                           11   darwin.hulustream.com, ads-v-darwin.hulustream.com, and play.hulu.com. 80
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                                           12            241. Hulu causes the processor to perform the step of “obtaining
                          L OS A NGELES




                                           13   information from a remote server system describing at least one video track,
                                           14   multiple audio tracks, and multiple subtitle tracks.” ’141 patent, claim 1. Hulu uses
                                           15   the MPEG-DASH streaming protocol to deliver content. 81 The MPEG-DASH
                                           16   streaming protocol defines “several encoded versions” for each media content
                                           17   component. 82 For example, the Hulu application obtains from a Hulu remote server
                                           18   system manifest-dp.hulustream.com, a manifest describing each alternative video
                                           19   track, multiple audio tracks, and multiple subtitle tracks.
                                           20
                                           21
                                           22
                                                79
                                                     https://www.hulu.com/welcome; https://advertising.hulu.com/dom/.

                                           23
                                                80
                                                  https://www.slideshare.net/AmazonWebServices/case-study-how-hulu-
                                                reinvented-television-using-the-aws-cloud-ctd302-reinvent-2017.
                                           24
                                                 http://www.streamingmediaglobal.com/Articles/Editorial/Featured-
                                                81

                                           25   Articles/Hulus-Move-to--DASH-105110.aspx.
                                           26
                                                82
                                                  ISO/IEC 23009-1, Information technology – Dynamic adaptive streaming over
                                                HTTP (DASH) – Part 1: Media presentation description and segment formats, at 9
                                           27   (2d ed. 2014) (“ISO/IEC 23009-1”).
                                           28
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                                            1            242. Hulu causes the processor to perform the step of “selecting a video
                                            2   track from the at least one video track.” ’141 patent, claim 1. The Hulu application,
                                            3   for example, selects and requests from a remote server system, such as http-e-
                                            4   darwin.hulustream.com, a particular encoded mp4 video track. The Hulu
                                            5   application can select, for example an H.264 video track and request segments of
                                            6   the selected video track. 83
                                            7            243. Hulu causes the processor to perform the step of “requesting a header
                                            8   describing the selected video track.” ’141 patent, claim 1. Hulu encodes, packages,
                                            9   and streams to its applications video files, for example, mp4, fmp4, or other
                                           10   container files, that contain headers describing the selected video track.84 An mp4
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                                           11   file, for example, contains a movie header box, among other header boxes. 85 The
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                                           12   Hulu application selects a particular encoded video track and the video’s header
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                                           13   box, such as the movie header (‘mvhd’), track header (‘tkhd’), or media header
                                           14   (‘mdhd’). 86
                                           15            244. Hulu causes the processor to perform the step of “selecting an audio
                                           16   track from the multiple audio tracks.” ’141 patent, claim 1. The Hulu application,
                                           17   after obtaining information from a Hulu remote server system, such as http-e-
                                           18   83
                                                     ISO/IEC 23009-1 at 9.
                                           19   84

                                           20   http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=96144
                                                &PageNum=1; ISO/IEC 23001-7 Information technology – MPEG systems
                                           21
                                                technologies – Part 7: Common encryption in ISO base media file format files (3d
                                           22   ed. 2016); Pantos, R., HTTP Live Streaming (2d ed. Sept. 23, 2019), Apple Inc.
                                           23   (https://tools.ietf.org/pdf/draft-pantos-hls-rfc8216bis-05.pdf); ISO/IEC 14496-12
                                                Information technology – Coding of audio-visual objects – Part 12: ISO base media
                                           24   file format (2d ed. (Corrected) 2005) (hereinafter “ISO BMFF Specification”); The
                                           25   Protected Interoperable File Format (PIFF), Ver. 1.1 (2010) (hereinafter “Microsoft
                                                PIFF Specification”).
                                           26   85
                                                     ISO IEC 14496-12 at 11, 15.
                                           27   86
                                                     ISO IEC 14496-12 at 11, 15; Microsoft PIFF Specification, at 9.
                                           28
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                                            1   darwin.hulustream.com, selects an audio track from multiple available audio
                                            2   tracks.87
                                            3           245. Hulu causes the processor to perform the step of “obtaining index
                                            4   information indicating the locations of audio and video data within the selected
                                            5   audio and video tracks.” ’141 patent, claim 1. Hulu encodes video files as, for
                                            6   example, mp4 container files, that contain alternative encoded streams of content
                                            7   divided into segments. 88 For mp4 files, the Hulu application obtains from a Hulu
                                            8   remote server, such as http-e-darwin.hulustream.com, a top level index file and
                                            9   parses the top level index file to obtain information, such as mp4 segment index
                                           10   boxes (‘sidx’), indicating the location of audio and video data within the selected
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                                           11   audio and video tracks.
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                                           12           246. Hulu causes the processor to perform the steps of “determining byte
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                                           13   ranges to request from the selected audio and video tracks using the index
                                           14   information” and “requesting byte ranges from the selected video track and the
                                           15   selected audio track from the remote server system.” ’141 patent, claim 1. For
                                           16   example, for mp4 files, the Hulu application parses and analyzes the ‘sidx’ box
                                           17   information to determine the byte ranges from the selected video track and the
                                           18   selected audio track that need to be requested from the remote server system for
                                           19   playback. 89 The ‘sidx’ boxes for a selected video track and audio track include
                                           20   reference elements containing size information for each segment within the selected
                                           21   track. Using the size information in the ‘sidx’ box, the Hulu application determines
                                           22   the byte range to request in order to request a given segment of audio or video from
                                           23   the remote server. The Hulu application requests byte ranges from the selected
                                           24
                                           25
                                           26   87
                                                     ISO/IEC 23009-1 at 9.
                                           27
                                                88
                                                     ISO/IEC 23009-1 at 10; ISO/IEC 14496-12 at 105.
                                           28
                                                89
                                                     ISO/IEC 14496-12 at 105, 228.

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                                            1   audio and video track as an HTTP GET request from, for example, Hulu’s remote
                                            2   server http-e-darwin.hulustream.com.
                                            3         247. Hulu causes the processor to perform the step of “buffering received
                                            4   bytes of information comprising audio and video data.” ’141 patent, claim 1. For
                                            5   example, the Hulu application inputs the received bytes of information comprising
                                            6   audio and video data into a “chunkBuffer.” Using the function “iMediaExtractor,”
                                            7   and “mVideoExtractor” and “mAudioExtractor,” the Hulu application extracts the
                                            8   video track and audio track data which will be read into the “ChunkSampleSource”
                                            9   function. The “chunkBuffer” is used by the “ChunkSampleSource” function to
                                           10   buffer the downloaded video and audio track segments.
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                                           11         248. Hulu causes the processor to perform the steps of “checking that
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                                           12   sufficient data is buffered to commence playback and playing back the buffered
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                                           13   audio and video data” and “responding to a received seek instruction by: pausing
                                           14   playback.” ’141 patent, claim 1.For example, the Hulu application uses a
                                           15   “minBufferTime” function to determine whether sufficient data has buffered to
                                           16   commence playback. The Hulu application subsequently plays back the buffered
                                           17   audio and video data on a playback device. The Hulu application, upon receiving a
                                           18   seek instruction from an end user, pauses playback using a “seekToInternal” and
                                           19   “renderer.stop ()” function.
                                           20         249. Hulu causes the processor to perform the steps of “determining byte
                                           21   ranges to request from the selected audio and video tracks based upon a new
                                           22   playback location using the index information” and “requesting byte ranges
                                           23   required to play the selected audio and video tracks from the new playback location
                                           24   from the remote server.” ’141 patent, claim 1. For example, the Hulu application
                                           25   responds to a seek instruction from the end user by using the size information from
                                           26   the ‘sidx’ boxes of a selected audio and video track to determine the byte ranges to
                                           27   request based on the new playback location. The Hulu application requests byte
                                           28   ranges for the new playback location from the selected audio and video track as an
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                                            1   HTTP GET request from, for example, Hulu’s remote server http-e-
                                            2   darwin.hulustream.com.
                                            3         250. Hulu causes the processor to perform the step of “buffering received
                                            4   bytes of information comprising audio and video data pending resumption of
                                            5   playback” and “checking that sufficient data is buffered to commence playback and
                                            6   playing back the buffered audio and video data.” ’141 patent, claim 1. For example,
                                            7   the Hulu application inputs the received bytes of information comprising audio and
                                            8   video data into a “chunkBuffer.” Using the functions “iMediaExtractor,”
                                            9   “mVideoExtractor,” and “mAudioExtractor,” the Hulu application extracts the
                                           10   video track and audio track data which will be read into the “ChunkSampleSource”
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                                           11   function. The “chunkBuffer” is used by the “ChunkSampleSource” function to
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                                           12   buffer the downloaded video and audio track segments pending resumption of
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                                           13   playback. The Hulu application then uses a “minBufferTime” function to determine
                                           14   whether sufficient data has buffered to commence playback. The Hulu application
                                           15   subsequently plays back the buffered audio and video data on a playback device.
                                           16         251. For the same reasons that Hulu infringes claim 1 of the ’141 patent,
                                           17   Hulu infringes exemplary method claim 20 of the ’141 patent, which recites “[a]
                                           18   method of playing back content on a playback device” nearly identical to the
                                           19   process that claim 1 recites. See ’141 patent, claim 20.
                                           20         252. Hulu has infringed, and continues to infringe, at least claims 1 and 20
                                           21   of the ’141 patent in the United States by making, using, offering for sale, selling,
                                           22   and/or importing the Hulu application and service in violation of 35 U.S.C. §
                                           23   271(a).
                                           24         253. At least as of the February 22, 2021 complaint, Hulu knows that it
                                           25   provides and specifically intends to provide an application and service for CE
                                           26   playback devices that, when used as intended, meets the limitations of claims 1 and
                                           27   20, as described in ¶¶ 236-247. Hulu therefore has induced, and continues to
                                           28
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                                            1   induce, infringement of at least claims 1 and 20 of the ’141 patent in violation of 35
                                            2   U.S.C. § 271(b) in the exemplary manner described herein.
                                            3           254. DivX provided Hulu actual notice of the ’141 patent on February 22,
                                            4   2021, when it filed its complaint initiating this case.
                                            5           255. Hulu’s infringement has caused and continues to cause damage to
                                            6   DivX, and DivX is entitled to recover damages sustained as a result of Hulu’s
                                            7   wrongful acts on and after February 22, 2021, in an amount subject to proof at trial.
                                            8            COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 10,542,061
                                            9           256. The allegations of ¶¶ 1-255 of this FAC are incorporated by reference
                                           10   as though fully set forth herein.
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                                           11           257. Hulu directly infringes at least claim 1 of the ’061 patent under 35
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                                           12   U.S.C. § 271(a), as set forth below in ¶¶ 258-275.
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                                           13           258. Hulu performs “[a] method for streaming a piece of content using a set
                                           14   of server computer systems.” ’061 patent, claim 1. For example, Hulu provides a
                                           15   streaming library of more than 80,000 TV episodes and movies. 90 Hulu’s video
                                           16   streaming platform uses a set of server computer systems, including but not limited
                                           17   to hulustream.com, play.hulu.com, and vortex.hulu.com.
                                           18           259. Hulu “obtain[s] common cryptographic information associated with a
                                           19   piece of content using an encrypting system.” ’061 patent, claim 1. For example,
                                           20   Hulu uses an encrypting system that utilizes the Common Encryption Scheme
                                           21   (CENC) to protect its content.91 The CENC implements a key identifier (KID) and
                                           22   cryptographic information associated with a piece of content to be used in the
                                           23
                                           24
                                           25   90
                                                     https://www.hulu.com/welcome.
                                           26   91

                                                http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=96144
                                           27   &PageNum=1.
                                           28
                                                                                        - 116 -
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                                            1   encryption or decryption of the frames of the video content. 92 Content from the
                                            2   same container file (i.e., mp4 file) shares the same KID value.
                                            3            260. Hulu “encod[es] multiple streams of video content associated with a
                                            4   piece of content using an encoding system.” ’061 patent, claim 1. For example,
                                            5   Hulu uses the MPEG-DASH streaming protocol to deliver content.93 The MPEG-
                                            6   DASH streaming protocol defines “several encoded versions” for each media
                                            7   content component.94 “Regardless of the origin of the content, Hulu maintains
                                            8   control of its streaming digital video players and content pipelines, and encodes all
                                            9   video content and advertisements prior to distribution within Hulu’s proprietary
                                           10   video players on Web and within Hulu applications.”95
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                                           11            261. Hulu “encrypt[s] the encoded multiple streams of video content into
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                                           12   multiple streams of protected video content using the common cryptographic
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                                           13   information using the encrypting system.” ’061 patent, claim 1. For example, Hulu
                                           14   uses the MPEG-DASH streaming protocol to deliver content. 96 The MPEG-DASH
                                           15   streaming protocol defines “several encoded versions,” or “media streams,” for
                                           16   each media content component.97 Each media file (i.e., Representation) contains
                                           17
                                           18
                                           19   92
                                                  ISO/IEC 23001-7, Information technology — MPEG systems technologies —
                                                Part 7: Common encryption in ISO base media file format files, Third Edition, at 10
                                           20   (Feb. 15, 2016) (“ISO/IEC 23001-7:2016”).
                                           21    http://www.streamingmediaglobal.com/Articles/Editorial/Featured-
                                                93

                                                Articles/Hulus-Move-to--DASH-105110.aspx.
                                           22
                                                94
                                                  ISO/IEC 23009-1, Information technology – Dynamic adaptive streaming over
                                           23   HTTP (DASH) – Part 1: Media presentation description and segment formats, at 9
                                                (2d ed. 2014) (“ISO/IEC 23009-1:2014”).
                                           24
                                                95
                                                     https://advertising.hulu.com/dom/ (copyright 2018 Hulu, LLC).
                                           25   96

                                                http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=96144
                                           26   &PageNum=1.
                                           27   97
                                                     ISO/IEC 23009-1:2014 at 9.
                                           28
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                                            1   “one or more media streams.” 98 Hulu also uses an encrypting system that includes
                                            2   the Common Encryption Scheme (CENC) to protect its content.99 The CENC
                                            3   implements a key identifier (KID) and cryptographic information associated with a
                                            4   piece of content to be used in the encryption or decryption of the frames of the
                                            5   video content.100 Content from the same container file (i.e., mp4 file) shares the
                                            6   same KID value.
                                            7            262. Hulu “stor[es] the multiple streams of protected video content in
                                            8   memory at a server system.” ’061 patent, claim 1. For example, Hulu’s video
                                            9   streaming platform uses a set of server computer systems, including but not limited
                                           10   to hulustream.com, play.hulu.com, and vortex.hulu.com. The hulustream.com
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                                           11   server contains multiple streams of protected video content. The video content
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                                           12   stored on Hulu’s server computer systems contains multiple streams according to
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                                           13   the MPEG-DASH streaming protocol. 101 The video content stored on Hulu’s server
                                           14   computer systems is protected using the CENC. 102 The ContentProtection value for
                                           15   Hulu’s video content is “cenc,” further indicating that Hulu’s video content is
                                           16   protected according to CENC.
                                           17            263. Hulu “stor[es] the common cryptographic information at a digital
                                           18   rights management system.” ’061 patent, claim 1. For example, Hulu uses the
                                           19
                                                98
                                                     ISO/IEC 23009-1:2014 at 9, 34.
                                           20
                                                99

                                           21   http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=96144
                                                &PageNum=1.
                                           22
                                                  ISO/IEC 23001-7, Information technology — MPEG systems technologies —
                                                100

                                           23   Part 7: Common encryption in ISO base media file format files, Third Edition, at 10
                                                (Feb. 15, 2016) (“ISO/IEC 23001-7:2016”).
                                           24
                                                101

                                           25   http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=96144
                                                &PageNum=1; ISO/IEC 23009-1:2014 at 9.
                                           26   102

                                           27   http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=96144
                                                &PageNum=1.
                                           28
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                                            1   MPEG-DASH streaming protocol to deliver content. In some instances, Hulu also
                                            2   uses an encrypting system that includes Microsoft PlayReady DRM to protect its
                                            3   content. 103 Microsoft PlayReady supports CENC and stores the common
                                            4   cryptographic information (e.g., the KID values) in its DRM system. 104 Further, the
                                            5   request for a DRM license during streaming using the Hulu application indicates
                                            6   that the common cryptographic information is stored on play.hulu.com, the DRM
                                            7   server.
                                            8         264. Hulu “receiv[es] a request for a top level index file from a playback
                                            9   device at the server system, where the request identifies the piece of content and
                                           10   includes information describing the playback device.” ’061 patent, claim 1. The
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                                           11   playback device may be, for example, a Hulu supported device such as the
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                                           12   Motorola G7.105 Hulu’s server system receives a request for a top level index file,
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                                           13   or manifest, from a playback device. The request identifies a piece of content, for
                                           14   example, by Hulu movieId. The request for content also includes information
                                           15   describing the playback device such as “version” and “device” numbers and “User-
                                           16   Agent.” The playback device also sends requests to the server before the manifest
                                           17   request that describes information about the playback device.
                                           18         265. Hulu “automatically filter[s] the multiple streams of protected video
                                           19   content into a plurality of alternative streams of protected video content based upon
                                           20   the received information describing the playback device using the server
                                           21
                                           22
                                                103
                                           23   http://www.streamingmediaglobal.com/Articles/ReadArticle.aspx?ArticleID=96144
                                                &PageNum=1.
                                           24
                                                104
                                                    Microsoft PlayReady, Developing PlayReady Clients, at 17 (April 2015)
                                           25   (“Developing PlayReady Clients”); Microsoft Corporation, DASH Content
                                                Protection using Microsoft PlayReady: Implementing Content Protection for Live
                                           26   and On-Demand Profiles of Dynamic Adaptive Streaming over HTTP (ISO/IEC
                                                23009-1) using Microsoft PlayReady, at 2, 8 (February 2013) (“Microsoft
                                           27   PlayReady for DASH”).
                                                105
                                                    https://help.hulu.com/s/article/watching-hulu-on-site?language=en_US;
                                           28   https://help.hulu.com/s/article/supported-devices?language=en_US.
                                                                                       - 119 -
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                                            1   system.” ’061 patent, claim 1. For example, different playback devices receive
                                            2   different video streams (i.e., filtered video streams) from the Hulu playback server
                                            3   system after requesting the same content based on information describing the
                                            4   playback device, as evidenced by different manifests obtained during playback. The
                                            5   Hulu server computer systems have a list of different streams associated with a
                                            6   particular piece of content. This list is different for different device types, indicating
                                            7   that the Hulu server retrieves a list of video streams and the list has been filtered
                                            8   based on information describing the playback device. Further, Hulu represents that
                                            9   its playback server system maintains a database (i.e., storage) of manifest attributes
                                           10   for manifest generation, indicating that the playback device information is stored on
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                                           11   Hulu’s server.106
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                                           12            266. Hulu “automatically generat[es] a top level index file in response to
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                                           13   the request for a top level index file from the playback device using the server
                                           14   system.” ’061 patent, claim 1. For example, the Hulu server computer systems
                                           15   generate a DASH-compliant manifest (.mpd file) describing each video stream in
                                           16   the filtered list of video streams, which includes the location of the video file and its
                                           17   bitrate, as demonstrated by the exemplary MPD files and manifests sent during
                                           18   streaming of Hulu content on playback devices. Hulu indicates that it generates a
                                           19   “manifest with pre-set content and ads for each stream” on the server side.107 A
                                           20   presentation by Hulu indicates that Hulu automatically generates top level index
                                           21   files, i.e., manifests, “on-the-fly.” 108 Hulu also uses an encoding system to encode
                                           22   content, as demonstrated by Hulu’s live streaming service architecture, which
                                           23
                                           24   106
                                                   See https://www.slideshare.net/AmazonWebServices/case-study-how-hulu-
                                                reinvented-television-using-the-aws-cloud-ctd302-reinvent-2017.
                                           25   107
                                                      https://advertising.hulu.com/dom/.
                                           26
                                                108
                                                   See https://www.slideshare.net/AmazonWebServices/case-study-how-hulu-
                                           27   reinvented-television-using-the-aws-cloud-ctd302-reinvent-2017.
                                           28
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                                            1   shares a “substantial part” of its architecture with its video-on-demand (VOD)
                                            2   service. 109
                                            3          267. Hulu automatically generates a top level index file in response to the
                                            4   request for a top level index file from the playback device using the server system,
                                            5   where the top level index file “identifies the location of each of the plurality of
                                            6   alternative streams of protected video content, where each of the plurality of
                                            7   alternative streams of protected video content encodes the piece of content at a
                                            8   different bitrate.” ’061 patent, claim 1. When a playback device requests a manifest
                                            9   file, the device performs a GET request to the Hulu manifest server (part of the
                                           10   Hulu server computer systems). In response to the GET Request, Hulu’s manifest
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                                           11   server returns the manifest (in some cases, an MPD file) to the playback device.
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                                           12   This manifest file is then used to determine which video streams to request for
                          L OS A NGELES




                                           13   playback.
                                           14          268. Hulu automatically generates a top level index file in response to the
                                           15   request for a top level index file from the playback device using the server system,
                                           16   where the top level index file “describes at least a bitrate of each of a plurality of
                                           17   alternative streams of protected video content associated with the identified piece of
                                           18   content.” ’061 patent, claim 1. Hulu generates a top level index file—e.g., a DASH-
                                           19   compliant manifest (.mpd file)—that describes at least a bitrate of each asset in the
                                           20   filtered list of video streams and identifies locations of the video streams in the
                                           21   filtered list of video streams. For example, the top level index file that each device
                                           22   receives from Hulu identifies the locations (BaseURL) and bitrates for different
                                           23   alternative streams.
                                           24
                                           25
                                           26   109
                                                   https://advertising.hulu.com/dom/ (copyright 2018 Hulu, LLC);
                                                https://medium.com/hulu-tech-blog/the-anatomy-of-a-live-ott-service-
                                           27   c8f6078b24d3; https://medium.com/hulu-tech-blog/introducing-the-hulu-technical-
                                                landscape-93f4c136c568.
                                           28
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                                            1         269. Hulu automatically generates a top level index file in response to the
                                            2   request for a top level index file from the playback device using the server system,
                                            3   where the top level index file “includes a reference to the common cryptographic
                                            4   information for accessing the protected video content.” ’061 patent, claim 1. The
                                            5   Hulu application receives a top level index (i.e., an MPD file). The top-level index
                                            6   identifies common cryptographic information (e.g., KID) for accessing the
                                            7   protected video content for a plurality of alternative streams (i.e., Representations)
                                            8   of video. The presence of a TrackEncryptionBox in each representation indicates
                                            9   that these video frames are encrypted. Content from the same container file (i.e.,
                                           10   mp4 file) shares the same KID value and the KID is referenced in the top-level
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                                           11   index (i.e., MPD file).
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                                           12         270. Hulu “send[s] the top level index file to the playback device from the
                          L OS A NGELES




                                           13   server system.” ’061 patent, claim 1. In response to the GET Request, Hulu’s
                                           14   manifest server (e.g., manifest-dp.hulustream.com) returns the manifest (in this
                                           15   case, an MPD file) to the playback device.
                                           16         271. Hulu “receiv[es] at the server system a request for at least a portion of
                                           17   an initial stream of protected video content, selected from the plurality of
                                           18   alternative streams of protected video content, from the playback device.” ’061
                                           19   patent, claim 1. In some instances, the playback device uses the manifest file to
                                           20   determine which video streams to request for playback. For example, the Hulu
                                           21   Player operating on a playback devices receives a manifest specifying locations
                                           22   (BaseURL) for portions of a video stream. Using the specified locations, the
                                           23   playback device requests the header information and actual video content, identified
                                           24   as byte ranges.
                                           25         272. Hulu “sends the requested at least a portion of the initial stream of
                                           26   protected video content to the playback device from the server system.” ’061
                                           27   patent, claim 1. For example, the Hulu Player operating on a playback device
                                           28   receives header information and actual video content, identified as byte ranges.
                                                                                        - 122 -
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                                            1            273. Hulu “receiv[es] at the digital rights management system a request
                                            2   from the playback device for common cryptographic information to access the
                                            3   initial stream of protected video content.” ’061 patent, claim 1. The Hulu
                                            4   application issues a request to Hulu’s DRM server. For example, the request for a
                                            5   DRM license during streaming using the Hulu application shows an encrypted
                                            6   block of data, indicated by the presence of a content decryption module (CDM).
                                            7   The request to Hulu’s DRM server requests cryptographic information. Where the
                                            8   DRM server is PlayReady-based, the Hulu application obtains the key to unlock the
                                            9   encrypted media from the PlayReady License Server.110 Content from the same
                                           10   container file (i.e., mp4 file) shares the same KID value.
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                                           11            274. Hulu “encrypt[s] the common cryptographic information using the
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                                           12   digital rights management system.” ’061 patent, claim 1. For example, the Hulu
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                                           13   application obtains encrypted keys from a DRM server, indicating that the DRM
                                           14   server encrypts the common cryptographic information (i.e., keys).
                                           15            275. Hulu “send[s] the encrypted common cryptographic information to the
                                           16   playback device from the digital rights management system.” ’061 patent, claim 1.
                                           17   For example, the Hulu application obtains encrypted keys from a content
                                           18   decryption module. The request for a DRM license during streaming using the Hulu
                                           19   application shows an encrypted block of data (signature). The response for the
                                           20   DRM license during streaming using the Hulu application also shows an encrypted
                                           21   block of data. In some instances, Hulu’s DRM server is PlayReady-based, and the
                                           22   Hulu application obtains the key to unlock the encrypted media from the PlayReady
                                           23   License Server.111
                                           24
                                           25
                                           26
                                                110
                                                      https://docs.microsoft.com/en-us/playready/overview/license-server.
                                           27
                                                111
                                                      https://docs.microsoft.com/en-us/playready/overview/license-server.
                                           28
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                                            1            276. Hulu has infringed, and continues to infringe, at least claim 1 of the
                                            2   ’318 patent in the United States by making, using, offering for sale, selling, and/or
                                            3   importing the Hulu application and service in violation of 35 U.S.C. § 271(a).
                                            4            277. At least as of the February 22, 2021 complaint, Hulu knows that it
                                            5   provides and specifically intends to provide an application and service for CE
                                            6   playback devices that, when used as intended, meets the limitations of claim 1, as
                                            7   described in ¶¶ 258-275. Hulu therefore has induced, and continues to induce,
                                            8   infringement of at least claim 1 of the ’061 patent in violation of 35 U.S.C. § 271(b)
                                            9   in the exemplary manner described herein.
                                           10            278. Hulu’s infringement has caused and continues to cause damage to
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                                           11   DivX, and DivX is entitled to recover damages sustained as a result of Hulu’s
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                                           12   wrongful acts in an amount subject to proof at trial.
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                                           13            COUNT V: INFRINGEMENT OF U.S. PATENT NO. 10,326,987
                                           14            279. The allegations of ¶¶ 1-278 of this FAC are incorporated by reference
                                           15   as though fully set forth herein.
                                           16            280. Hulu directly infringes at least claim 1 of the ’987 patent under 35
                                           17   U.S.C. § 271(a), as set forth below in ¶¶ 281-299.
                                           18            281. Hulu’s streaming service and application, operating on a compatible
                                           19   consumer electronics device, provides “[a] playback device for playing content
                                           20   from a plurality of alternative streams, the playback device comprising.”112 ’987
                                           21   patent, claim 1. For example, Hulu uses the MPEG-DASH streaming protocol to
                                           22   deliver content.113 The MPEG-DASH streaming protocol is a protocol for
                                           23   performing adaptive bitrate streaming of media including a set of alternative video
                                           24   streams. The MPEG-DASH streaming protocol provides “several encoded
                                           25
                                                112
                                                      https://help.hulu.com/s/article/supported-computers?language=en_US.
                                           26
                                                113
                                                   http://www.streamingmediaglobal.com/Articles/Editorial/Featured-
                                           27   Articles/Hulus-Move-to--DASH-105110.aspx.
                                           28
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                                            1   versions” for each media content component.114 Each media file (e.g., Adaptation
                                            2   Set) contains Representations, which contain “one or more media streams.” 115
                                            3            282. Hulu causes Hulu-compatible playback devices—which contain “a set
                                            4   of one or more processors” —to execute the software operations specified by
                                            5   Hulu. ’987 patent, claim 1.
                                            6            283. Hulu causes Hulu-compatible playback devices—which contain “a
                                            7   non-volatile storage containing an application”—to store the Hulu application. ’987
                                            8   patent, claim 1. The Hulu application installed on a playback device is “an
                                            9   application for causing the set of one or more processors to perform” the recited
                                           10   steps.
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                                           11            284. Hulu causes the processor to perform the step of “obtaining a top level
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                                           12   index file identifying a plurality of alternative video streams.” ’987 patent, claim 1.
                          L OS A NGELES




                                           13   For example, the MPEG-DASH streaming protocol requires each media file (e.g.,
                                           14   Adaptation Set) to include Representations, which contain “one or more media
                                           15   streams.” 116 The Media Presentation Description (MPD) is “a document that
                                           16   contains metadata required by a DASH Client to construct appropriate HTTP-URLs
                                           17   to access Segments and to provide the streaming service to the user.” 117 The MPD
                                           18   is therefore a top level index file identifying a plurality of alternative video streams.
                                           19   The MPD received during the streaming of Hulu content includes alternative
                                           20   streams, as indicated by the “Representation id” variable in the MPD.
                                           21            285. Hulu causes the processor to perform the step of “specifying a
                                           22   maximum bitrate for each of the plurality of alternative video streams.” ’987 patent,
                                           23
                                                  ISO/IEC 23009-1, Information technology – Dynamic adaptive streaming over
                                                114
                                           24   HTTP (DASH) – Part 1: Media presentation description and segment formats,
                                                Second Edition, at 9 (May 15, 2014) (“ISO/IEC 23009-1:2014”).
                                           25
                                                115
                                                      ISO/IEC 23009-1:2014 at 10.
                                           26
                                                116
                                                      ISO/IEC 23009-1:2014 at 10.
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                                                117
                                                      ISO/IEC 23009-1:2014 at 9, 16.
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                                            1   claim 1. The MPEG-DASH streaming protocol provides that each video stream
                                            2   (i.e., Representation) specify a maximum bandwidth. Hulu uses the MPEG-DASH
                                            3   streaming protocol and therefore specifies a maximum bitrate for each of the
                                            4   plurality of alternative video streams. For example, the MPD received during the
                                            5   streaming of Hulu content includes alternative streams and a maximum bitrate for
                                            6   each of the plurality of alternative video stream, as indicated by the “bandwidth”
                                            7   variable in the MPD.
                                            8         286. Hulu causes the processor to perform the step of specifying a
                                            9   maximum bitrate for each of the plurality of alternative video streams, “where the
                                           10   plurality of alternative video streams comprises a first and a second alternative
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                                           11   video stream.” ’987 patent, claim 1. For example, the MPD received during the
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                                           12   streaming of Hulu content includes two video streams with different
                          L OS A NGELES




                                           13   “Representation id” values.
                                           14         287. Hulu causes the processor to perform the step of “during an initial
                                           15   startup period: obtaining at least one network data rate measurement.” ’987 patent,
                                           16   claim 1. For example, Hulu allows the playback device to measure the channel data
                                           17   rate of the network connection (e.g., bandwidth or bitrate). 118 For example, for the
                                           18   initial bitstream, when the Hulu application requests an MPD for Hulu content, the
                                           19   request includes the desirable bandwidth at the playback device, indicating that the
                                           20   playback device measures and reports channel data rate. Further, Hulu uses the
                                           21   Javascript Player, which contains source code for estimating network bandwidth
                                           22   during streaming. During startup, for example, Hulu assigns the value for
                                           23   “estimateBandwidth” as the value stored in “initBandwidth.” The presence of
                                           24   “initBandwidth” and “estimateBandwidth” values during startup
                                           25
                                           26
                                           27     https://help.hulu.com/s/article/speed-recommendations?language=en_US;
                                                118
                                                ISO/IEC 23009-1:2014 at 108.
                                           28
                                                                                       - 126 -
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                                            1   (“prototype.setup”) indicates that Hulu obtains at least one network data rate
                                            2   measurement at startup.
                                            3            288. Hulu causes the processor to perform the step of, during an initial
                                            4   startup period, “selecting the first alternative video stream based upon a comparison
                                            5   between the specified maximum bitrates for each of the plurality of streams and the
                                            6   at least one network data rate measurement.” ’987 patent, claim 1. For example,
                                            7   Hulu uses the MPEG-DASH streaming protocol and therefore selects a first video
                                            8   stream (i.e., a Representation) from a set of alternative video streams (i.e., an
                                            9   Adaptation Set) provided by the Hulu server using a playback device. 119 This
                                           10   stream selection is a result based on a comparison of the specified maximum
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                                           11   bitrates for each of the plurality of streams and the at least one network data rate
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                                           12   measurement. For example, the Hulu Javascript Player selects the desired video
                          L OS A NGELES




                                           13   stream (“selectAlgorithmQuality”) based on “estimatedBandwidth” derived from
                                           14   the network data rate measurement “(this._RTTcoefficient - i) /
                                           15   this._RTTcoefficient.” The Hulu Javascript Player also compares each video
                                           16   stream’s specified maximum bitrate (represented by the “safeBandwidth” value)
                                           17   with the network data rate measurement “(this._RTTcoefficient - i) /
                                           18   this._RTTcoefficient.” Based on this comparison, Hulu selects the video stream
                                           19   with “ProfileBandwidth” of 400, because “it is the maximum one with the profile:
                                           20   400 bitrate: 476707 safeBandwidth: 698 that is small than the estimated bandwidth:
                                           21   708.”
                                           22            289. Hulu causes the processor to perform the step of, during an initial
                                           23   startup period, “requesting at least one chunk of the first alternative video
                                           24   stream.” ’987 patent, claim 1. For example, for the selected video stream with
                                           25   “ProfileBandwidth” of 400, Hulu first requests the header information and then the
                                           26   actual video content, in byte ranges, for the same video stream.
                                           27
                                                119
                                                      ISO/IEC 23009-1:2014 at 108.
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                                            1            290. Hulu causes the processor to perform the step of, during an initial
                                            2   startup period, “storing the at least one chunk of the first alternative video stream in
                                            3   a buffer of the playback device.” ’987 patent, claim 1. For example, Hulu uses the
                                            4   MPEG-DASH streaming protocol and therefore stores the requested chunks (e.g.,
                                            5   entire Segments or byte ranges of Segments) in a buffer of the playback device.120
                                            6   Further, Hulu uses the Javascript Player, which tracks video segments saved in the
                                            7   buffer through the “videoBufferLength” variable, indicating that Hulu downloads
                                            8   the video segment (i.e., chunk of the video) and stores it in a buffer.
                                            9            291. Hulu causes the processor to perform the step of, during an initial
                                           10   startup period, “playing back at least one chunk of the first alternative stream stored
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                                           11   in the buffer.” ’987 patent, claim 1. For example, Hulu uses the MPEG-DASH
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                                           12   streaming protocol and therefore allows the playback device to play back the
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                                           13   buffered chunks (e.g., entire Segment or byte ranges of Segments). 121
                                           14            292. Hulu causes the processor to perform the step of, during an initial
                                           15   startup period, “obtaining at least one additional network data rate
                                           16   measurement.” ’987 patent, claim 1. For example, Hulu allows the playback device
                                           17   to continuously measure the channel data rate of the network connection (e.g.,
                                           18   bandwidth or bitrate).122 Further, Hulu uses the Javascript Player, which obtains at
                                           19   least one additional network data rate measurement using
                                           20   “updateNetworkTrackerLog.”
                                           21            293. Hulu causes the processor to cause the set of one or more processors to
                                           22   perform the step of “determining that the network data rate is greater than the
                                           23   specified maximum bitrate for the second alternative video stream based upon the
                                           24
                                           25   120
                                                      ISO/IEC 23009-1:2014 at 10, 108.
                                           26   121
                                                      ISO/IEC 23009-1:2014 at 10, 109.
                                           27     https://help.hulu.com/s/article/speed-recommendations?language=en_US;
                                                122
                                                ISO/IEC 23009-1:2014 at 108.
                                           28
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                                            1   at least one additional network data rate measurement.” ’987 patent, claim 1. For
                                            2   example, Hulu uses the Javascript Player, which selects the desired video stream
                                            3   (“selectAlgorithmQuality”) based on a determination that the newly measured
                                            4   network data rate value (“estimated bandwidth”) is greater than the
                                            5   “safeBandwidth” value for the second alternative video stream.
                                            6            294. Hulu causes the processor to perform the step of “when the network
                                            7   data rate is determined to be greater than the specified maximum bitrate for the
                                            8   second alternative video stream, requesting at least one chunk of the second
                                            9   alternative video stream.” ’987 patent, claim 1. For example, after determining that
                                           10   this network data rate is greater than the specified maximum bitrate for the second
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                                           11   alternative video stream Hulu first requests the header information and then the
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                                           12   actual video content, in byte ranges, for the same video stream.
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                                           13            295. Hulu causes the processor to perform the step of “when a minimum
                                           14   buffer level criterion is satisfied based upon a playback duration of chunks of video
                                           15   content stored in the buffer of the playback device: obtaining at least one further
                                           16   network data rate measurement.” ’987 patent, claim 1. For example, Hulu requires
                                           17   the implementation of minBufferTime, which “specifies a common duration” so
                                           18   that “a client can be assured of having enough data for continuous playout
                                           19   providing playout begins after @minBufferTime @bandwidth bits have been
                                           20   received.”123 Further, Hulu allows the playback device to continuously measure the
                                           21   channel data rate of the network connection (e.g., bandwidth or bitrate).124 Hulu
                                           22   uses the Javascript Player, which contains source code for estimating network
                                           23   bandwidth during streaming. For example, at least one version of the
                                           24   “prototype.existCdnPerformanceIssue” function – specifically,
                                           25   “Te.prototype.existCdnPerformanceIssue” – determines when “buffer is in danger,
                                           26
                                                123
                                                      ISO/IEC 23009-1:2014 at 18-19, 35, 108-109.
                                           27
                                                124
                                                      https://help.hulu.com/s/article/speed-recommendations?language=en_US.
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                                            1   bandwidth is lower than the threshold,” taking into account network data rate
                                            2   (“estimateBandwidth”).
                                            3            296. Hulu causes the processor to perform the step of, when a minimum
                                            4   buffer level criterion is satisfied based upon a playback duration of chunks of video
                                            5   content stored in the buffer of the playback device, “selecting a stream from the
                                            6   plurality of alternative video streams based upon a playback duration of chunks of
                                            7   video content stored in the buffer of the playback device by selecting a stream from
                                            8   the plurality of alternative video streams such that the playback duration of chunks
                                            9   of video content stored in the buffer of the playback device is sufficient to prevent
                                           10   buffer underflow during downloading and playback of at least one chunk of the
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                                           11   selected video stream based upon the at least one further network data rate
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                                           12   measurement.” ’987 patent, claim 1. For example, Hulu requires the
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                                           13   implementation of minBufferTime, which “specifies a common duration” so that “a
                                           14   client can be assured of having enough data for continuous playout providing
                                           15   playout begins after @minBufferTime @bandwidth bits have been received.” 125
                                           16   Hulu uses the Javascript Player, which implements a function to determine buffer
                                           17   underflow. For example, the “Te.prototype.existCdnPerformanceIssue” function
                                           18   determines when “buffer is in danger, bandwidth is lower than the threshold,”
                                           19   taking into account network data rate (“estimateBandwidth”) and buffer
                                           20   (“bufferTrackerByType”). When “buffer is in danger, bandwidth is lower than the
                                           21   threshold,” the “isCdnInIssue” value is set to “r,” which is true (“!1”). When buffer
                                           22   underflow occurs – i.e., “isCdnInIssue” is true – the “getPlaybackCdn” function
                                           23   returns “break,” meaning that the function is switching to an alternative video
                                           24   stream from a different content distribution network (CDN) server. The
                                           25   “AdaptQuality” function then selects an alternative video stream based on the
                                           26   decision from the “getPlayBackCdn” function.
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                                                125
                                                      ISO/IEC 23009-1:2014 at 18-19, 35, 108-109.
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                                            1            297. Hulu causes the processor to perform the step of, when a minimum
                                            2   buffer level criterion is satisfied based upon a playback duration of chunks of video
                                            3   content stored in the buffer of the playback device, “requesting at least one chunk
                                            4   of the selected stream from the plurality of alternative video streams.” ’987 patent,
                                            5   claim 1. For example, Hulu selects a video stream (i.e., a Representation) from a set
                                            6   of alternative video streams (i.e., an Adaptation Set) provided by the Hulu server
                                            7   using a playback device. 126 For example, the set of plurality of video streams are
                                            8   identified by “Representation id” values. For the selected video stream, Hulu first
                                            9   requests the header information and then the actual video content, in byte ranges,
                                           10   for the same video stream.
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                                           11            298. Hulu causes the processor to perform the step of, when a minimum
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                                           12   buffer level criterion is satisfied based upon a playback duration of chunks of video
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                                           13   content stored in the buffer of the playback device, “storing the at least one chunk
                                           14   of the selected stream from the plurality of alternative video streams in the buffer of
                                           15   the playback device.” ’987 patent, claim 1. For example, Hulu stores the requested
                                           16   chunks (e.g., entire Segments or byte ranges of Segments) in a buffer of the
                                           17   playback device.127 Further, Hulu uses the Javascript Player, which tracks video
                                           18   segments saved in the buffer through the “videoBufferLength” variable, indicating
                                           19   that Hulu downloads the video segment (i.e., chunk of the video) and stores it in a
                                           20   buffer.
                                           21            299. Hulu causes the processor to perform the step of, when a minimum
                                           22   buffer level criterion is satisfied based upon a playback duration of chunks of video
                                           23   content stored in the buffer of the playback device, “playing back the at least one
                                           24   chunk of the selected stream from the plurality of alternative video streams stored
                                           25
                                           26   126
                                                      ISO/IEC 23009-1:2014 at 108.
                                           27   127
                                                      ISO/IEC 23009-1:2014 at 10, 108.
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                                            1   in the buffer.” ’987 patent, claim 1. Hulu allows the playback device to play back
                                            2   the buffered chunks (e.g., entire Segment or byte ranges of Segments).128
                                            3            300. At least as of the February 22, 2021 complaint, Hulu knows that it
                                            4   provides and specifically intends to provide an application and service for CE
                                            5   playback devices that, when used as intended, meets the limitations of claim 1, as
                                            6   described in ¶¶ 281-299. Hulu therefore has induced, and continues to induce,
                                            7   infringement of at least claim 1 of the ’987 patent in violation of 35 U.S.C. § 271(b)
                                            8   in the exemplary manner described herein.
                                            9            301. DivX provided Hulu actual notice of the ’987 patent on February 22,
                                           10   2021, when it filed its complaint initiating this case.
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                                           11            302. Hulu’s infringement has caused and continues to cause damage to
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                                           12   DivX, and DivX is entitled to recover damages sustained as a result of Hulu’s
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                                           13   wrongful acts on and after February 22, 2021, in an amount subject to proof at trial.
                                           14                                JURY TRIAL DEMANDED
                                           15            DivX hereby demands a trial by jury on all claims and issues so triable.
                                           16                                  PRAYER FOR RELIEF
                                           17            WHEREFORE, DivX respectfully requests that the Court:
                                           18            A. Enter judgment that Hulu has directly infringed one or more claims of
                                           19   one or more of the DivX Patents, either literally or under the doctrine of
                                           20   equivalents, in violation of 35 U.S.C. § 271(a);
                                           21            B. Enter judgment that Hulu has induced infringement of one or more
                                           22   claims of the DivX Patents in violation of 35 U.S.C. § 271(b);
                                           23            C. Enter an order, pursuant to 35 U.S.C. § 284, awarding to DivX damages
                                           24   adequate to compensate for Hulu’s infringement of the DivX Patents (and, if
                                           25   necessary, related accountings), in an amount to be determined at trial, but not less
                                           26   than a reasonable royalty;
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                                                128
                                                      ISO/IEC 23009-1:2014 at 10, 109.
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                                            1          D. Enter an order, pursuant to 35 U.S.C. § 285, deeming this to be an
                                            2   “exceptional case” and thereby awarding to DivX its reasonable attorneys’ fees,
                                            3   costs, and expenses;
                                            4          E. Enter an order that Hulu account for and pay to DivX the damages to
                                            5   which DivX is entitled as a consequence of the infringement;
                                            6          F. Enter an order for a post-judgment equitable accounting of damages for
                                            7   the period of infringement of the DivX Patents following the period of damages
                                            8   established at trial;
                                            9          G. Enter an order awarding to DivX pre- and post-judgment interest at the
                                           10   maximum rates allowable under the law; and
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                                           11          H. Enter an order awarding to DivX such other and further relief, whether at
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                                           12   law or in equity, that this Court deems just and proper.
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                                            1   Dated: July 2, 2021                  Respectfully submitted,
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